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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed January 31, 2019
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      IN RE:                                            §           Case No. 18-30264-SGJ-11
      ACIS CAPITAL MANAGEMENT, L.P.,                    §           Case No. 18-30265-SGJ-11
      ACIS CAPITAL MANAGEMENT GP, LLC,                  §
                                                        §           (Jointly Administered Under Case
                     DEBTORS.                           §           No. 18-30264-SGJ-11)
                                                        §
                                                        §           Chapter 11

          FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER GRANTING FINAL
       APPROVAL OF DISCLOSURE STATEMENT AND CONFIRMING THE THIRD AMENDED
            JOINT PLAN FOR ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL
                          MANAGEMENT GP, LLC, AS MODIFIED

            On December 11, 12 and 13, 2018, the Court held a hearing (the “Combined Hearing”)

     to consider (a) final approval of the Disclosure Statement Pursuant to Section 1125 of the

     United States Bankruptcy Code with Respect to the Third Amended Joint Plan for Acis Capital

     Management, L.P. and Acis Capital Management GP, LLC (the “Disclosure Statement”) [Docket

     No. 661] and (b) confirmation of the Third Amended Joint Plan for Acis Capital Management,

     L.P. and Acis Capital Management GP, LLC (the “Third Amended Plan”) [Docket No. 660], a

     ORDER GRANTING FINAL APPROVAL OF DISCLOSURE STATEMENT
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 copy of which is attached hereto as Exhibit “1,” as modified by (i) the First Modification to the

 Third Amended Joint Plan for Acis Capital Management, L.P. and Acis Capital Management

 GP, LLC (the “First Modification”) [Docket No. 693], a copy of which is attached hereto as

 Exhibit “2,” and (ii) the Second Modification to the Third Amended Joint Plan for Acis Capital

 Management, L.P. and Acis Capital Management GP, LLC (the “Second Modification”) [Docket

 No. 702], a copy of which is attached hereto as Exhibit “3,” as supplemented by the

 Supplement to Second Modification to the Third Amended Joint Plan for Acis Capital

 Management, LP and Acis Capital Management GP, LLC [Docket No. 769], a copy of which is

 attached hereto as Exhibit “4,” filed by Robin Phelan (the “Chapter 11 Trustee”), as Chapter 11

 Trustee for Acis Capital Management, L.P. (“Acis LP”) and Acis Capital Management GP, LLC

 (“Acis GP,” and together with Acis LP, the “Debtors”). The Third Amended Plan, as modified by

 the First Modification and Second Modification (as supplemented), is hereafter referred to as the

 “Plan;” provided that, as provided in the last sentence of paragraph 13 of this Order, the

 schedule of assumed executory contracts attached hereto as Exhibit 5 to this Order replaces, is

 substituted for, and supersedes Exhibit B to the Third Amended Plan. Capitalized terms used in

 this Order, unless otherwise specifically defined herein, shall be given the same meaning as in

 the Plan and/or the Disclosure Statement.

        The Combined Hearing was commenced at the time and date scheduled. Based on the

 testimony, evidence admitted, judicial notice of the records of the Chapter 11 Cases, and the

 arguments of counsel, the Court makes this Findings of Fact, Conclusions of Law, and Order

 Granting Final Approval of Disclosure Statement and Confirming the Third Amended Joint Plan

 for Acis Capital Management, L.P. and Acis Capital Management GP, LLC, as Modified

 (“Order”).

        ACCORDINGLY, IT IS HEREBY DETERMINED, FOUND, ADJUDGED, DECREED

 AND ORDERED THAT:



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            A.       Findings and Conclusions. All findings of fact or conclusions of law made by the

 Court on the record at the Combined Hearing are hereby incorporated in their entirety into this

 Order. All findings of fact contained in the Court’s Findings of Fact and Conclusions of Law in

 Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petitions

 entered on April 13, 2018 [Docket No. 118] are hereby incorporated in their entirety into this

 Order. The findings and conclusions set forth herein and in the record of the Combined Hearing

 constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052

 as made applicable herein by Bankruptcy Rule 9014. To the extent any of the following findings

 of fact constitute conclusions of law, they are adopted as such. To the extent any of the

 following conclusions of law constitute findings of fact, they are adopted as such.

            B.       Jurisdiction; Venue; Core Proceeding. The Court has jurisdiction over these

 bankruptcy cases pursuant to 28 U.S.C. sections 157(b) and 1334. Venue is proper before this

 Court pursuant to 28 U.S.C. sections 1408 and 1409. Final approval of the Disclosure

 Statement and confirmation of the Plan are core proceedings pursuant to 28 U.S.C. section

 157(b)(2)(A), (L) and (O) over which the Court has exclusive jurisdiction and full constitutional

 jurisdiction and authority to enter final orders with respect thereto.

            C.       Eligibility for Relief. The Debtors were and are eligible for relief under section

 109 of the Bankruptcy Code.1

            D.       Commencement and Joint Administration of the Debtors’ Cases. On January 30,

 2018, Joshua N. Terry (“Terry”) filed involuntary petitions under chapter 7 of the Bankruptcy

 Code against both of the Debtors in the United States Bankruptcy Court for the Northern District

 of Texas, Dallas Division (the “Court”). Acis LP’s bankruptcy case was assigned Case No. 18-

 30264, and Acis GP’s bankruptcy case was assigned Case No. 18-30265. The involuntary

 petitions were contested and the Court held a multi-day trial spanning March 21, 22, 23, 27 and



 1   Unless otherwise indicated, section references are to the Bankruptcy Code.


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 29, 2018. On April 13, 2018, the Court entered an Order for Relief in an Involuntary Case in

 both cases [Docket No. 119 in Case No. 18-30264 and Docket No. 114 in Case No. 18-30265].

 Diane G. Reed (the “Chapter 7 Trustee”) was appointed Chapter 7 Trustee in both cases. On

 motion of the Chapter 7 Trustee, the Court entered an Order Directing Joint Administration

 [Docket No. 137],2 which provides for the joint administration of the Debtors’ respective

 bankruptcy cases under Case No. 18-30264.

            E.       Conversion of the Debtors’ Cases and Appointment of the Chapter 11 Trustee.

 On motion of the Chapter 7 Trustee, the Court entered an Order Granting Trustee’s Expedited

 Motion to Convert Cases to Chapter 11 [Docket No. 205] on May 11, 2018, converting the

 Debtors’ bankruptcy cases to cases under chapter 11 of the Bankruptcy Code. On motion of

 Terry, the Court entered an Order Granting Emergency Motion for an Order Appointing A

 Trustee for the Chapter 11 Estates of Acis Capital Management, L.P. and Acis Capital

 Management GP, LLC Pursuant to Bankruptcy Code Section 1104(A) [Docket No. 206] on May

 11, 2018, directing the United States Trustee (the “U.S. Trustee”) to appoint a Chapter 11

 Trustee in the Chapter 11 Cases. The U.S. Trustee appointed Robin Phelan as Chapter 11

 Trustee in the Chapter 11 Cases. Mr. Phelan’s appointment as Chapter 11 Trustee in Acis LP’s

 case was approved pursuant to an Order Approving Appointment of Chapter 11 Trustee [Docket

 No. 221] entered by the Court on May 17, 2018 and his appointment as Chapter 11 Trustee in

 Acis GP’s case was approved pursuant to an Order Approving Appointment of Chapter 11

 Trustee [Docket No. 184 in Case No. 18-30265] entered by the Court on June 12, 2018.

            F.       No Official Committee of Unsecured Creditors. The U.S. Trustee has not

 appointed an official committee of unsecured creditors in the Chapter 11 Cases.

            G.       Claims Bar Date. October 15, 2018 was originally fixed as the deadline for all

 holders of alleged Claims (except for governmental units) to file proofs of Claim. However, on



 2   Unless otherwise indicated, all references to the “Docket” refer to the Docket in Case No. 18-30264.


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 motion of the Chapter 11 Trustee, the Court entered the Bar Date Order on July 9, 2018 [Docket

 No. 387]. Pursuant to the Bar Date Order, August 1, 2018 was established as the deadline for

 all holders of alleged Claims (except for governmental units) to file proofs of Claim and October

 10, 2018 was established as the deadline for governmental units to file proofs of Claim.

        H.      Adequacy of Disclosure Statement. The Disclosure Statement contains

 “adequate information,” as that term is defined in section 1125 of the Bankruptcy Code and

 satisfies all requirements of section 1125 of the Bankruptcy Code.

        I.      Solicitation Order Compliance. On October 3, 2018, the Chapter 11 Trustee filed

 his Chapter 11 Trustee’s Amended Motion for Entry of Order (A) Conditionally Approving

 Disclosure Statement; (B) Scheduling Combined Hearing on Final Approval of Disclosure

 Statement and Confirmation of Second Amended Joint Plan, and Setting Related Deadlines; (C)

 Approving Forms for Voting and Notice; and (D) Granting Related Relief (the “Conditional

 Approval Motion”) [Docket No. 622]. The Chapter 11 Trustee filed a Supplement to Amended

 Motion for Entry of Order (A) Conditionally Approving Disclosure Statement; (B) Scheduling

 Combined Hearing on Final Approval of Disclosure Statement and Confirmation of Second

 Amended Joint Plan, and Setting Related Deadlines; (C) Approving Forms for Voting and

 Notice; and (D) Granting Related Relief (the “Supplement to Conditional Approval Motion”)

 [Docket No. 646] on October 19, 2018. The Court conducted a hearing on the Conditional

 Approval Motion, as supplemented, on October 24, 2018. On October 25, 2018, the Court

 entered an Order (I) Conditionally Approving Disclosure Statement, (II) Scheduling Combined

 Hearing on Final Approval of Disclosure Statement and Confirmation of Second Amended Joint

 Plan, and Setting Related Deadlines, (III) Approving Forms for Voting and Notice, and (IV)

 Approving Related Matters (the “Solicitation Order”) [Docket No. 659] granting the Conditional

 Approval Motion. The Conditional Approval Motion was filed in connection with a second

 amended plan of reorganization and disclosure statement with respect thereto. However, for

 convenience and ease of review, the modifications to the second amended plan and disclosure

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 statement with respect thereto, including modifications discussed at the October 24, 2018

 hearing, were incorporated into the Third Amended Plan and Disclosure Statement filed on

 October 25, 2018. Consequently, the Solicitation Order approved solicitation of votes on the

 Third Amended Plan and distribution of the Disclosure Statement in connection with solicitation

 of votes on the Third Amended Plan. Pursuant to the Solicitation Order, the Court, among other

 things: (a) conditionally approved the Disclosure Statement for use in soliciting votes on the

 Third Amended Plan; (b) established procedures and deadlines for the solicitation and

 submission of votes to accept or reject the Third Amended Plan (the “Solicitation Procedures”);

 (c) fixed deadlines for objections to final approval of the Disclosure Statement and/or

 confirmation of the Third Amended Plan and related briefing deadlines; (d) fixed a deadline for

 serving notice of the Combined Hearing; and (e) set the Combined Hearing to commence on

 December 11, 2018, at 9:30 a.m., Central Time. The Solicitation Order approved the following

 documents (collectively the “Solicitation Materials”) to be served on Creditors entitled to vote on

 the Third Amended Plan:

                (i)     the Third Amended Plan;

                (ii)    the Disclosure Statement;

                (iii)   the Ballots for voting on the Third Amended Plan;

                (iv)    the Solicitation Order;

                (v)     a Notice (the “Combined Hearing Notice”) [Docket No. 667] reflecting the
                        deadlines and other information relating to the Combined Hearing; and,

                (vi)    a letter (the “Transmittal Letter”) from counsel for the Chapter 11 Trustee.

 The Solicitation Order directed the Chapter 11 Trustee to serve the Solicitation Materials on

 holders of Claims in Classes 2 and 3 and Subclasses 4A and 4B under the Third Amended

 Plan. The Solicitation Order also authorized the tabulation of Ballots on a consolidated basis.

 The Solicitation Order further directed the Chapter 11 Trustee to serve on various parties

 defined in the Supplement to Conditional Approval Motion as the “Noteholders,” “Highlands” and


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 “Notice Parties” certain notices and copies of the following documents (the “Notice-Only

 Materials”): the Disclosure Statement, the Third Amended Plan, the Solicitation Order and the

 Combined Hearing Notice. The Chapter 11 Trustee has complied with the Solicitation Order,

 including the Solicitation Procedures contained therein, in all respects.

        J.      Transmittal and Mailing of Solicitation Materials; Notice. Due, adequate, and

 sufficient notice of the Third Amended Plan, Disclosure Statement and Combined Hearing,

 together with all deadlines for voting on the Third Amended Plan and for objecting to final

 approval of the Disclosure Statement and/or confirmation of the Third Amended Plan, has been

 given to known holders of Claims and Interests and, to the extent required, to all other known

 parties-in-interest, in compliance with the applicable Bankruptcy Rules and the Solicitation

 Order, as evidenced by the: (i) Combined Hearing Notice (and Certificate of Service included

 therewith) filed at Docket No. 667; (ii) Notice of Solicitation of Third Amended Joint Plan for Acis

 Capital Management, L.P. and Acis Capital Management GP, LLC to Noteholders (and

 Certificate of Service included therewith) filed at Docket No. 664; (iii) Notice of Solicitation of

 Third Amended Joint Plan for Acis Capital Management, L.P. and Acis Capital Management

 GP, LLC to Highland Entities (and Certificate of Service included therewith) filed at Docket No.

 665; (iv) Notice of Solicitation of Third Amended Joint Plan for Acis Capital Management, L.P.

 and Acis Capital Management GP, LLC to Notice Parties (and Certificate of Service included

 therewith) filed at Docket No. 666; and (v) Certificate of Service filed at Docket No. 676. The

 packages containing the Solicitation Materials, the packages containing the Notice-Only

 Materials, and all other materials relating in any way to the solicitation process were transmitted

 and served in substantial compliance with the Solicitation Order and in accordance with the

 applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Solicitation Procedures

 set forth in the Solicitation Order, and all other applicable rules, laws and regulations.

        K.      Adequacy of Solicitation. The Chapter 11 Trustee distributed packages

 containing the Solicitation Materials to the holders of Claims entitled to vote on the Third

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 Amended Plan and sufficient time was prescribed for such holders of Claims to vote on the

 Third Amended Plan in substantial compliance with the Solicitation Order and the applicable

 provisions of the Bankruptcy Code, the Bankruptcy Rules, the Solicitation Procedures set forth

 in the Solicitation Order, and all other applicable rules, laws and regulations. Transmittal and

 service were adequate and sufficient, and no further notice is or shall be required. In addition,

 holders of Claims not entitled to vote on the Amended Plan, and certain other parties-in-interest,

 were provided with certain non-voting materials approved by the Court in compliance with the

 Solicitation Order. All procedures used to distribute the Solicitation Materials to holders of

 Claims entitled to vote on the Third Amended Plan were fair and conducted in good faith and in

 accordance with the Bankruptcy Code, Bankruptcy Rules, the Solicitation Procedures contained

 in the Solicitation Order, and all other applicable rules, laws and regulations.

        L.      Good Faith Solicitation – Section 1125(e). Based on the Record, the Chapter 11

 Trustee and Estate Professionals have acted in good faith within the meaning of sections

 1125(e) and 1129(a)(3), and in compliance with the applicable provisions of the Bankruptcy

 Code, the Bankruptcy Rules, and the Solicitation Order, in connection with all of their respective

 activities relating to the solicitation of acceptances of the Third Amended Plan and their

 participation in the activities described in section 1125, and are entitled to the protections

 afforded by section 1125(e).

        M.      Voting Tabulation. In accordance with the Solicitation Order, on December 3,

 2018 the Tabulation of Ballots in Connection with Confirmation of the Third Amended Joint Plan

 for Acis Capital Management, L.P. and Acis Capital Management GP, LLC (the “Ballot

 Tabulation”) [Docket No. 746] was filed and served on all parties that filed a timely objection to

 confirmation of the Plan. All procedures used to tabulate the Ballots (which were tabulated on a

 consolidated basis) were fair and conducted in accordance with the Solicitation Order, the

 Bankruptcy Code, the Bankruptcy Rules, and all other applicable rules, laws and regulations.




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        N.        Classes Deemed to Have Accepted or Rejected the Third Amended Plan. As

 set forth in the Third Amended Plan and Disclosure Statement: (i) Class 1 is unimpaired and is

 conclusively deemed to have accepted the Third Amended Plan pursuant to section 1126(f),

 and (ii) Class 5, consisting of Interests in the Debtors, is Impaired, but because the Third

 Amended Plan provides that holders of Class 5 Interests shall not receive or retain any property

 on account of their Interests, Class 5 is conclusively deemed to have rejected the Third

 Amended Plan pursuant to section 1126(g).

        O.      Impaired Classes of Creditors Voting to Accept or Reject the Third Amended

 Plan. Based upon the Ballot Tabulation, the Court finds that the following Impaired Classes

 have voted on the Third Amended Plan as follows:

                (i)       Class 2 (the Terry Partially Secured Claim) voted to accept the Third

 Amended Plan as follows:

                       Ballots Accepting                          Ballots Rejecting
         Amount                   Number                    Amount                    Number
     $8,060,827.84                   1                       $0.00                       0
         100%                      100%                      0.00%                    0.00%


 Two Ballots were submitted by Terry in Class 2. One of the Ballots was based on a proof of

 Claim recorded in the Claims Register for Case No. 18-30264 as Claim No. 26-1 and filed by

 Terry for the benefit of his IRAs (“Claim No. 26”). Highland filed an objection [Docket No. 522]

 on August 17, 2018 seeking an order disallowing Claim No. 26 and striking any vote (on a prior

 plan of reorganization) by Terry on account of Claim No. 26. Although the Ballot Tabulation

 reflects the Ballot submitted by Terry on account of Claim No. 26, the Court disregards that

 Ballot and does not take it into account in its determination regarding acceptance of the Third

 Amended Plan. The other Ballot submitted by Terry accepted the Third Amended Plan.

                (ii)      Class 3 (General Unsecured Claims) voted to accept the Third Amended

 Plan as follows:



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                             Ballots Accepting                         Ballots Rejecting
             Amount                     Number                    Amount                   Number
       $667,550.00                         2                      $0.00                       0
          100%                           100%                     0.00%                    0.00%


  Three Ballots were submitted in Class 3. One of the Ballots was submitted by Jennifer G. Terry.

  Such Ballot is based on a proof of Claim recorded in the Claims Register for Case No. 18-30264

  as Claim No. 25-1 and filed by Jennifer G. Terry for the benefit of her IRAs and 401k (“Claim

  No. 25”). Highland filed an objection [Docket No. 521] on August 17, 2018 seeking an order

  disallowing Claim No. 25 and striking any vote (on a prior plan of reorganization) by Jennifer G.

  Terry on account of Claim No. 25. Although the Ballot Tabulation reflects the Ballot submitted

  by Jennifer G. Terry on account of Claim No. 25, the Court disregards that Ballot and does not

  take it into account in its determination regarding acceptance of the Plan. The other two Ballots

  submitted in Class 3 accepted the Third Amended Plan.

                     (iii)      Class 4 (Insider Claims) voted to reject the Third Amended Plan as

  follows:

                             Ballots Accepting                         Ballots Rejecting
             Amount                     Number                    Amount                   Number
             $0.00                         0                   $4,172,140.38                 1
             0.00%                      0.00%                      100%                    100%


         Based on the foregoing, and as evidenced by the Ballot Tabulation, at least one

  Impaired Class of Claims (excluding the acceptance by any Insiders of the Debtors) has voted

  to accept the Third Amended Plan in accordance with the requirements of sections 1124 and

  1126 of the Bankruptcy Code.

         P.          Modifications to the Third Amended Plan. The modifications to the Third

  Amended Plan set forth in the First Modification, the Second Modification (as supplemented),

  and as set forth in this Order constitute non-material or technical changes and do not materially

  or adversely affect or change the treatment of any Claims against or Interests in the Debtors



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  under the Third Amended Plan (the “Non-Material Modifications”). The filing of the First

  Modification on November 8, 2018 constitutes due and sufficient notice thereof under the

  circumstances of these Chapter 11 Cases. The filing of the Second Modification on November

  16, 2018 (as supplemented on December 10, 2018) constitutes due and sufficient notice thereof

  under the circumstances of these Chapter 11 Cases. The Non-Material Modifications neither

  require additional disclosure under section 1125 of the Bankruptcy Code nor re-solicitation of

  votes on the Plan under section 1126 of the Bankruptcy Code and Bankruptcy Rules 3018 and

  3019. In accordance with section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, all

  holders of Claims against the Debtors who voted to accept the Third Amended Plan are hereby

  deemed to have accepted the Third Amended Plan as modified consistent with the Non-Material

  Modifications. No Holder of a Claim against the Debtors who has voted to accept the Third

  Amended Plan shall be permitted to change its acceptance to a rejection as a consequence of

  the Non-Material Modifications. The Non-Material Modifications incorporated in the Plan comply

  with section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019.

         Q.      Bankruptcy Rule 3016. The Plan is dated and identifies the Chapter 11 Trustee

  as the Person submitting it, thereby satisfying Bankruptcy Rule 3016(a). The filing of the

  Disclosure Statement satisfied Bankruptcy Rule 3016(b). The Plan provides for the Temporary

  Plan Injunction (as defined herein), which constitutes an injunction against conduct not

  otherwise enjoined under the Bankruptcy Code. The Plan and Disclosure Statement both

  describe in specific and conspicuous language all acts to be enjoined and identify the entities

  subject to the Temporary Plan Injunction. Therefore, the Plan and Disclosure Statement satisfy

  the requirements of Bankruptcy Rule 3016(c).

         R.      Bankruptcy Rule 3017. The Chapter 11 Trustee has given notice of the

  Combined Hearing as required by the applicable provisions of Bankruptcy Rule 3017 and the

  Solicitation Order. The materials transmitted and notice given by the Chapter 11 Trustee to

  holders of Claims entitled to vote on the Third Amended Plan and the materials transmitted by

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  the Chapter 11 Trustee to holders of Interests and other parties-in-interest satisfy the applicable

  provisions of Bankruptcy Rules 3017(d)-(f) and the Solicitation Order. Therefore, the

  requirements of Bankruptcy Rule 3017 have been satisfied.

         S.      Bankruptcy Rule 3018. The solicitation of votes to accept or reject the Third

  Amended Plan satisfies Bankruptcy Rule 3018. The Third Amended Plan was transmitted to all

  holders of Claims entitled to vote, sufficient time was prescribed for such parties to accept or

  reject the Third Amended Plan, and the Solicitation Materials used and Solicitation Procedures

  followed comply with sections 1125 and 1126, thereby satisfying the requirements of

  Bankruptcy Rule 3018. Further, the Chapter 11 Trustee filed the Ballot Tabulation in

  accordance with the provisions of the Solicitation Order.

         T.      Burden of Proof. The Chapter 11 Trustee, as proponent of the Plan, has the

  burden of proving the elements of sections 1122, 1123 and 1129 of the Bankruptcy Code by a

  preponderance of the evidence. The Court finds that the Chapter 11 Trustee has met each

  element of such burden with respect to the Plan.

         U.      Judicial Notice. The Court takes judicial notice of the entire record of

  proceedings in the Chapter 11 Cases and related adversary proceedings, including, without

  limitation, all pleadings, notices, and other documents filed, all orders entered, and all evidence

  and arguments made, proffered or adduced at the hearings held before the Court during the

  Chapter 11 Cases and related adversary proceedings, including, without limitation, the

  Combined Hearing. Any resolutions of objections to final approval of the Disclosure Statement

  or confirmation of the Plan explained on the record at the Combined Hearing are hereby

  incorporated by reference.

         V.      The Record. The record established at the Combined Hearing (the “Record”) to

  support final approval of the Disclosure Statement and confirmation of the Plan includes:

                 (i)     All documents identified by the Chapter 11 Trustee at the Combined
                         Hearing and all exhibits admitted into evidence at the Combined Hearing,
                         including but not limited to admitted exhibits which are listed on the Joint

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                         Witness and Exhibit List [Docket No. 767] filed jointly by the Chapter 11
                         Trustee, Highland and HCLOF with the Court on December 7, 2018;

                 (ii)    The Ballot Tabulation;

                 (iii)   The testimony of witnesses; and

                 (iv)    The statements and arguments of counsel.

         W.      Objections to Final Approval of Disclosure Statement and Confirmation of Plan.

  The Solicitation Order established November 26, 2018 as the deadline for filing objections to

  final approval of the Disclosure Statement and/or confirmation of the Plan. The following

  objections to final approval of the Disclosure Statement and/or confirmation of the Plan (the

  “Objections”) were timely filed in accordance with the Solicitation Order:

                 (i)     Objection by Stinson Leonard Street LLP to Debtors’ Second Modification
                         to the Third Amended Joint Plan [Docket No. 720];

                 (ii)    Joint Objection of Highland Capital Management, L.P. and Highland CLO
                         Funding, Ltd. to Final Approval of Disclosure Statement and to
                         Confirmation of the Third Amended Joint Plan for Acis Capital
                         Management, L.P. and Acis Capital Management GP, LLC [Docket no.
                         722]; and

                 (iii)   Objection of Neutra Ltd. to Final Approval of Disclosure Statement and to
                         Confirmation of the Third Amended Joint Plan for Acis Capital
                         Management, L.P. and Acis Capital Management GP, LLC [Docket No.
                         723].

         X.      Transfer and Vesting of Assets. Pursuant to Article VI of the Plan, all Assets

  shall be transferred to and vested in the Reorganized Debtor as of the Effective Date. The

  transfer of the Assets to the Reorganized Debtor pursuant to the Plan is consistent with, and

  authorized by, section 1123(a)(5)(B) of the Bankruptcy Code and will be fully effectuated

  through this Order as of the Effective Date without the necessity of any other or further

  assignment or transfer.

         Y.      Claim Objections and Resolutions. Pursuant to the Plan, the Reorganized

  Debtor has the sole power and exclusive standing and authority to object to any Claim. Without

  limiting the generality of the foregoing, the Reorganized Debtor shall have the power: (i) to


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  object to any Claim on any legal or equitable basis; (ii) to seek subordination of any Claim on

  any legal or equitable basis; (iii) to assert any right of setoff or recoupment, including without

  limitation, any such right pursuant to section 553 of the Bankruptcy Code; (iv) to assert any and

  all Estate Defenses to any Claim, whether legal or equitable, including any affirmative defenses

  or any right of setoff; (v) to assert all Estate Claims as a counterclaim against any Claim,

  whether arising out of the same or different transactions, both for an affirmative recovery and as

  an offset against any such Claim; and (vi) to object to any Claims on the basis of section 502(d).

  Vesting such exclusive power and standing in the Reorganized Debtor is reasonable and

  appropriate, and is authorized by, and in compliance with, section 1123(b)(3) of the Bankruptcy

  Code.

          Z.     Compliance with the Requirements of Section 1129 of the Bankruptcy Code. The

  Plan complies with the applicable provisions of the Bankruptcy Code, as follows:

                 (i)     Section 1129(a)(1) – Compliance of the Plan with the Applicable

  Provisions of the Bankruptcy Code. The Plan complies with all applicable provisions of the

  Bankruptcy Code as required by section 1129(a)(1) of the Bankruptcy Code, including sections

  1122 and 1123.

                         (a)     Sections 1122 and 1123(a)(1) – Proper Classification. The

  classification of Claims and Interests in the Plan is proper under the Bankruptcy Code.

  Pursuant to sections 1122(a) and 1123(a)(1), the Plan provides for the separate classification of

  Claims and Interests into six (6) Classes (Class 1, Class 2, Class 3, Subclass 4A, Subclass 4B

  and Class 5), based on differences in the legal nature and priority of such Claims and Interests

  (other than Claims for Administrative Expenses, Priority Tax Claims and U.S. Trustee’s quarterly

  fees, which are not required to be designated as separate Classes pursuant to section

  1123(a)(1)). Based upon the Record, valid business, factual and legal reasons exist for the

  separate classification of the various Classes of Claims and Interests created under the Plan,

  the classifications were not created for any improper purpose and the creation of such Classes

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  does not unfairly discriminate between or among holders of Claims or Interests. In accordance

  with section 1122(a), each Class of Claims and Interests contains only Claims or Interests that

  are substantially similar to the other Claims or Interests within that Class. Accordingly, the

  requirements of sections 1122(a) and 1123(a)(1) of the Bankruptcy Code have been satisfied.

                          (b)   Section 1123(a)(2) – Specification of Unimpaired Classes. The

  Plan specifies that Claims in Class 1 are unimpaired under the Plan. Therefore, the

  requirements of section 1123(a)(2) of the Bankruptcy Code have been satisfied.

                          (c)   Section 1123(a)(3) – Specification of Treatment of Impaired

  Classes. Other than Class 1, all Classes of Claims and Interests (Class 2, Class 3, Subclass

  4A, Subclass 4B and Class 5) are Impaired under the Plan. The Plan specifies the treatment of

  each Impaired Class of Claims and Interests under the Plan. The treatment of Impaired

  Classes of Claims and Interests is specified in Article IV of the Plan. Therefore, the

  requirements of section 1123(a)(3) of the Bankruptcy Code have been satisfied.

                          (d)   Section 1123(a)(4) – No Discrimination. The Plan provides for the

  same treatment for each Claim or Interest in each respective Class unless the holder of a

  particular Claim or Interest has agreed to a less favorable treatment of such Claim or Interest.

  Therefore, the requirements of section 1123(a)(4) of the Bankruptcy Code have been satisfied.

                          (e)   Section 1123(a)(5) – Adequate Means for Plan Implementation.

  The Plan provides for adequate and proper means for the Plan’s implementation. This includes

  means for implementation set forth in Article VI of the Plan. Therefore, the requirements of

  section 1123(a)(5) of the Bankruptcy Code have been satisfied.

                          (f)   Section 1123(a)(6) – Prohibition on Issuance of Non-Voting

  Securities. The Debtors are not corporations. Therefore, section 1123(a)(6) of the Bankruptcy

  Code is inapplicable.

                          (g)   Section 1123(a)(7) – Selection of Officers, Directors and Trustees.

  Under the Plan, Terry shall receive 100% of the equity interests in the Reorganized Debtor. The

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  Plan does not provide for the selection or appointment of any officers or directors of the

  Reorganized Debtor as of the Effective Date and Terry, as the sole owner of the Reorganized

  Debtor, shall be free to structure the Reorganized Debtor’s management as he wishes.

  Therefore, to the extent section 1123(a)(7) of the Bankruptcy Code is applicable to the Plan, its

  requirements have been satisfied.

                         (h)     Section 1123(a)(8) – Payment of Individual Debtor’s Earnings.

  The Debtors are not individuals. Therefore, section 1123(a)(8) of the Bankruptcy Code is

  inapplicable.

                         (i)     Section 1123(b) – Discretionary Contents of the Plan. The Plan

  contains various provisions that are properly construed as discretionary and not required for

  confirmation of the Plan under the Bankruptcy Code. As set forth below, all such discretionary

  provisions comply with section 1123(b) of the Bankruptcy Code, are not inconsistent with the

  applicable provisions of the Bankruptcy Code and are hereby approved. Therefore, section

  1123(b) of the Bankruptcy Code has been satisfied.

                                 (1)    Section 1123(b)(1) – Impairment / Unimpairment of Claims

  and Interests. The Plan impairs or leaves unimpaired each Class of Claims and Interests.

  Therefore, the Plan is consistent with section 1123(b)(1) of the Bankruptcy Code.

                                 (2)    Section 1123(b)(2) – Assumption / Rejection of Executory

  Contracts and Unexpired Leases. Article XI of the Plan provides that all of the Debtors’

  Executory Contracts and Unexpired Leases shall be deemed rejected upon the Effective Date

  unless an Executory Contract or Unexpired Lease (a) has been previously assumed or rejected

  pursuant to an order of the Court, (b) is identified in Exhibit 5 to this Order to be (i) assumed or

  (ii) assumed and assigned, or (c) is the subject of a motion to assume filed on or before the

  Confirmation Date. Therefore, the Plan is consistent with section 1123(b)(2) of the Bankruptcy

  Code.




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                                (3)     Section 1123(b)(3) – Settlement / Retention of Claims and

  Causes of Action. The Chapter 11 Trustee has delineated the Estate Claims and Estate

  Defenses to be retained in the Plan. The terms “Estate Claims” and “Estate Defenses” are

  defined in sections 1.55 and 1.56 of the Plan, respectively, and together include all claims,

  causes of action, defenses, affirmative defenses, counterclaims, or offsets held by the Debtors’

  Estate. The identification and retention of the Estate Claims and Estate Defenses in the Plan is

  reasonable and appropriate and reflects a proper exercise of the good faith business judgment

  of the Chapter 11 Trustee. Articles VI and IX of the Plan, including Exhibit A to the Plan, contain

  a specific and unequivocal reservation of Estate Claims and Estate Defenses as required under

  applicable Fifth Circuit authority. The Estate Claims and Estate Defenses are expressly,

  specifically, and unequivocally retained and reserved pursuant to Articles VI and IX of the Plan

  (including Exhibit A to the Plan) in accordance with section 1123(b)(3)(B) of the Bankruptcy

  Code. Unless otherwise expressly stated in the Plan or this Order, all Estate Claims and Estate

  Defenses are hereby reserved for the benefit of the Reorganized Debtor and the Reorganized

  Debtor shall be entitled to file, prosecute and/or settle each of the Estate Claims so reserved in

  accordance with the terms of the Plan. The provisions of the Plan regarding reservation of

  Estate Claims and Estate Defenses are appropriate and in the best interests of the Debtors, the

  Estate, and holders of Claims and Interests.

                                (4)     Section 1123(b)(5) – Modification of Creditors’ Rights.

  With the exception of holders of Class 1 Claims, which are unimpaired, the Plan modifies the

  rights of all holders of Claims against the Debtors. Accordingly, the Plan is consistent with

  section 1123(b)(5) of the Bankruptcy Code.

                 (ii)   Section 1129(a)(2) – Compliance of the Chapter 11 Trustee with the

  Applicable Provisions of the Bankruptcy Code. The Chapter 11 Trustee, as proponent of the

  Plan, has complied with all applicable provisions of the Bankruptcy Code as required by section

  1129(a)(2) of the Bankruptcy Code, including sections 1122, 1123, 1124, 1125, 1126, 1127 and

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  1128 of the Bankruptcy Code and Bankruptcy Rules 3017, 3018 and 3019. Votes to accept or

  reject the Third Amended Plan were solicited after the Court conditionally approved the

  adequacy of the Disclosure Statement. The Chapter 11 Trustee and his present and former

  representatives, advisors, attorneys, professionals and agents have solicited and tabulated the

  votes on the Third Amended Plan and have participated in the activities described in section

  1125 of the Bankruptcy Code fairly and in good faith within the meaning of section 1125(e) of

  the Bankruptcy Code, and in a manner consistent with the applicable provisions of the

  Solicitation Order, the Bankruptcy Code, the Bankruptcy Rules, and all other applicable rules,

  laws and regulations, and are entitled to the protections afforded by section 1125(e) of the

  Bankruptcy Code. The Chapter 11 Trustee and his present and former representatives,

  advisors, attorneys, professionals and agents have participated in good faith and in compliance

  with the applicable provisions of the Bankruptcy Code with respect to the offering, issuance and

  distribution of recoveries under the Plan and, therefore, are not (and on account of such

  distributions, will not be) liable at any time for the violation of any applicable law, rule, or

  regulation governing the solicitation of acceptances or rejections of the Third Amended Plan or

  distributions made pursuant to the Plan, so long as distributions are made consistent with and

  pursuant to the Plan.

                  (iii)   Section 1129(a)(3) – Proposal of the Plan in Good Faith. The Chapter 11

  Trustee has proposed the Plan (and all other agreements, documents and instruments

  necessary to effectuate the Plan) in good faith and not by any means forbidden by law, thereby

  satisfying section 1129(a)(3) of the Bankruptcy Code. In determining that the Plan has been

  proposed in good faith, the Court has examined and considered the totality of the circumstances

  surrounding the formulation of the Plan, including both the Record at the Combined Hearing and

  the record of the Chapter 11 Cases. The Chapter 11 Trustee’s good faith is evident from the

  facts and Record of the Combined Hearing. The Chapter 11 Trustee proposed the Plan for

  legitimate and honest purposes.

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                 (iv)    Section 1129(a)(4) – Court Approval of Certain Payments as Reasonable.

  All payments made or to be made by the Reorganized Debtor for services or for costs and

  expenses in or in connection with the Chapter 11 Cases or in connection with the Plan and

  incident to the Chapter 11 Cases, have either been approved by, or are subject to final approval

  of, the Court as reasonable. Notwithstanding anything to the contrary in the Plan, the provisions

  of section 3.01(e) of the Plan governing the filing of final fee applications by Estate

  Professionals and allowance of Administrative Expense Claims of Estate Professionals apply to

  the Chapter 11 Trustee. Compensation sought by the Chapter 11 Trustee through a final fee

  application shall be subject to final approval of the Court as reasonable in accordance with

  section 330(a)(3) of the Bankruptcy Code. Therefore, the requirements of section 1129(a)(4) of

  the Bankruptcy Code are satisfied.

                 (v)     Section 1129(a)(5) – Disclosure of Identity of Proposed Management,

  Compensation of Insiders and Consistency of Management Proposals with the Interests of

  Creditors and Public Policy. Under the Plan, Terry, who does not constitute an Insider, shall

  receive 100% of the equity interests in the Reorganized Debtor. The Plan does not provide for

  appointment of any officers or directors of the Reorganized Debtor as of the Effective Date and

  Terry, as the sole owner of the Reorganized Debtor, shall be free to structure the Reorganized

  Debtor’s management as he wishes. Terry’s identity and affiliations have been fully disclosed

  and, to the extent that Terry serves as an officer of the Reorganized Debtor after confirmation of

  the Plan, Terry’s appointment to any such role is consistent with the interests of Creditors,

  holders of Interests and public policy. Therefore, the requirements of section 1129(a)(5) of the

  Bankruptcy Code are satisfied.

                 (vi)    Section 1129(a)(6) – No Rate Changes. The Plan does not contain any

  rate changes subject to the jurisdiction of any governmental regulatory commissions and will not

  require governmental regulatory approval. Therefore, section 1129(a)(6) is not applicable to the

  Chapter 11 Cases.

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                 (vii)    Section 1129(a)(7) – Best Interest of Creditors Test. The Plan satisfies

  section 1129(a)(7). The Liquidation Analysis attached as Exhibit 4 to the Disclosure Statement

  and the other exhibits and evidence proffered or adduced at the Combined Hearing related

  thereto: (a) are persuasive and credible; (b) have not been controverted by other evidence; (c)

  are based upon sound methodology; and (d) conclusively establish that each holder of an

  Impaired Claim or Interest either (1) has accepted the Plan, or (2) will receive or retain under the

  Plan, on account of such holder’s Claim or Interest, property of a value, as of the Effective Date,

  that is not less than the amount that such holder would receive or retain if the Debtors were

  liquidated under chapter 7 of the Bankruptcy Code on such date.

                 (viii)   Section 1128(a)(8) – Conclusive Presumption of Acceptance by

  Unimpaired Classes; Acceptance of Plan by Each Impaired Class. Class 1 is unimpaired under

  the Plan and is conclusively presumed to have accepted the Plan under section 1126(f) of the

  Bankruptcy Code. Classes 2 and 3 are Impaired under the Plan and have voted to accept the

  Plan. Class 4 is Impaired under the Plan and voted to reject the Plan. Class 5 is Impaired

  under the Plan. Holders of Class 5 Interests will not receive or retain any property on account of

  their Interests under the Plan and are therefore conclusively deemed to have rejected the Plan

  under section 1126(g) of the Bankruptcy Code. Notwithstanding the fact that the Plan was not

  accepted by all Classes of Impaired Claims and Interests, the Plan is confirmable because it

  satisfies sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

                 (ix)     Section 1129(a)(9) – Treatment of Claims Entitled to Priority Pursuant to

  Section 507(a) of the Bankruptcy Code. The treatment of Allowed Claims for Administrative

  Expenses and Priority Tax Claims under Article III of the Plan satisfies the requirements of, and

  complies in all respects with, section 1129(a)(9) of the Bankruptcy Code. Accordingly, the

  requirements of section 1129(a)(9) are satisfied.

                 (x)      Section 1129(a)(10) – Acceptance by at Least One Impaired Class. As

  set forth in the Ballot Tabulation and in this Order, Classes 2 and 3 voted to accept the Plan. As

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  such, at least one Class of Claims that is Impaired under the Plan has accepted the Plan

  without including the acceptance of the Plan by any Insider. Therefore, the requirements of

  section 1129(a)(10) of the Bankruptcy Code have been satisfied.

                 (xi)     Section 1129(a)(11) – Feasibility of the Plan. The evidence submitted at

  the Combined Hearing regarding feasibility, together with all evidence proffered or advanced at

  or prior to the Combined Hearing, (a) is persuasive and credible, (b) has not been controverted

  by other evidence, and (c) establishes that confirmation of the Plan is not likely to be followed by

  the liquidation or the need for further financial reorganization of the Reorganized Debtor.

  Accordingly, the requirements of section 1129(a)(11) of the Bankruptcy Code have been

  satisfied.

                 (xii)    Section 1129(a)(12) – Payment of Bankruptcy Fees. The Plan provides

  that all fees due and payable under 28 U.S.C. section 1930 as of the Confirmation Date will be

  paid in full on the Effective Date or as soon thereafter as is practicable, thus satisfying the

  requirements of section 1129(a)(12) of the Bankruptcy Code.

                 (xiii)   Section 1129(a)(13), (14), (15) and (16) – Non-Applicability. The Debtors

  do not provide any retiree benefits within the meaning of section 1114, do not owe any domestic

  support obligations, are not individuals, and are not non-profit corporations. Thus, sections

  1129(a)(13), 1129(a)(14), 1129(a)(15) and 1129(a)(16) do not apply to the Chapter 11 Cases.

                 (xiv)    Section 1129(b) – Confirmation of the Plan Over Non-Acceptance of

  Impaired Classes. Class 4 is Impaired under the Plan and voted to reject the Plan. Holders of

  Class 5 Interests are deemed to have rejected the Plan. Nevertheless, the Plan may be

  confirmed pursuant to section 1129(b) of the Bankruptcy Code notwithstanding that the

  requirements of section 1129(a)(8) have not been met because the Chapter 11 Trustee has

  demonstrated by a preponderance of the evidence that the Plan (a) satisfies all of the other

  requirements of section 1129(a) of the Bankruptcy Code and (b) does not “discriminate unfairly”

  and is “fair and equitable” as to each Impaired Class which has not voted to accept (or is

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  deemed to reject) the Plan. The Plan therefore satisfies the requirements of section 1129(b) of

  the Bankruptcy Code and may be confirmed despite the fact that not all Impaired Classes have

  voted to accept the Plan.

                 (xv)     Section 1129(c) – Only One Plan. Other than the Plan (including

  previous versions thereof), no other plan has been filed in the Chapter 11 Cases. Accordingly,

  the requirements of section 1129(c) of the Bankruptcy Code are satisfied.

                 (xvi)    Section 1129(d) – Principal Purpose of the Plan is Not the Avoidance of

  Taxes. The principal purpose of the Plan is not the avoidance of taxes or the avoidance of

  application of Section 5 of the Securities Act of 1933 and there has been no filing by a

  Governmental Unit asserting any such attempted avoidance. Therefore, the requirements of

  section 1129(d) of the Bankruptcy Code are satisfied.

                 (xvii)   Section 1129(e) – Small Business Case. Neither of the Chapter 11

  Cases is a “small business case,” as that term is defined in the Bankruptcy Code and,

  accordingly, section 1129(e) is inapplicable to the Chapter 11 Cases.

         AA.     Executory Contracts and Unexpired Leases. The Chapter 11 Trustee has

  satisfied the provisions of section 365 of the Bankruptcy Code with respect to the assumption

  and rejection of the Executory Contracts and Unexpired Leases pursuant the Plan. The

  Chapter 11 Trustee has exercised reasonable business judgment prior to the Combined

  Hearing in determining whether to assume or reject each of the Executory Contracts and

  Unexpired Leases as set forth in Article XI of the Plan, Exhibit “5” to this Order, or otherwise.

  Each assumption or rejection of an Executory Contract or Unexpired Lease pursuant to this

  Order and in accordance with Article XI of the Plan, or otherwise by order of this Court, shall be

  valid, legal, and binding upon the applicable Debtor, Reorganized Debtor, Estate, and all non-

  Debtor persons or entities party to such Executory Contract or Unexpired Lease. Executory

  Contracts and Unexpired Leases not previously assumed by order of this Court and which the

  Chapter 11 Trustee has determined to assume are identified in Exhibit “5” to this Order.

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  Because no defaults exist under the Executory Contracts and Unexpired Leases identified in

  Exhibit “5” to this Order, the Chapter 11 Trustee is not required to make any cure payments,

  provide any other compensation, cure any nonmonetary defaults, or provide adequate

  assurance of future performance under section 365(b) of the Bankruptcy Code as a condition to

  the assumption of such Executory Contracts and Unexpired Leases.

            BB.   Compromise and Settlement. The Court finds and concludes that, pursuant to

  section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019, in consideration of

  the Distributions and other benefits provided under the Plan, the provisions of the Plan

  constitute a good faith compromise and settlement of all Impaired Claims and Interests. Such

  settlement and compromise, which was made at arms’-length in exchange for good and

  valuable consideration, is in the best interests of the holders of Impaired Claims and Interests, is

  within the range of possible litigation outcomes, and is fair, equitable, and reasonable. Each

  element of the compromise and settlement reflected in the Plan is integrated and inexorably

  linked.

            CC.   Plan Injunction. The Plan Injunction is necessary and appropriate to facilitate the

  transactions and distributions to Creditors pursuant to the Plan. The Plan Injunction constitutes

  an essential and integral part of the Plan without which the holders of Claims against the

  Debtors could potentially interfere with implementation and performance of the Plan. The Plan

  Injunction protects the best interests of the holders of Allowed Claims and facilitates the efficient

  performance of the Plan. Consequently, the Plan Injunction is appropriate pursuant to sections

  105(a) and 1123(a)(5) of the Bankruptcy Code.

            DD.   Temporary Plan Injunction. The Temporary Plan Injunction (as defined herein) is

  a temporary injunction which provides for the continuation, after the Effective Date, of injunctive

  relief the Court previously granted in its Preliminary Injunction Order (the “Preliminary

  Injunction”) [Docket No. 21 in Adversary No. 18-03212-sgj] entered on July 10, 2018 in the

  Trustee’s Adversary. The Preliminary Injunction was originally set to expire by its own terms

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  upon confirmation of the Plan, but is extended by this Order through the Effective Date of the

  Plan. Based on the record of prior proceedings in the Chapter 11 Cases, including in the

  Trustee’s Adversary, and the Record at the Combined Hearing, no grounds have been shown to

  give the Court reason to reconsider any findings supporting its prior Preliminary Injunction.

  Furthermore, as set forth below, the Record at the Combined Hearing demonstrates that the

  four elements required for issuance of injunctive relief are present, the Temporary Plan

  Injunction is necessary and appropriate in all respects, and it complies with the applicable

  requirements of the Bankruptcy Rules.

                 (i)    Substantial Likelihood of Success on the Merits. In the Highland

  Adversary, the Chapter 11 Trustee has asserted a counterclaim seeking to avoid the prepetition

  transfer of Acis LP’s rights under the ALF PMA (the “ALF PMA Transfer”) as a fraudulent

  transfer under the Bankruptcy Code and the Texas Uniform Fraudulent Transfer Act. Such

  fraudulent transfer actions seek an equitable remedy and involve claims to specific assets of

  Highland HCF. But for the ALF PMA Transfer, HCLOF could not have attempted to direct and

  effectuate an optional redemption of the Acis CLOs (which it has twice attempted to do

  postpetition in the Chapter 11 Cases). The rights transferred in the ALF PMA Transfer appear

  to have been fraudulently transferred for no apparent value. The Court found in the Preliminary

  Injunction, and the Court finds again for purposes of this Order, that the Chapter 11 Trustee has

  demonstrated a substantial likelihood of success on the merits of his claim to avoid the ALF

  PMA Transfer as a fraudulent transfer.

                 (ii)   Irreparable Harm. Revenue to be generated by the Reorganized Debtor

  under the PMAs is a primary source of funding Distributions to Creditors under the Plan. Absent

  the Temporary Plan Injunction, HCLOF will be free to direct an optional redemption before this

  Court can adjudicate the fraudulent transfer actions with respect to the ALF PMA Transfer.

  Such an optional redemption – or similar call or liquidation of the Acis CLOs – would not only

  render such fraudulent transfer actions moot, but would effectively terminate and destroy all

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  value in the PMAs. This would, in turn, effectively destroy the Reorganized Debtor’s ability to

  perform under the Plan to the detriment of the Reorganized Debtor, Creditors and other parties-

  in-interest. Consequently, the Reorganized Debtor faces immediate and irreparable harm if the

  Temporary Plan Injunction is not issued.

                 (iii)   Balance of Harms. The balance of harms weighs in favor of issuing the

  Temporary Plan Injunction because any alleged harm to HCLOF, Highland or their affiliates is

  substantially outweighed by the imminent and irreparable harm that would be suffered by the

  Reorganized Debtor, Creditors and other parties-in-interest if the Temporary Plan Injunction is

  not issued and an optional redemption, call or other liquidation of the Acis CLOs follows. At a

  minimum, the Temporary Plan Injunction is appropriate to maintain the status quo pending

  adjudication of the fraudulent transfer actions with respect to the ALF PMA Transfer. Highland,

  HCLOF and their affiliates will not suffer any material, recognizable harm if temporarily enjoined

  from pursuing an optional redemption, call or other liquidation of the Acis CLOs before the Court

  adjudicates the fraudulent transfer actions concerning the ALF PMA Transfer and thereby

  determines whether HCLOF has any legitimate right to direct an optional redemption, call or

  other liquidation of the Acis CLOs in the first instance.

                 (iv)    Public Policy. Public policy favors maximization of a debtor’s assets and

  successful reorganization. Because an optional redemption, call or other liquidation of the Acis

  CLOs would destroy the value of the PMAs and the Reorganized Debtor’s ability to perform

  under the Plan, issuance of the Temporary Plan Injunction is consistent with public policy.

  Furthermore, public policy favors disposition of cases on their merits. Absent the Temporary

  Plan Injunction, HCLOF could be expected to immediately direct an optional redemption, call or

  other liquidation of the Acis CLOs following confirmation of the Plan, thus rendering the

  fraudulent transfer actions concerning the ALF PMA Transfer moot. Issuance of the Temporary

  Plan Injunction will avoid the potential for such fraudulent transfer actions being mooted prior to

  adjudication of such actions on their merits and is consistent with public policy.

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                  (v)     Section 105(a). Section 105(a) empowers this Court to “issue any order,

  process, or judgment that is necessary or appropriate to carry out the provisions” of the

  Bankruptcy Code. 11 U.S.C. § 105(a). The Temporary Plan Injunction is essential to the

  Reorganized Debtor’s ability to perform the Plan and to maintain the status quo during

  prosecution of the fraudulent transfer actions concerning the ALF PMA Transfer. The

  Temporary Plan Injunction is therefore both necessary and appropriate to carry out the

  provisions of the Bankruptcy Code in the Chapter 11 Cases.

                  (vi)    Compliance with Technical Requirements. Bankruptcy Rule 3020(c)

  requires that the Temporary Plan Injunction (a) describe the acts enjoined in reasonable detail;

  (b) be specific in its terms with regard to the injunction; and (c) identify the entities subject

  thereto. The Temporary Plan Injunction satisfies each of these requirements. The description

  of acts enjoined is specific and particular and the language of the Temporary Plan Injunction is

  therefore reasonably detailed. The Temporary Plan Injunction is also specific in its terms, as its

  language clearly describes the condition triggering the injunction and the specific events which

  will serve to terminate it. The Temporary Plan Injunction also specifically identifies the entities

  subject to its terms. Federal Rule of Civil Procedure 65(d)(1), made applicable by Bankruptcy

  Rule 7065, also requires that the Temporary Plan Injunction be specific in its terms and describe

  the enjoined acts in reasonable detail. Federal Rule of Civil Procedure 65(d)(1) further requires

  that the reasons for issuance of the Temporary Plan Injunction are stated. The reasons for this

  Court’s issuance of the Temporary Plan Injunction are stated herein. Therefore, the Temporary

  Plan Injunction satisfies all requirements of the applicable Bankruptcy Rules.

          EE.     Substantive Consolidation of the Debtors. The Court finds and concludes that

  the substantive consolidation of the Debtors for the purpose of implementing the Plan, including

  for purposes of distributions under the Plan, is in the best interests of the Debtors, the Estate,

  and holders of Claims and Interests. Substantive consolidation recognizes the Debtors’

  common business purpose and the fact that Acis GP’s liability is derived from the liabilities of

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  Acis LP based on Acis GP’s status as general partner of Acis LP. The Court further finds that

  substantive consolidation of the Debtors constitutes an integral part of the Plan.

         FF.      Retention of Jurisdiction. This Court finds and concludes that this Court’s

  retention of jurisdiction as set forth herein and in the Plan comports with 28 U.S.C. sections 157

  and 1334. Consequently, the Court may properly retain jurisdiction over the matters set forth in

  Article XV of the Plan.

         GG.      Implementation of Other Necessary Documents and Agreements. All documents

  and agreements necessary to implement the Plan are essential elements of the Plan and entry

  into and consummation of the transactions contemplated by each of such documents and

  agreements is in the best interests of the Debtors, the Estate, and holders of Claims and

  Interests. The Chapter 11 Trustee has exercised reasonable business judgment in determining

  which agreements to enter into and has provided sufficient and adequate notice of such

  documents and agreements. The terms and conditions of such documents and agreements

  have been negotiated in good faith, at arm’s length, are fair and reasonable, and are reaffirmed

  and approved.

         HH.      Conditions Precedent to the Effective Date. Each of the conditions precedent to

  the Effective Date, as set forth in Article XIII of the Plan, has been satisfied or waived in

  accordance with the provisions of the Plan, or is reasonably likely to be satisfied or waived.

         II.      Satisfaction of Confirmation Requirements. Based upon the foregoing, all other

  filed pleadings, exhibits and documents filed in connection with confirmation of the Plan and all

  evidence and arguments made, proffered, or adduced at the Combined Hearing, the Plan

  satisfies the requirements for confirmation set forth in section 1129 of the Bankruptcy Code.

                                                ORDER

         Based on the foregoing, it is hereby ORDERED:

         1.       Findings of Fact and Conclusions of Law. The above-referenced findings of fact

  and conclusions of law are incorporated by reference as though fully set forth herein. To the

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  extent any of the prior findings of fact or conclusions of law constitutes an order of this Court,

  they are adopted as such.

          2.      Objections to Final Approval of Disclosure Statement and Confirmation of Plan.

  To the extent that any of the Objections have not been resolved, withdrawn, waived or settled

  prior to entry of this Order or otherwise resolved as stated on the Record of the Combined

  Hearing or as set forth in this Order, they are hereby overruled on their merits.

          3.      Final Approval of Disclosure Statement. The Disclosure Statement is hereby

  approved on a final basis as containing adequate information as required by section 1125 of the

  Bankruptcy Code.

          4.      Confirmation of Plan. All requirements for confirmation of the Plan have been

  satisfied. The Third Amended Plan, as modified by the First Modification and Second

  Modification (as supplemented) and as modified herein, is hereby CONFIRMED in accordance

  with section 1129 of the Bankruptcy Code, and all terms and conditions set forth in the Plan are

  hereby APPROVED. The terms of the Plan are incorporated by reference into, and as an

  integral part of, this Order.

          5.      Solicitation and Notice. Notice of the Combined Hearing complied with the terms

  of the Solicitation Order, was appropriate and satisfactory based on the circumstances of the

  Chapter 11 Cases and was in compliance with the applicable provisions of the Bankruptcy Code

  and the Bankruptcy Rules. The solicitation of votes on the Third Amended Plan and the

  Solicitation Materials complied with the Solicitation Procedures, was appropriate and

  satisfactory based upon the circumstances of the Chapter 11 Cases, and was in compliance

  with the applicable provisions of the Bankruptcy Code and Bankruptcy Rules.

          6.      Plan Classification Controlling. The terms of the Plan shall solely govern the

  classification of Claims and Interests for purposes of distributions to be made thereunder. The

  classifications set forth on the Ballots tendered to or returned by the Holders of Claims in

  connection with voting on the Plan: (a) were set forth thereon solely for purposes of voting to

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  accept or reject the Plan; (b) do not necessarily represent, and in no event shall be deemed to

  modify or otherwise affect, the actual classification of Claims under the Plan for distribution

  purposes; (c) may not be relied upon by any holder of a Claim as representing the actual

  classification of such Claim under the Plan for distribution purposes; and (d) shall not be binding

  upon the Debtors and the Reorganized Debtor except for voting purposes.

         7.      Resolution of Stinson Objection. Stinson Leonard Street LLP (“Stinson”) has

  asserted a Claim against the Debtors for $158,552.98. On July 31, 2018, Stinson initially

  asserted its Claim as an unsecured Claim by filing proof of Claim number 12 in the Acis LP case

  and proof of claim number 2 in the Acis GP case. Those Claims represent a single Claim for

  satisfaction of a total alleged debt of $158,552.89. All proofs of Claim filed by Stinson will be

  referred to collectively as the “Stinson Claim.” The Stinson Claim is treated as part of Class 3

  under the Plan. On November 9, 2018, Stinson amended the Stinson Claim to assert a secured

  Claim based on a possessory lien on legal files belonging to the Debtors. The Chapter 11

  Trustee currently intends to object to the Stinson Claim, including Stinson’s claim to secured

  status. Stinson filed an Objection to the Plan on November 26, 2018 [Docket No. 720] which

  was subsequently withdrawn based on this proposed paragraph being included in any Order

  confirming the Plan. This paragraph resolves Stinson’s Objection as follows: Notwithstanding

  any contrary provision of the Plan or this Order, the Stinson Claim, to the extent it is Allowed by

  a Final Order of the Bankruptcy Court as a Secured Claim, shall be considered a separate class

  under the Plan and paid by the Reorganized Debtor within thirty (30) days after entry of such

  Final Order. To the extent it is an Allowed Secured Claim, the Stinson Claim will be removed

  from Class 3. To the extent it is an Allowed General Unsecured Claim, the Stinson Claim will

  remain a Class 3 Claim. This recognizes that the Stinson Claim may be allowed as partly

  secured (i.e. only secured to the extent of the value of its collateral) and be paid accordingly.

  The Chapter 11 Trustee reserves all rights to object to Stinson’s proofs of Claim, and Stinson

  reserves all rights to defend its proofs of Claim.

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         8.      Plan Implementation. Upon the Effective Date of the Plan, the Chapter 11

  Trustee and the Reorganized Debtor are hereby authorized and directed to take all actions

  necessary or appropriate to implement, effectuate or consummate the Plan, the terms of this

  Order and the transactions respectively contemplated therein, and to otherwise fully perform

  and execute their duties under the Plan or this Order. Without limiting the generality of the

  foregoing, pursuant to section 1142(b) of the Bankruptcy Code, each and every Person

  (including, without limitation, the Chapter 11 Trustee, HCLOF, Highland, any and all affiliates of

  HCLOF and Highland, the Issuers and Co-Issuers, and the Indenture Trustee), to the extent

  necessary, is hereby directed to execute or deliver, or to join in the execution or delivery of, any

  instrument required to effect the transfers of property dealt with under the Plan and this Order,

  and to perform all other acts necessary for the consummation of the Plan. Further pursuant to

  section 1142(b) of the Bankruptcy Code, to the extent that any Person fails to execute or deliver

  any instrument required to effect the transfers of property pursuant to the Plan and this Order,

  the Chapter 11 Trustee is hereby authorized to execute and deliver on behalf of any such

  Person (including, without limitation, HCLOF, Highland, and any and all affiliates of HCLOF and

  Highland) any instrument required to effect the transfers of property pursuant to the Plan and

  this Order. In the event of an appeal of this Order, the Chapter 11 Trustee and the Reorganized

  Debtor are hereby authorized and directed to take all steps necessary to make the Plan

  effective and, from and after the Effective Date, execute their duties, responsibilities and

  obligations under the Plan, this Order and the Plan Documents unless and until this Order is

  stayed by order of a court of appropriate jurisdiction.

         9.      Restructuring Transactions. On the Effective Date or as soon as reasonably

  practicable thereafter, the Reorganized Debtor may take all actions as may be necessary or

  appropriate to effect any transaction described in, approved by, contemplated by, or necessary

  to effectuate the Plan; provided, however, that no such restructuring transactions may violate

  the terms of any assumed Executory Contract or Unexpired Lease.

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           10.   Approval of Plan Documents. The form and substance of the Plan Documents

  are all hereby APPROVED. The Chapter 11 Trustee is authorized and directed, without the

  need for further corporate or other organizational action by or on behalf of the Debtors or further

  order or authorization of this Court, to take such actions and do all things as may be necessary

  or required to implement and effectuate the Plan Documents and to make the Plan effective.

           11.   Transfer and Vesting of Assets; Assumption of Obligations. On the Effective

  Date, without the execution of any other or further document or any further order by the Court,

  all Assets shall be deemed as fully, completely and irrevocably transferred to, and vested in, the

  Reorganized Debtor in accordance with the Plan. All transfers of Assets to the Reorganized

  Debtor shall be free and clear of all Liens, Claims, rights, Interests and charges, except as

  otherwise expressly provided in the Plan or any agreement, instrument, or other document

  incorporated therein, or this Order. Upon the Effective Date, the Reorganized Debtor shall be

  deemed to have assumed the obligations to make all Distributions pursuant to the Plan and this

  Order.

           12.   Estate Claims and Estate Defenses. Upon the Effective Date, without the

  necessity of the execution of any further documents or further order of the Court, all Estate

  Claims and Estate Defenses, including without limitation all Estate Claims and Estate Defenses

  identified in Exhibit A to the Plan, shall be deemed as fully, completely and irrevocably

  transferred to, and vested in, the Reorganized Debtor. From and after the Effective Date, the

  Reorganized Debtor shall have the exclusive standing and authority to assert, prosecute,

  collect, compromise and settle all Estate Claims and Estate Defenses pursuant to the terms of

  the Plan.

           13.   Treatment of Executory Contracts and Unexpired Leases. The Executory

  Contract and Unexpired Lease provisions of Article XI of the Plan, as modified herein, are

  hereby approved in their entirety. The assumption of Executory Contracts and Unexpired

  Leases as set forth in the Plan, this Order, and Exhibit “5” to this Order are hereby approved.

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  Because no defaults exist under the Executory Contracts and Unexpired Leases identified in

  Exhibit “5” to this Order, the Chapter 11 Trustee is not required to make any cure payments,

  provide any other compensation, cure any nonmonetary defaults, or provide adequate

  assurance of future performance under section 365(b) of the Bankruptcy Code as a condition to

  the assumption of such Executory Contracts and Unexpired Leases. All other Executory

  Contracts and Unexpired Leases that have not been previously assumed or rejected shall be

  deemed as rejected as of the Effective Date in accordance with the terms of the Plan. All

  Rejection Claims must be filed within the time specified in section 11.03 of the Plan, failing

  which any such Rejection Claim shall be forever barred and precluded from receiving any

  Distribution pursuant to the Plan. Notwithstanding anything to the contrary herein or in the Plan,

  Exhibit 5 to this Order hereby replaces, is substituted for, and supersedes Exhibit B to the Third

  Amended Plan and any explicit or inferred references herein or in the Plan to Exhibit B to the

  Third Amended Plan shall refer to Exhibit 5 to this Order.

         14.     Executory Contracts with Issuers and Co-Issuers. Pursuant to the Plan and as

  provided in this Order, the Debtors are authorized to assume executory contracts that include as

  a party ACIS CLO 2014-3 Ltd., ACIS CLO 2014-4 Ltd., ACIS CLO 2014-5 Ltd., ACIS CLO 2015-

  6 Ltd., ACIS CLO 2014-3 LLC, ACIS CLO 2014-4 LLC, ACIS CLO 2014-5 LLC, and/or ACIS

  CLO 2015-6 LLC solely if and to the extent that one or more of the Debtors is a signatory to

  each such executory contract.

         15.     Approval of Brigade as Sub-Advisor and Shared Services Provider. Pursuant to

  an Order Granting Emergency Motion to Approve Replacement Sub-Advisory and Shared

  Services Providers, Brigade Capital Management, LP and Cortland Capital Markets Services

  LLC [Docket No. 464] entered on August 1, 2018, the Court authorized the Chapter 11 Trustee

  to engage Brigade Capital Management, LP (“Brigade”) and Cortland Capital Markets Services

  LLC to perform the services previously provided by Highland under the Sub-Advisory

  Agreement and Shared Services Agreement, on an interim basis. The Chapter 11 Trustee

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  selected Brigade as the party to provide both sub-advisory and shared services to the

  Reorganized Debtor. Based on the record of prior proceedings in the Chapter 11 Cases and

  the Record at the Combined Hearing, the Chapter 11 Trustee has demonstrated that Brigade is

  fully qualified to perform such services, and that the Chapter 11 Trustee’s selection of Brigade is

  an exercise of his sound business judgment. Furthermore, adequate assurance of future

  performance by Brigade has been shown. Therefore, the selection of Brigade as the provider to

  the Reorganized Debtor of the sub-advisory and shared services previously provided by

  Highland under the Sub-Advisory Agreement and Shared Services Agreement is hereby

  approved in all respects.

         16.     Substantive Consolidation. The substantive consolidation of the Debtors for

  purposes of implementation of and distributions under the Plan is hereby approved as of the

  Effective Date such that on the Effective Date: (a) all assets and liabilities of the Debtors will be

  deemed merged; (b) all guaranties by one Debtor of the obligations of the other Debtor will be

  deemed eliminated so that any Claim against any Debtor and any guarantee thereof executed

  by the other Debtor and any joint or several liability of the Debtors will be deemed to be one

  obligation of the consolidated Debtors; and (c) each and every Claim filed or to be filed in the

  case of either of the Debtors will be deemed filed against the consolidated Debtors and will be

  deemed one Claim against and a single obligation of the consolidated Debtors.

         17.     Compromise and Settlement. Pursuant to section 363 of the Bankruptcy Code

  and Bankruptcy Rule 9019, and in consideration of the classification, potential Distributions and

  other benefits provided under the Plan, the provisions of the Plan shall constitute a good faith

  compromise and settlement of all Claims, Interests and controversies subject to, or dealt with,

  under the Plan, including, without limitation, all Claims against the Debtors or Estate arising

  prior to the Effective Date, whether known or unknown, foreseen or unforeseen, asserted or

  unasserted, fixed or contingent, arising out of, relating to or in connection with the business or

  affairs of, or transactions with, the Debtors or the Estate. The entry of this Order constitutes the

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  Court’s approval of each of the foregoing compromises or settlements embodied in the Plan,

  and all other compromises and settlements provided for in the Plan, as well as a finding by the

  Court that such compromises and settlements are in the best interest of the Debtors, the Estate,

  holders of Claims and Interests, and other parties-in-interest, and are fair, equitable and within

  the range of reasonableness. The rights afforded in the Plan and the treatment of all Claims

  and Interests therein are in exchange for, and in complete satisfaction and release of, all Claims

  and Interests of any nature whatsoever against and in the Debtors, the Estate, and the Assets.

  Except as otherwise provided in the Plan or this Order, all Persons shall be precluded and

  forever barred by the Plan Injunction from asserting against the Debtors and their affiliates,

  successors, assigns, the Reorganized Debtor or the Reorganized Debtor’s assets, the Estate,

  or the Assets, any event, occurrence, condition, thing, or other or further Claims or causes of

  action based upon any act, omission, transaction, or other activity of any kind or nature that

  occurred or came into existence prior to the Effective Date, whether or not the facts of or legal

  bases therefore were known or existed prior to the Effective Date.

         18.     Discharge. Except for the obligations expressly set forth in the Plan or this Order,

  on the Effective Date, the Debtors, the Reorganized Debtor and their successors in interest and

  assigns shall be deemed and they each are discharged and released to the fullest extent

  permitted by applicable law, including pursuant to section 1141(d)(1) of the Bankruptcy Code,

  from any and all Claims, Interests, demands, debts and liabilities that arose before the Effective

  Date. Without limiting the generality of the foregoing, the discharge shall apply to and cover both

  known and unknown Claims although the Court makes no determination in this Order as to which

  Creditors may constitute holders of unknown Claims. In addition, all such discharged Claims,

  both known and unknown, shall be subject to the Plan Injunction.

         19.     Injunctions. The following injunction provisions set forth in Article XIV of the Plan

  are hereby approved and authorized in their entirety:

                 (a)     Permanent General Plan Injunction:

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        EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN, AS OF THE
  EFFECTIVE DATE ALL HOLDERS OF CLAIMS AGAINST, OR INTERESTS IN, THE
  DEBTORS, THE ESTATE OR ANY OF THE ASSETS THAT AROSE PRIOR TO THE
  EFFECTIVE DATE ARE HEREBY PERMANENTLY ENJOINED AND PROHIBITED FROM THE
  FOLLOWING: (a) THE COMMENCING OR CONTINUATION IN ANY MANNER, DIRECTLY
  OR INDIRECTLY, OF ANY ACTION, CASE, LAWSUIT OR OTHER PROCEEDING OF ANY
  TYPE OR NATURE AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED DEBTOR,
  OR THE REORGANIZED DEBTOR’S ASSETS WITH RESPECT TO ANY SUCH CLAIM OR
  INTEREST ARISING OR ACCRUING BEFORE THE EFFECTIVE DATE, INCLUDING
  WITHOUT LIMITATION THE ENTRY OR ENFORCEMENT OF ANY JUDGMENT, OR ANY
  OTHER ACT FOR THE COLLECTION, EITHER DIRECTLY OR INDIRECTLY, OF ANY CLAIM
  OR INTEREST AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED DEBTOR, OR
  THE REORGANIZED DEBTOR’S ASSETS; (b) THE CREATION, PERFECTION OR
  ENFORCEMENT OF ANY LIEN, SECURITY INTEREST, ENCUMBRANCE, RIGHT OR
  BURDEN, EITHER DIRECTLY OR INDIRECTLY, AGAINST THE DEBTORS, THE ESTATE,
  THE REORGANIZED DEBTOR, OR THE REORGANIZED DEBTOR’S ASSETS, OR (c)
  TAKING ANY ACTION IN RELATION TO THE DEBTORS, THE ESTATE, THE REORGANIZED
  DEBTOR, OR THE REORGANIZED DEBTOR’S ASSETS, EITHER DIRECTLY OR
  INDIRECTLY, WHICH VIOLATES OR DOES NOT CONFORM OR COMPLY WITH THE
  PROVISIONS OF THE PLAN APPLICABLE TO SUCH CLAIM OR INTEREST.

  The above injunction is an integral term of this Order and shall be fully binding upon, and

  enforceable against, all Persons through and as a part of this Order. Furthermore,

  notwithstanding anything to the contrary in the Plan or this Order, the above injunction is

  permanent and shall not expire upon the occurrence of any event that causes the Temporary

  Plan Injunction to expire.

                 (b)     Temporary Injunction Against the Liquidation of the Acis CLOs and

  Related Actions (the “Temporary Plan Injunction”):

         EXCEPT TO THE EXTENT NECESSARY TO ALLOW HCLOF, THE REORGANIZED
  DEBTOR AND BRIGADE TO EFFECTUATE THE RESET OF ONE OR MORE OF THE ACIS
  CLOS IN ACCORDANCE WITH SECTION 6.08 OF THE PLAN, PURSUANT TO SECTIONS
  105(a), 1123(a)(5), 1123(b)(6), AND 1142(b) OF THE BANKRUPTCY CODE, THE ENJOINED
  PARTIES (DEFINED BELOW) ARE HEREBY ENJOINED FROM: (a) PROCEEDING WITH,
  EFFECTUATING, OR OTHERWISE TAKING (i) ANY ACTION IN FURTHERANCE OF ANY
  OPTIONAL REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE ACIS CLOS
  PREVIOUSLY OR CURRENTLY ISSUED BY ANY SUCH PARTIES, AND (ii) ANY OTHER
  ATTEMPT TO LIQUIDATE THE ACIS CLOS BY ANY MEANS, (b) TRADING ANY ACIS CLO
  COLLATERAL IN FURTHERANCE OF ANY OPTIONAL REDEMPTION, CALL, OR OTHER
  LIQUIDATION OF THE ACIS CLOS, (c) EXERCISING ANY RIGHTS TO ASK OR DIRECT THE
  ISSUERS, CO-ISSUERS OR INDENTURE TRUSTEE TO PERFORM ANY ACTION IN
  RELATION TO THE ACIS CLOS THAT THE ENJOINED PARTIES ARE PROHIBITED FROM
  TAKING UNDER THE TERMS OF THE PLAN INJUNCTION, (d) INTERFERING IN ANY WAY
  WITH THE CAPITAL MARKETS PROCESS OF RESETTING ANY ACIS CLO, AND (e)
  SENDING, MAILING, OR OTHERWISE DISTRIBUTING ANY NOTICE TO THE HOLDERS OF

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  THE NOTES IN THE ACIS CLOS IN CONNECTION WITH THE EFFECTUATION OF ANY
  OPTIONAL REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE ACIS CLOS, UNTIL
  THE EARLIER TO OCCUR OF: (w) THE DATE UPON WHICH A FINAL ORDER IS ENTERED
  RESOLVING THE ESTATE’S AVOIDANCE CLAIMS AGAINST ALL ENJOINED PARTIES
  RELATING TO ACIS LP’S RIGHTS UNDER THE ALF PMA; (x) THE DATE UPON WHICH ALL
  ALLOWED CLAIMS AGAINST THE DEBTORS HAVE BEEN PAID IN FULL, (y) THE ENTRY
  OF AN ORDER BY THE BANKRUPTCY COURT FINDING THAT A MATERIAL DEFAULT HAS
  OCCURRED UNDER THE TERMS OF THE PLAN, OR (z) THE ENTRY OF A SUBSEQUENT
  ORDER BY THE BANKRUPTCY COURT PROVIDING OTHERWISE WITH RESPECT TO ONE
  OR MORE OF THE ACIS CLOS. FOR PURPOSES OF THIS PARAGRAPH, THE TERM
  “ENJOINED PARTIES” SHALL INCLUDE HIGHLAND, HCLOF, CLO HOLDCO, NEUTRA,
  HIGHLAND HCF, HIGHLAND CLOM, ANY AFFILIATES OF HIGHLAND, AND THEIR
  RESPECTIVE EMPLOYEES, AGENTS, REPRESENTATIVES, TRANSFEREES, ASSIGNS,
  AND SUCCESSORS. FOR PURPOSES OF CLARIFICATION AND AVOIDANCE OF DOUBT,
  NOTHING IN THIS PARAGRAPH SHALL PRECLUDE ORDINARY DAY-TO-DAY TRADING
  OF THE COLLATERAL IN THE ACIS CLOS BY THE REORGANIZED DEBTOR.

  The above Temporary Plan Injunction is an integral term of this Order and the Temporary Plan

  Injunction shall be fully binding upon, and enforceable against, the Enjoined Parties through and

  as a part of this Order. For the avoidance of doubt, the occurrence of any event specified in the

  Temporary Plan Injunction that results in expiration of the Temporary Plan Injunction shall not

  cause any of the other injunctive relief set forth in the first paragraph of section 14.03 of the Plan

  and paragraph 18(a) of this Order to expire, such other injunctive relief being permanent.

          20.     Notwithstanding anything to the contrary in the Plan or this Order, nothing in the

  Plan or in this Order shall discharge, release, enjoin or otherwise bar (a) any liability of the

  Debtors, the Estate, the Reorganized Debtor, or the Reorganized Debtor’s assets (“Released

  Parties”) to a Governmental Unit arising on or after the Confirmation Date with respect to events

  occurring after the Confirmation Date, provided that the Released Parties reserve the right to

  assert that any such liability is a Claim that arose on or prior to the Confirmation Date and

  constitutes a Claim that is subject to the deadlines for filing proofs of Claim, (b) any liability to a

  Governmental Unit that is not a Claim subject to the deadlines for filing proofs of Claim, (c) any

  valid right of setoff or recoupment of a Governmental Unit, and (d) any police or regulatory

  action by a Governmental Unit. In addition, nothing in the Plan or this Order discharges,

  releases, precludes or enjoins any environmental liability to any Governmental Unit that any


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  Person other than the Released Parties would be subject to as the owner or operator of the

  property after the Effective Date. For the avoidance of any doubt, nothing in this paragraph

  shall be construed to limit the application of the Plan Injunction to any Claim which was subject

  to any bar date applicable to such Claim.

         21.     Extension of the Preliminary Injunction. Notwithstanding anything to the contrary

  in the terms of the Preliminary Injunction entered in the Trustee’s Adversary, the Preliminary

  Injunction shall not expire upon confirmation of the Plan. The Preliminary Injunction is hereby

  extended to and through the Effective Date of the Plan and shall remain in full force and effect

  until the Effective Date of the Plan.

         22.     Exculpation. The exculpation provisions set forth in section 16.06 of the Plan are

  hereby approved in all respects.

         23.     Priority and Secured Tax Claims. The treatment of Priority Tax Claims and

  Secured Tax Claims is specified in the Plan. Nothing in the Plan or this Order shall modify or

  affect the Lien rights of a Taxing Authority under applicable non-bankruptcy law. In the event of

  a default on the payment of a Priority Tax Claim or Secured Tax Claim under the Plan, the

  Taxing Authority to which the payment is owed may pursue all administrative and judicial

  remedies under applicable law to collect the unpaid Priority Tax Claim or Secured Tax Claim.

         24.     Injunctions and Automatic Stay. Except as otherwise provided in the Plan or this

  Order, all injunctions or stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362

  of the Bankruptcy Code or any order of the Court, and extant on the Confirmation Date

  (excluding any injunctions or stays contained in the Plan or this Order) shall remain in full force

  and effect until the Effective Date. All injunctions or stays contained in the Plan or this Order

  shall remain in full force and effect in accordance with their terms.

         25.     Setoffs. Except as otherwise expressly provided for in the Plan, pursuant to the

  Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable nonbankruptcy

  law, or as may be agreed to by the holder of a Claim, the Reorganized Debtor may set off

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  against any Allowed Claim and the Distributions to be made pursuant to the Plan on account of

  such Allowed Claim (before such Distribution is made), any Claims, rights, Estate Claims and

  Estate Defenses of any nature that the Debtors may hold against the holder of such Allowed

  Claim, to the extent such Claims, rights, Estate Claims and Estate Defenses against such

  holder have not been otherwise compromised or settled on or prior to the Effective Date

  (whether pursuant to the Plan or otherwise); provided, however, that neither the failure to effect

  such a setoff nor the allowance of any Claim or Interest pursuant to the Plan shall constitute a

  waiver or release of any such Claims, rights, Estate Claims and Estate Defenses that the Estate

  may possess against such Claimant. In no event shall any Claimant or Interest holder be

  entitled to setoff any Claim or Interest against any Claim, right, or Estate Claim of the Debtors

  without the consent of the Debtors or the Reorganized Debtor unless such holder files a motion

  with the Court requesting the authority to perform such setoff notwithstanding any indication in

  any proof of Claim or otherwise that such holder asserts, has, or intends to preserve any right of

  setoff pursuant to section 553 of the Bankruptcy Code or otherwise.

         26.     Recoupment. Except as otherwise expressly provided for in the Plan, in no event

  shall any holder of Claims or Interests be entitled to recoup any Claim or Interest against any

  Claim, right, account receivable, or Estate Claim of the Debtors or the Reorganized Debtor

  unless (a) such holder actually provides notice thereof in writing to the Debtors or the

  Reorganized Debtor of its intent to perform a recoupment; (b) such notice includes the amount

  to be recouped by the holder of the Claim or Interest and a specific description of the basis for

  the recoupment, and (c) the Debtors or the Reorganized Debtor have provided a written

  response to such Claim or Interest holder, stating unequivocally that the Debtors or the

  Reorganized Debtor consents to the requested recoupment. The Debtors and the Reorganized

  Debtor shall have the right, but not the obligation, to seek an order of the Court allowing any or

  all of the proposed recoupment. In the absence of a written response from the Debtors or the




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  Reorganized Debtor consenting to a recoupment or an order of the Court authorizing a

  recoupment, no recoupment by the holder of a Claim or Interest shall be allowed.

         27.     Preservation of Causes of Action. Articles VI and IX of the Plan, including Exhibit

  A to the Plan, contain a specific and unequivocal reservation of Estate Claims and Estate

  Defenses as required under applicable Fifth Circuit authority. The Estate Claims and Estate

  Defenses are expressly, specifically, and unequivocally retained and reserved pursuant to

  Articles VI and IX of the Plan (including Exhibit A to the Plan) in accordance with section

  1123(b)(3)(B) of the Bankruptcy Code. Such reservation of the Estate Claims and Estate

  Defenses is hereby approved. No person may rely on the absence of a specific reference

  in the Plan or the Disclosure Statement to any cause of action against them as any

  indication that the Debtors or the Reorganized Debtor will not pursue any and all

  available causes of action (including all Estate Claims, Estate Defenses and Avoidance

  Actions) against any Person, except as otherwise provided in the Plan. Unless any

  causes of action against a Person are expressly waived, relinquished, exculpated, released,

  compromised or settled in the Plan or a Final Order, such causes of action are hereby expressly

  reserved (including all Estate Claims, Estate Defenses and Avoidance Actions) for later

  adjudication and, therefore, no preclusion doctrine, including without limitation, the doctrines of

  res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable

  or otherwise) or laches, shall apply to such causes of action upon or after the confirmation or

  consummation of the Plan.

         28.     Unless otherwise expressly stated in the Plan or this Order, all Estate Claims and

  Estate Defenses are hereby reserved for the benefit of the Reorganized Debtor notwithstanding

  the occurrence of the Effective Date or the rejection or repudiation of any Executory Contract or

  Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. All such reserved

  Estate Claims and Estate Defenses shall be vested with the Reorganized Debtor and the

  Reorganized Debtor shall have the exclusive right, authority and standing to assert, file,

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  prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment

  each of the Estate Claims and Estate Defenses so reserved in accordance with the terms of the

  Plan without the consent or approval of any third party or further notice to or action, order or

  approval of the Court.

          29.    Subordinated Claims. The allowance, classification and treatment of all Allowed

  Claims and Interests and the respective Distributions and treatments under the Plan take into

  account and conform to the relative priority and rights of the Claims and Interests in each Class

  in connection with any contractual, legal and equitable subordination rights relating thereto,

  whether arising under general principles of equitable subordination, the Bankruptcy Code, or

  otherwise. Pursuant to section 510 of the Bankruptcy Code, the Reorganized Debtor reserves

  the right to seek to re-classify any Allowed Claim or Interest in accordance with any contractual,

  legal or equitable subordination relating thereto.

          30.    Release of Liens. Except as otherwise provided in the Plan, this Order, or in any

  contract, instrument, or other agreement or document entered into or delivered in connection

  with the Plan, on the Effective Date all Liens against any Assets transferred to and vested in the

  Reorganized Debtor are hereby deemed to be released, terminated and nullified without the

  necessity of further order of this Court.

          31.    Provisions Governing Distributions. The distribution provisions of Articles VII and

  VIII of the Plan shall be, and hereby are, approved in their entirety; provided, however, that

  notwithstanding anything to the contrary set forth in Section 7.02 of the Plan, the Reorganized

  Debtor may, but shall not be required to, reserve for Distributions to holders of Allowed

  Subclass 4B Claims. The Reorganized Debtor shall make all Distributions required under the

  Plan.

          32.    Procedures for Resolving Contested and Contingent Claims. The Claims

  resolution procedures contained in Article X of the Plan are hereby approved.




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         33.     Section 1145 Exemption. The solicitation of acceptances and rejections of the

  Plan was exempt from the registration requirements of the Securities Act of 1933 and applicable

  state securities laws, and no other nonbankruptcy law applies to the solicitation.

         34.     Exemption from Certain Transfer Taxes and Recording Fees. Section 1146(a)

  shall apply to the transfers of Assets pursuant to the Plan and, therefore, such transfers may not

  be taxed under any law imposing a stamp tax or similar tax.

         35.     Governmental Approvals Not Required. This Order shall constitute all approvals

  and consents required, if any, by the laws, rules or regulations of any state or any other

  governmental authority with respect to the implementation or consummation of the Plan and any

  documents, instruments or agreements, and any amendments or modifications thereto, and any

  other acts referred to in or contemplated by the Plan, the Disclosure Statement and any

  documents, instruments or agreements, and any amendments or modifications thereto.

         36.     Allowance and Payment of Certain Administrative Expense Claims

                 (a)     Administrative Expense Claims (Generally). The holder of a Claim for an

  Administrative Expense, other than (i) such a Claim by an Estate Professional, (ii) an Ordinary

  Course Claim, (iii) a Claim for U.S. Trustee fees under 28 U.S.C. § 1930, or (iv) an Allowed

  Administrative Expense, must file with the Court and serve upon the Reorganized Debtor and its

  counsel, as set forth in the Plan, a written notice of such Claim for an Administrative Expense

  within thirty (30) days after the Effective Date (the “Administrative Bar Date”). Such notice of

  Claim for an Administrative Expense shall include at a minimum: (i) the name, address,

  telephone number and fax number (if applicable) or email address of the holder of such Claim,

  (ii) the amount of such Claim, and (iii) the basis of such Claim. The failure to timely and

  properly file and serve a notice of Claim for an Administrative Expense on or before the

  Administrative Bar Date shall result in such Claim for an Administrative Expense being

  forever barred and discharged without further order of the Court and the holder thereof

  shall be barred from receiving any Distribution from the Reorganized Debtor on account

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  of such Claim for an Administrative Expense. A Claim for an Administrative Expense with

  respect to which a notice of Claim for an Administrative Expense has been timely and properly

  filed and served shall become an Allowed Administrative Expense if no objection is filed within

  thirty (30) days after the date of filing and service of the applicable notice of Claim for an

  Administrative Expense, or such later date as may be approved by the Court on motion of a

  party in interest, without notice or a hearing. If an objection is filed within such 30-day period (or

  any extension thereof), the Claim for an Administrative Expense shall become an Allowed

  Administrative Expense only to the extent allowed by a Final Order.

                 (b)     Estate Professional Compensation. All final requests for compensation or

  reimbursement by any Estate Professional shall be filed no later than sixty (60) days after the

  Effective Date in accordance with the Plan. A Claim for an Administrative Expense by an Estate

  Professional in respect of which a final fee application has been properly filed shall become an

  Allowed Administrative Expense only to the extent allowed by Final Order and, if so Allowed,

  shall be paid in accordance with the terms of the Plan. Notwithstanding anything to the contrary

  in the Plan, the provisions of the Plan governing the filing of final fee applications by Estate

  Professionals and allowance of Administrative Expense Claims of Estate Professionals apply to

  the Chapter 11 Trustee. Compensation or reimbursement sought by the Chapter 11 Trustee

  through a final fee application shall be subject to final approval of the Court as reasonable in

  accordance with section 330(a)(3) of the Bankruptcy Code.

                 (c)     U.S. Trustee Fees. Any U.S. Trustee fees incurred pursuant to 28 U.S.C.

  § 1930 which are past due as of the Confirmation Date shall be paid in full by the Chapter 11

  Trustee on or before the earlier of (i) December 21, 2018, or (ii) that day which is ten (10) days

  after the Confirmation Date. After the Confirmation Date, the Reorganized Debtor shall continue

  to pay U.S. Trustee fees as they accrue until a final decree is entered and the Chapter 11

  Cases are closed.




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          37.      Effectuating Documents and Further Transactions. The Chapter 11 Trustee and

  the Reorganized Debtor, and their respective representatives, agents and attorneys, may take

  all actions to execute, deliver, file, or record such contracts, instruments, releases, and other

  agreements or documents and take such actions as may be necessary or appropriate to

  effectuate and implement the provisions of the Plan without the need for any approvals,

  authorizations, actions, or consents except for those expressly required pursuant hereto. This

  Order shall constitute all approvals and consents required, if any, by the laws, rules and

  regulations of all states and any other governmental authority with respect to the implementation

  or consummation of the Plan and any documents, instruments, agreements, any amendments

  or modifications thereto and any other acts and transactions referred to in or contemplated by

  the Plan, the Plan Documents, the Disclosure Statement, and any documents, instruments, and

  agreements and any amendments or modifications thereto.

          38.      Filing and Recording. This Order is and shall be binding upon and shall govern

  the acts of all entities including, without limitation, all filing agents, filing officers, title agents, title

  companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

  agencies, governmental departments, secretaries of state, federal, state and local officials, and

  all other persons and entities who may be required, by operation of law, the duties of their office,

  or contract, to accept, file, register or otherwise record or release any document or instruments.

  Each and every federal, state and local government agency is hereby directed to accept any

  and all documents and instruments necessary, useful or appropriate to effectuate, implement

  and consummate the transactions contemplated by the Plan and this Order.

          39.      Inconsistency between Documents. In the event of an inconsistency between

  the terms of the Plan and the terms of the Disclosure Statement, the Plan shall control. In the

  event of any inconsistency between the terms of the Plan or the terms of the Disclosure

  Statement and the terms of this Order, this Order shall control.




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          40.     References to Plan Provisions. The failure specifically to include or to refer to

  any particular article, section, or provision of the Plan or any related document in this Order

  shall not diminish or impair the effectiveness of such article, section, or provision, it being the

  intent of the Court that the Plan and any related documents be confirmed in their entirety.

          41.     Applicable Nonbankruptcy Law. Pursuant to sections 1123(a) and 1142(a) of the

  Bankruptcy Code, the provisions of the Plan and this Order shall apply and be enforceable

  notwithstanding any otherwise applicable nonbankruptcy law.

          42.     Notice of Entry of the Confirmation Order. No later than the third Business Day

  after the entry of this Order, the Chapter 11 Trustee shall serve a copy of this Order pursuant to

  Bankruptcy Rules 2002(f)(7), 2002(k) and 3020(c) on all holders of Claims and Interests, the

  U.S. Trustee, the Persons specifically identified in the Temporary Plan Injunction as subject

  thereto, and all other known parties-in-interest.

          43.     Notice of the Effective Date. No later than the third Business Day after the

  occurrence of the Effective Date, the Reorganized Debtor shall file a notice of occurrence of the

  Effective Date with the Clerk of the Court and shall serve a copy on all holders of Claims and

  Interests, the U.S. Trustee, the Persons specifically identified in the Temporary Plan Injunction

  as subject thereto, and all other known parties-in-interest. Such notice shall include notice of (a)

  the Administrative Bar Date, (b) the deadline for filing Rejection Claims set forth in section 11.03

  of the Plan, and (c) the deadline for filing final requests for compensation and reimbursement by

  Estate Professionals. The filing of such notice shall conclusively establish that all conditions

  precedent have been satisfied or waived and shall constitute adequate and sufficient notice to

  all parties entitled thereto of the occurrence of the Effective Date.

          44.     Retention of Jurisdiction. The Court may properly, and upon the Effective Date

  shall, to the full extent set forth in the Plan, retain jurisdiction over all matters arising in, arising

  under, and related to, the Chapter 11 Cases, including the matters set forth in Article XV of the

  Plan and section 1142 of the Bankruptcy Code. Without limitation as to the generality of the

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  preceding sentence, the Court retains exclusive jurisdiction (a) to interpret and enforce this

  Order and the Plan; (b) to enforce the provisions of this Order and the Plan; (c) to resolve any

  disputes arising under or related to this Order or the Plan; and (d) over all transactions

  contemplated in this Order and the Plan. All Persons are hereby forever prohibited and

  enjoined from taking any action (including, without limitation, legal action) that would adversely

  affect or interfere with the ability of any Person to complete any of the transfers of property

  contemplated by this Order and the Plan other than in this Court or in connection with any

  appeals from this Court.

         45.     Headings. Paragraph headings contained in this Order are for convenience of

  reference only and shall not affect the meaning or interpretation of this Order.

         46.     Final Order. This Order is a final order and the period in which an appeal must

  be filed shall commence upon the entry hereof.

         47.     Appeal or Motion for Reconsideration; Reversal. In the event this Order is

  appealed or a motion for reconsideration is filed, the Chapter 11 Trustee and the Reorganized

  Debtor, and their respective representatives, agents and attorneys, are all hereby authorized to

  proceed with the consummation and performance of the Plan unless and until this Order is

  stayed, reversed or modified by a court of competent jurisdiction. If any or all of the provisions

  of this Order are hereafter reversed, modified, or vacated by subsequent order of this Court or

  any other court of competent jurisdiction, such reversal, modification, or vacatur shall not affect

  the validity of the acts or obligations incurred or undertaken under or in connection with the Plan

  prior to the Chapter 11 Trustee’s or Reorganized Debtor’s receipt of written notice of any such

  order. Notwithstanding any such reversal, modification, or vacatur of this Order, any such act or

  obligation incurred or undertaken pursuant to, and in reliance on, this Order prior to the effective

  date of such reversal, modification or vacatur shall be governed in all respects by the provisions

  of this Order and the Plan (including the Plan Documents) and any amendments or

  modifications thereto.

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                                    ### END OF ORDER ###




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  SUBMITTED BY:

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                        EXHIBIT “1”
  [Third Amended Joint Plan for Acis Capital Management, L.P.
      and Acis Capital Management GP, LLC – Dkt. No. 660]
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


   IN RE:                                       §        Case No. 18-30264-SGJ-11
                                                §        Case No. 18-30265-SGJ-11
   ACIS CAPITAL MANAGEMENT, L.P.,               §
   ACIS CAPITAL MANAGEMENT GP, LLC,             §        (Jointly Administered Under Case
                                                §        No. 18-30264-SGJ-11)
                 DEBTORS.                       §
                                                §        Chapter 11

        THIRD AMENDED JOINT PLAN FOR ACIS CAPITAL MANAGEMENT, L.P. AND
                      ACIS CAPITAL MANAGEMENT GP, LLC




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  DATED:        October 25, 2018
                Dallas, Texas
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                                              ARTICLE I.
                                             DEFINITIONS

         A.       Defined Terms. In addition to such other terms as are defined in other sections of
  the Plan, the following terms shall have the meanings set forth below (such meanings to be
  equally applicable to both the singular and plural, masculine and feminine forms of the terms
  defined).

  1.01.   “Acis CLOs” refers collectively to CLO-3, CLO-4, CLO-5, and CLO-6.

  1.02. “Acis GP” means Acis Capital Management, GP, LLC, one of the Debtors in the above-
  referenced Chapter 11 Cases.

  1.03. “Acis LP” means Acis Capital Management, LP, one of the Debtors in the above-
  referenced Chapter 11 Cases.

  1.04. “Administrative Bar Date” means the deadline to file Claims for Allowance as an
  Administrative Expense set forth in section 3.01(c) of the Plan.

  1.05. “Administrative Expense” means any cost or expense of administration of the Chapter 11
  Cases allowed under subsections 503(b) and 507(a)(1) of the Bankruptcy Code, including,
  without limitation, any actual and necessary expenses of preserving the Estate of the Debtors,
  any actual and necessary expenses of operating the business of the Debtors, all compensation
  or reimbursement of expenses to the extent allowed by the Bankruptcy Court under section 330
  or 503 of the Bankruptcy Code, and any fees or charges assessed against the estates of the
  Debtors under section 1930, chapter 123 of title 28 of the United States Code.

  1.06. “Affiliate” has the meaning ascribed to such term in section 101(2) of the Bankruptcy
  Code.

  1.07. “ALF PMA” means that certain Portfolio Management Agreement by and between Acis
  LP and Acis Loan Funding, Ltd. dated December 22, 2016.

  1.08. “Allowed,” when used with respect to a Claim (other than an Administrative Expense),
  means a Claim (a) to the extent it is not Contested; or (b) a Contested Claim, proof of which was
  filed timely with the Bankruptcy Court, and (i) as to which no Objection was filed by the
  Objection Deadline, or (ii) as to which an Objection was filed by the Objection Deadline, to the
  extent, if any, such Claim is ultimately allowed by a Final Order; provided, however, if a Claim is
  to be determined in a forum other than the Bankruptcy Court, such Claim shall not become
  Allowed until determined by Final Order of such other forum and allowed by Final Order of the
  Bankruptcy Court. “Allowed,” when used with respect to an Administrative Expense, shall mean
  an Administrative Expense approved by application to the Bankruptcy Court.

  1.09. “Assets” includes all right, title, and interest in and to all property of every type or nature
  owned or claimed by the Debtors as of the Petition Date, together with all such property of every
  type or nature subsequently acquired by the Debtors through the Effective Date, whether real or
  personal, tangible or intangible, and wherever located, and including, but not limited to, property
  as defined in section 541 of the Bankruptcy Code. Without limiting the foregoing, this shall
  include all



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  1.10. “Available Cash” means any Cash over and above the amount needed for the
  Reorganized Debtor to maintain business operations and pursue the Estate Claims, as
  determined in the sole discretion of the Reorganized Debtor.

  1.11. “Avoidance Action” means a cause of action assertable by the Debtors pursuant to
  Chapter 5 of the Bankruptcy Code, including without limitation, actions brought or which may be
  brought under sections 542, 543, 544, 545, 547, 548, 549, 550, or 553 of the Bankruptcy Code.
  Such causes of action may be asserted to recover, among other things, the transfers listed in
  the Debtors’ respective Schedules, including in response to Question 3 of the statements of
  financial affairs.

  1.12. “Ballot” means the form of ballot provided to holders of Claims or Interests entitled to
  vote pursuant to Bankruptcy Rule 3017(d), by which each such holder may accept or reject the
  Plan.

  1.13. “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as amended and codified
  at Title 11 of the United States Code.

  1.14. “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District
  of Texas, Dallas Division, or such other court having jurisdiction over all or any part of the
  Chapter 11 Cases.

  1.15. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as amended
  from time to time, as applicable to the Chapter 11 Cases, including applicable local rules of the
  Bankruptcy Court.

  1.16.   “Brigade” means Brigade Capital Management, LP.

  1.17. “Business Day” means any day other than Saturday, Sunday, a legal holiday, or a day
  on which national banking institutions in Texas are authorized or obligated by law or executive
  order to close.

  1.18. “Cash” means legal tender of the United States of America, cash equivalents and other
  readily marketable securities or instruments, including, but not limited to, readily marketable
  direct obligations of the United States of America, certificates of deposit issued by banks or
  commercial paper.

  1.19. “Chapter 11 Cases” refers collectively to the Acis LP bankruptcy case, Case No. 18-
  30264-sgj11, and the Acis GP bankruptcy case, Case No. 18-30265-sgj11, which are being
  jointly administered under Case No. 18-30264-sgj11.

  1.20.   “Chapter 11 Trustee” refers to Robin Phelan, the chapter 11 trustee for the Debtors.

  1.21. “Claim” means (a) a right to payment, whether or not such right is reduced to judgment,
  liquidated, unliquidated, fixed, contingent, matured, unmatured (including potential and
  unmatured tort and contract claims), disputed, undisputed, legal, equitable, secured or
  unsecured, or (b) a right to an equitable remedy for breach of performance if such breach gives
  rise to a right of payment, whether or not such right to an equitable remedy is reduced to
  judgment, fixed, contingent, matured, unmatured (including potential and unmatured tort and
  contract claims), disputed, undisputed, secured or unsecured.


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  1.22.   “Claimant” means the holder of a Claim.

  1.23.   “Class” means a class of Claims or Interests as described in the Plan.

  1.24.   “CLO” means collateralized loan obligations.

  1.25.   “CLO-1” means Acis CLO 2013-1 LTD.

  1.26. “CLO-1 Indenture” means that certain Indenture, dated as of March 18, 2013, issued by
  CLO-1, as issuer, Acis CLO 2013-1 LLC, as co-Issuer and US Bank, as Indenture Trustee.

  1.27. “CLO-1 PMA” means that certain Portfolio Management Agreement by and between
  Acis LP and CLO-1, dated March 18, 2013.

  1.28.   “CLO-3” means Acis CLO 2014-3 LTD.

  1.29. “CLO-3 Indenture” means that certain Indenture, dated as of February 25, 2014, issued
  by CLO-3, as issuer, Acis CLO 2014-3 LLC, as co-Issuer and US Bank, as Indenture Trustee

  1.30. “CLO-3 PMA” means that certain Portfolio Management Agreement by and between Acis
  LP and CLO-3, dated February 25, 2014.

  1.31.   “CLO-4” means Acis CLO 2014-4 LTD.

  1.32. “CLO-4 Indenture” means that certain Indenture, dated as of June 5, 2014, issued by
  CLO-4, as issuer, Acis CLO 2014-4 LLC, as co-Issuer and US Bank, as Indenture Trustee.

  1.33. “CLO-4 PMA” means that certain Portfolio Management Agreement by and between
  Acis LP and CLO-4, dated June 5, 2014.

  1.34.   “CLO-5” means Acis CLO 2014-5 LTD.

  1.35. “CLO-5 Indenture” means that certain Indenture, dated as of November 18, 2014,
  issued by CLO-5, as issuer, Acis CLO 2014-5 LLC, as co-Issuer and US Bank, as Indenture
  Trustee.

  1.36. “CLO-5 PMA” means that certain Portfolio Management Agreement by and between
  Acis LP and CLO-5, dated November 18, 2014.

  1.37.   “CLO-6” means Acis CLO 2015-6 LTD.

  1.38. “CLO-6 Indenture” means that certain Indenture, dated as of April 16, 2015, issued by
  CLO-6, as issuer, Acis CLO 2015-6 LLC, as co-Issuer and US Bank, as Indenture Trustee.

  1.39. “CLO-6 PMA” means that certain Portfolio Management Agreement by and between
  Acis LP and CLO-6, dated April 16, 2015.

  1.40.   “CLO Holdco” means CLO Holdco, Ltd.

  1.41. “Collateral” means any Asset subject to a valid and enforceable Lien to secure payment
  of a Claim.

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  1.42.   “Confirmation Date” means the date of entry of the Confirmation Order.

  1.43. “Confirmation Hearing” means the hearing conducted by the Bankruptcy Court pursuant
  to section 1128 of the Bankruptcy Code and Bankruptcy Rule 3020(b) to consider confirmation
  of the Plan, as such hearing may be continued from time to time.

  1.44. “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan in
  accordance with the provisions of Chapter 11 of the Bankruptcy Code.

  1.45. “Contested,” when used with respect to a Claim, means a Claim against the Debtors that
  is listed in the Debtors’ Schedules as disputed, contingent, or unliquidated; that is listed in the
  Debtors’ Schedules as undisputed, liquidated, and not contingent and as to which a proof of
  Claim has been filed with the Bankruptcy Court, to the extent the proof of Claim amount
  exceeds the scheduled amount; that is not listed in the Debtors’ Schedules, but as to which a
  proof of Claim has been filed with the Bankruptcy Court; or as to which an objection has been or
  may be timely filed and has not been denied by Final Order. To the extent an objection relates
  to the allowance of only a part of a Claim, such Claim shall be a Contested Claim only to the
  extent of the objection.

  1.46.   “Creditor” means a “creditor,” as defined in section 101(10) of the Bankruptcy Code.

  1.47. “Cure Claim” means the payment or other performance required to cure any existing
  default under an Executory Contract or Unexpired Lease.

  1.48. “Debtors” means, collectively, Acis GP and Acis LP, the debtors in the above-captioned
  Chapter 11 Cases.

  1.49. “Disallowed,” when used with respect to all or any part of a Claim or Interest, means that
  portion of a Claim or Interest to which an objection or motion to disallow has been sustained by
  a Final Order.

  1.50. “Disclosure Statement” means the Disclosure Statement filed with respect to the Plan,
  as it may be amended, modified, or supplemented from time to time.

  1.51. “Distribution” means any payment or other disbursement of property pursuant to the
  Plan.

  1.52. “Effective Date” means the first Business Day which is fourteen (14) days after the
  Confirmation Date if the Confirmation Order is not stayed or, if the Confirmation Order is stayed,
  the first Business Day following the lifting, dissolution, or removal of such stay which is at least
  fourteen (14) Business Days after the Confirmation Date, and upon which all conditions to the
  effectiveness of the Plan set forth in Article XIII below are satisfied.

  1.53. “Estate” shall collectively refer to the bankruptcy estates of the Debtors in the Chapter 11
  Cases.

  1.54. “Estate Accounts Receivable” shall include all accounts receivable of the Estate,
  including from all sums payable to the Debtors on account of goods or services provided by the
  Debtors.



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  1.55. “Estate Claims” shall include all claims and causes of action held by the Debtors’ Estate,
  including, without limitation, the Estate Claims listed on the attached Exhibit A and all
  Avoidance Actions.

  1.56. ““Estate Defenses” means all defenses, affirmative defenses, counterclaims, or offsets
  by the Debtors’ Estate against any Person, including but not limited to any Creditor.

  1.57. “Estate Insurance” means any insurance policy or interest in an insurance policy in
  which the Estate has an interest or rights.

  1.58. “Estate Professionals” means those Persons employed pursuant to an order of the
  Bankruptcy Court in accordance with sections 327, 328, and 1103 of the Bankruptcy Code or
  who are entitled to compensation or reimbursement pursuant to sections 503(b)(3)(D) or 506(b)
  of the Bankruptcy Code.

  1.59. “Executory Contract” means any executory contract which is subject to section 365 of
  the Bankruptcy Code and which is not an Unexpired Lease.

  1.60. “Final Order” means an order or judgment of the Bankruptcy Court or any other court or
  adjudicative body, as to which the time to appeal or seek rehearing or petition for certiorari shall
  have expired or which order or judgment shall no longer be subject to appeal, rehearing, or
  certiorari proceeding and with respect to which no appeal, motion for rehearing, or certiorari
  proceeding or stay shall then be pending.

  1.61. “General Unsecured Claim” means any Claim against the Debtors that is not an
  Administrative Expense, Priority Tax Claim, Priority Non-Tax Claim, Secured Tax Claim,
  Secured Claim, or Insider Claim, but includes any Rejection Claims pursuant to section 502(g)
  of the Bankruptcy Code.

  1.62. “Governmental Unit” means a “governmental unit” as such term is defined in section
  101(27) of the Bankruptcy Code.

  1.63.   “HCLOF” means Highland CLO Funding, Ltd.

  1.64.   “Highland” means Highland Capital Management, L.P.

  1.65.   “Highland Adversary” means Adversary Proceeding No. 18-03078-sgj.

  1.66. “Highland Claim” means all Claims asserted by Highland or any Affiliates of Highland
  against the Debtors, including any Claim resulting from the termination of the Sub-Advisory
  Agreement and Shared Services Agreement.

  1.67.   “Highland CLOM” means Highland CLO Management, Ltd.

  1.68.   “Highland HCF” means Highland HCF Advisors, Ltd.

  1.69. “Impaired” means, when used with reference to a Claim or Interest, a Claim or Interest
  that is impaired within the meaning of section 1124 of the Bankruptcy Code.

  1.70. “Indentures” refers collectively to the CLO-1 Indenture, the CLO-3 Indenture, the CLO-4
  Indenture, the CLO-5 Indenture, and the CLO-6 Indenture.

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  1.71. “Indenture Trustee” refers to US Bank solely in its capacity as Indenture Trustee under
  the CLO-1 Indenture, the CLO-3 Indenture, the CLO-4 Indenture, the CLO-5 Indenture and the
  CLO-6 Indenture, as applicable

  1.72. “Initial Distribution Date,” when used with respect to any Contested Claim or Rejection
  Claim, shall mean the later of (i) the first Business Day at least thirty (30) days after the date on
  which any such Contested Claim or Rejection Claim becomes an Allowed Claim, or (ii) if the
  payment terms of Article IV of this Plan applicable to each such Claim specify a different date,
  then the date as calculated pursuant to the terms of Article IV of this Plan applicable to each
  such Claim. The Initial Distribution Date shall be separately determined with respect to each
  Contested Claim or Rejection Claim based upon the date each such Claim becomes an Allowed
  Claim.

  1.73.   “Insider" means a Person described in section 101(31) of the Bankruptcy Code.

  1.74. “Insider Claim” means any Claim asserted by Insiders of the Debtors, including but not
  limited to any Claim asserted by Highland or any Affiliate thereof, unless otherwise indicated in
  the Plan.

  1.75.   “Interests” means any equity or stock ownership interest in the Debtors.

  1.76. “Issuers and Co-Issuers” means CLO-1, CLO-3, CLO-4, CLO-5, CLO-6, Acis CLO 2013-
  1, Acis CLO-2014-3, LLC, Acis CLO 2014-4, LLC, Acis CLO 2014-5, LLC, and Acis 2015-6,
  LLC.

  1.77. “Lien” means any mortgage, lien, charge, security interest, encumbrance, or other
  security device of any kind affecting any asset or property of the Debtors contemplated by
  section 101(37) of the Bankruptcy Code.

  1.78. “Management Fees” shall, when used in relation to any of the Acis CLOs, have the
  meaning set forth in the applicable Indenture.

  1.79.   “Neutra” means Neutra, Ltd.

  1.80. “Objection” means (a) an objection to the allowance of a Claim interposed by any party
  entitled to do so within the applicable period of limitation fixed by the Plan, the Bankruptcy
  Code, the Bankruptcy Rules, or the Bankruptcy Court, and (b) as to any Taxing Authority, a
  proceeding commenced under section 505 of the Bankruptcy Code to determine the legality or
  amount of any tax.

  1.81. “Objection Deadline” shall mean the later of (a) ninety (90) days following the Effective
  Date, unless otherwise extended by order of the Bankruptcy Court, or (b) as to any Rejection
  Claim filed after the Effective Date, ninety (90) days after the date on which the proof of Claim
  reflecting the Rejection Claim is filed.

  1.82. “Optional Redemption” shall, when used in relation to any of the Acis CLOs, have the
  meaning set forth in the applicable Indenture.

  1.83. “Person” means any individual, corporation, general partnership, limited partnership,
  association, joint stock company, joint venture, estate, trust, unincorporated organization,
  government, or any political subdivision thereof or other entity.

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  1.84.   “Petition Date” means January 30, 2018.

  1.85. “Plan” means this Third Amended Joint Chapter 11 plan, either in its present form or as it
  may be altered, amended, or modified from time to time.

  1.86. “Plan Documents” means the documents that aid in effectuating the Plan as specifically
  identified as such herein and filed with the Bankruptcy Court.

  1.87.   “Plan Rate” means a rate of interest of five percent (5%) per annum.

  1.88. “PMAs” refers collectively to the CLO-1 PMA, CLO-3 PMA, CLO-4 PMA, CLO-5 PMA,
  and CLO-6 PMA.

  1.89. “Priority Claim” means a Claim (other than a Claim for an Administrative Expense) to the
  extent that it is entitled to priority in payment under section 507(a) of the Bankruptcy Code.

  1.90.   “Priority Non-Tax Claim” means a Priority Claim other than a Priority Tax Claim.

  1.91. “Priority Tax Claim” means a Claim of a Governmental Unit of the kind specified in
  subsection 507(a)(8) of the Bankruptcy Code.

  1.92. “Professional” means those persons retained pursuant to an order of the Bankruptcy
  Court in accordance with sections 327 and 1103 of the Bankruptcy Code.

  1.93. “Pro Rata Distribution” means an optional Distribution made in accordance with section
  4.03(c), 4.04(e), or 4.04(i) of the Plan. Each Creditor entitled to receive a portion of a Pro Rata
  Distribution shall receive such Creditor’s Pro Rata Share of such Distribution.

  1.94. “Pro Rata Share’ means, as to the holder of a specific Claim, the ratio that the amount of
  such holder’s Claim bears to the aggregate amount of all Claims included in the particular Class
  or category in which such holder’s Claim is included.

  1.95. “Refinancing Proceeds” shall, when used in relation to any of the Acis CLOs, have the
  meaning set forth in the applicable Indenture.

  1.96. “Rejection Claim” means a Claim arising under section 502(g) of the Bankruptcy Code
  as a consequence of the rejection of any Executory Contract or Unexpired Lease.

  1.97. “Reorganized Debtor” refers collectively to the Debtors, as reorganized, acting from and
  after the Effective Date if the Plan is confirmed based on the terms and provisions herein.

  1.98. “Reserve” or “Reserves” means any reserves set aside by the Reorganized Debtor
  pursuant to this Plan, including reserves set aside to fund any Distributions, make payments
  pursuant to the Plan, or pursue the Estate Claims.

  1.99. “Schedules” means the schedules of assets and liabilities and the statements of financial
  affairs filed by the Debtors as required by section 521 of the Bankruptcy Code and Bankruptcy
  Rule 1007, as such schedules or statements have been or may be subsequently amended.

  1.100. “Secured Claim” means (a) a Claim secured by a lien on any Assets, which lien is valid,
  perfected, and enforceable under applicable law and is not subject to avoidance under the
  Bankruptcy Code or applicable nonbankruptcy law, and which is duly Allowed, but only to the
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  extent of the value of the holder’s interest in the Collateral that secures payment of the Claim;
  (b) a Claim against the Debtors that is subject to a valid right of recoupment or setoff under
  section 553 of the Bankruptcy Code, but only to the extent of the Allowed amount subject to
  recoupment or setoff as provided in section 506(a) of the Bankruptcy Code; and (c) a Claim
  deemed or treated under the Plan as a Secured Claim; provided, that, to the extent that the
  value of such interest is less than the amount of the Claim which has the benefit of such
  security, the unsecured portion of such Claim shall be treated as a General Unsecured Claim
  unless, in any such case the Class of which the Claim is a part makes a valid and timely
  election in accordance with section 1111(b) of the Bankruptcy Code to have such Claim treated
  as a Secured Claim to the extent Allowed.

  1.101. “Secured Tax Claim” means any ad valorem tax Claim that arises or is deemed to have
  arisen on or before the Petition Date, irrespective of the date on which such Claim is assessed
  or due.

  1.102. “Shared Services Agreement” means that certain Fourth Amended and Restated Shared
  Services Agreement by and between Acis LP and Highland dated March 17, 2017.

  1.103. “Sub-Advisory Agreement” means that certain Third Amended and Restated Sub-
  Advisory Agreement by and between Acis LP and Highland dated March 17, 2017

  1.104. “Subordinated Notes” means the subordinated notes in the Acis CLOs held by HCLOF,
  and expressly does not include any subordinated notes in the Acis CLOs held by any other
  party.

  1.105. “Substantial Consummation” means the day on which a Creditor first receives a
  Distribution of any kind under the terms and provisions of the Plan.

  1.106. “Taxing Authority” shall include the State of Texas or any subdivision thereof, including
  without limitation any political subdivision of the State of Texas assessing ad valorem taxes
  against any of the Assets.

  1.107. “Terry” means Joshua N. Terry.

  1.108. “Terry Partially Secured Claim” means any Claim asserted against the Debtors by Terry,
  including as asserted in Proof of Claim No. 1 in both Chapter 11 Cases and Proof of Claim No.
  26 against Acis LP.

  1.109. “Unclaimed Property” means any cash, Distribution, or any other property of the Debtors
  unclaimed for a period of one (1) year after the applicable Initial Distribution Date.

  1.110. “Unexpired Lease” means any unexpired lease or agreement which is subject to section
  365 of the Bankruptcy Code and which is not an Executory Contract.

  1.111. “US Bank” means U.S. Bank National Association.

  1.112. “Other Acis-Managed Funds” refers collectively to CLO-1, Acis CLO 2013-2, Ltd.,
  Hewitt’s Island CLO 1-R, Ltd, and BayVK R2 Lux S.A., SICAV-FIS.

         B.      Interpretation. Unless otherwise specified, all section, article and exhibit
  references in the Plan are to the respective section in, article of, or exhibit to, the Plan, as the

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 same may be amended, waived, or modified from time to time. The headings in the Plan are for
 convenience and reference only and shall not limit or otherwise affect the provisions hereof. The
 rules of construction set forth in section 102 of the Bankruptcy Code, other than section 102(5)
 of the Bankruptcy Code, apply to construction of the Plan. For the purposes of construction of
 the Plan, “or” is disjunctive.

          C.      Other Terms. The words “herein,” “hereof,” “hereto,” “hereunder,” and others of
 similar import refer to the Plan as a whole and not to any particular section, subsection, or
 clause contained in the Plan. References herein to “after notice and hearing” or other similar
 language shall have the same meaning as in section 102(1) of the Bankruptcy Code. Otherwise,
 a term used herein that is not specifically defined herein shall have the meaning ascribed to that
 term, if any, in the Bankruptcy Code.

         D.     Exhibits and Plan Documents. All Exhibits to the Plan and all Plan Documents
 are incorporated into the Plan by this reference and are a part of the Plan as if set forth in full
 herein. Any Plan Documents may be filed with the Clerk of the Bankruptcy Court prior to the
 commencement of the Confirmation Hearing. Holders of Claims and Interests may obtain a copy
 of the Plan Documents, once filed, by a written request sent to the following address: Forshey &
 Prostok, LLP, 777 Main Street, Suite 1290, Fort Worth, Texas 76102, Attention: Linda
 Breedlove; Fax number (817) 877-4151; email: lbreedlove@forsheyprostok.com.

                                       ARTICLE II.
                         CLASSIFICATION OF CLAIMS AND INTERESTS

 2.01. The following is a designation of the Classes of Claims and Interests under the Plan.
 Administrative Expenses, Priority Claims of the kinds specified in sections 507(a)(2) and
 507(a)(3) of the Bankruptcy Code and Priority Tax Claims have not been classified, are
 excluded from the following Classes in accordance with section 1123(a)(1) of the Bankruptcy
 Code, and their treatment is set forth in Article III of the Plan. A Claim shall be deemed
 classified in a particular Class only to the extent that the Claim qualifies within the description of
 that Class. A Claim is included in a particular Class only to the extent that the Claim is an
 Allowed Claim in that Class.

                            Class 1 – Secured Tax Claims
                            Class 2 – Terry Partially Secured Claim
                            Class 3 – General Unsecured Claims
                            Class 4 – Insider Claims
                            Class 5 – Interests

 2.02. Impaired Classes of Claims and Interests. Class 1 is unimpaired. Classes 2 through 5
 are Impaired.

 2.03. Impairment or Classification Controversies. If a controversy arises as to the classification
 of any Claim or Interest, or as to whether any Class of Claims or Interests is Impaired under the
 Plan, the Bankruptcy Court shall determine such controversy as a part of the confirmation
 process.

                                       ARTICLE III.
                            TREATMENT OF UNCLASSIFIED CLAIMS

 3.01.   Administrative Expenses

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          (a)     The Reorganized Debtor shall pay, in accordance with the ordinary business
 terms applicable to each such expense or cost, the reasonable and ordinary expenses incurred
 in operating the Debtors’ businesses or administering the Estate before the Effective Date
 (“Ordinary Course Claims”). The remaining provisions of this section 3.01 shall not apply to the
 Ordinary Course Claims, except that if there is a dispute relating to any such Ordinary Course
 Claim, the Reorganized Debtor may move the Bankruptcy Court to apply the provisions of
 Article III below relating to Contested Claims and require the holder of the Contested Ordinary
 Course Claim to assert such Claim through the Chapter 11 Cases.

         (b)    Each holder of an Allowed Administrative Expense (other than Ordinary Course
 Claims and Administrative Expense Claims by Estate Professionals), shall receive (i) the
 amount of such holder's Allowed Administrative Expense in one Cash payment on the later of
 the Effective Date or the tenth (10th) Business Day after such Administrative Expense becomes
 an Allowed Administrative Expense, or (ii) such other treatment as may be agreed to in writing
 by such Administrative Expense Creditor and the Reorganized Debtor, or as otherwise ordered
 by the Bankruptcy Court.

        (c)       Unless the Bankruptcy Court orders to the contrary or the Reorganized Debtor
 agrees to the contrary in writing, the holder of a Claim for an Administrative Expense, other than
 such a Claim by an Estate Professional, an Ordinary Course Claim, or an Administrative
 Expense which is already Allowed, shall file with the Bankruptcy Court and serve upon the
 Reorganized Debtor and its counsel a written notice of such Claim for an Administrative
 Expense within thirty (30) days after the Effective Date. This deadline is the “Administrative Bar
 Date.” Such notice shall include at a minimum: (i) the name, address, telephone number and
 fax number (if applicable) or email address of the holder of such Claim, (ii) the amount of such
 Claim, and (iii) the basis of such Claim. Failure to timely and properly file and serve such
 notice by the Administrative Bar Date shall result in such Claim for an Administrative
 Expense being forever barred and discharged and the holder thereof shall be barred from
 receiving any Distribution from the Reorganized Debtor on account of such Claim for an
 Administrative Expense.

        (d)       A Claim for an Administrative Expense, for which a proper notice was filed and
 served under subsection 3.01(c) above, shall become an Allowed Administrative Expense if no
 Objection is filed within thirty (30) days of the filing and service of such notice. If a timely
 Objection is filed, the Claim shall become an Allowed Administrative Expense only to the extent
 allowed by a Final Order.

          (e)    The procedures contained in subsections 3.01(a), (c) and (d) above shall not
 apply to Administrative Expense Claims asserted by Estate Professionals, who shall each file
 and submit an appropriate final fee application to the Bankruptcy Court no later than sixty (60)
 days after the Effective Date. A Claim for an Administrative Expense by an Estate Professional
 in respect of which a final fee application has been properly filed and served shall become an
 Allowed Administrative Expense only to the extent Allowed by order of the Bankruptcy Court
 and, if so Allowed, shall be paid in accordance with subsection 3.01(b) above. Professional
 fees and expenses to any Estate Professional incurred on or after the Effective Date may be
 paid by the Reorganized Debtor without necessity of application to or order by the Bankruptcy
 Court.

        (f)    If the Reorganized Debtor asserts any Estate Claims as counterclaims or
 defenses to a Claim for Administrative Expense, the Administrative Expense Claim shall be
 determined through an adversary proceeding before the Bankruptcy Court. The Bankruptcy

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 Court shall have exclusive jurisdiction to adjudicate and Allow all Claims for any Administrative
 Expense.

 3.02. Priority Non-Tax Claims. Each holder of an Allowed Priority Non-Tax Claim shall receive
 (i) the amount of such holder's Allowed Priority Non-Tax Payment in one Cash payment on the
 later of the Effective Date or the tenth (10th) Business Day after such Priority Non-Tax Claim
 becomes an Allowed Priority Non-Tax Claim and a determination has been made that such
 Allowed Priority Non-Tax Claim is not subject to equitable subordination under section 510(c) of
 the Bankruptcy Code, or (ii) such other treatment as may be agreed to in writing by such
 Administrative Expense Creditor and the Reorganized Debtor, or as otherwise ordered by the
 Bankruptcy Court.

 3.03. Priority Tax Claims. Each holder of an Allowed Priority Tax Claim shall receive (a) one
 Cash payment in an amount equal to the principal amount of such Allowed Priority Tax Claim,
 plus interest at the rate and in the manner prescribed by applicable state law from the later of
 the Petition Date or the first day after the last day on which such Priority Tax Claim may be paid
 without penalty, no later than sixty (60) days after each such Claim becomes an Allowed Claim,
 or (b) such other treatment as may be agreed to in writing by the holder of the Priority Tax Claim
 and the Reorganized Debtor.

 3.04. U.S. Trustee’s Fees. The Reorganized Debtor shall pay the U.S. Trustee’s quarterly fees
 incurred pursuant to 28 U.S.C. § 1930(a)(6) which are due as of the Confirmation Date in full on
 the Effective Date or as soon thereafter as is practicable. After the Confirmation Date, the
 Reorganized Debtor shall continue to pay quarterly fees as they accrue until a final decree is
 entered and the Chapter 11 Cases are closed. The Reorganized Debtor shall file with the
 Bankruptcy Court and serve on the U.S. Trustee quarterly financial reports for each quarter, or
 portion thereof, that the Chapter 11 Cases remain open.

                                   ARTICLE IV.
                   TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

 4.01. Class 1 – Secured Tax Claims. Each holder of an Allowed Secured Tax Claim shall
 receive (a) one Cash payment in an amount equal to the principal amount of such Allowed
 Secured Tax Claim, plus interest at the rate and in the manner prescribed by applicable state
 law from the later of the Petition Date or the first day after the last day on which such Secured
 Tax Claim may be paid without penalty, on the Initial Distribution Date, or (b) such other
 treatment as may be agreed to in writing by the holder of the Secured Tax Claim and the
 Reorganized Debtor. The Liens securing such Secured Tax Claims shall remain unimpaired
 and unaffected until each such Class 1 Claim is paid in full. All Distributions on account of
 Allowed Class 1 Claims shall be made by the Reorganized Debtor. Class 1 is unimpaired.
 Holders of Class 1 Claims are conclusively presumed to have accepted the Plan and,
 accordingly, are not entitled to vote on the Plan.

 4.02. Class 2 – Terry Partially Secured Claim. In exchange for a one million dollar
 ($1,000,000.00) reduction in the amount of the Terry Partially Secured Claim, Terry shall
 receive one hundred percent (100%) of the equity interests in the Reorganized Debtor as of the
 Effective Date. The remaining balance of any Allowed Terry Partially Secured Claim shall be
 treated and paid as a Class 3 General Unsecured Claim. Class 2 is Impaired. The Holder of
 the Class 2 Terry Partially Secured Claim is entitled to vote on the Plan.

 4.03.   Class 3 – General Unsecured Claims.

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         (a)     Each holder of an Allowed General Unsecured Claim shall receive a promissory
 note issued by the Reorganized Debtor (each an “Unsecured Cash Flow Note”) on the later of
 (a) that date that is as soon as practicable after the Effective Date, or (b) that date that is as
 soon as practicable after such holder’s General Unsecured Claim becomes an Allowed Class 3
 Claim. Each Unsecured Cash Flow Note shall be dated as of the Effective Date, bear interest at
 the Plan Rate and shall mature on that date that is the three (3) years after the Effective Date.

          (b)     To the extent of Available Cash, the Reorganized Debtor shall make substantially
 equal quarterly Distributions of principal and accrued interest to each holder of an Unsecured
 Cash Flow Note, with the first such quarterly Distribution being due and payable on the 180th
 day after the Effective Date. Thereafter, like Distributions shall be made each quarter by the
 Reorganized Debtor until the Unsecured Cash Flow Note is paid in full. Notwithstanding the
 foregoing, in the event that an Unsecured Cash Flow Note is first issued more than one hundred
 eighty (180) days after the Effective Date, the first Distribution made on account of such
 Unsecured Cash Flow Note shall be made upon the date that the next Distribution would
 otherwise be due, but such first Distribution shall also include amounts that would have been
 distributed to the holder of such Unsecured Cash Flow Note had such Unsecured Cash Flow
 Note been issued prior to ninety (90) days after the Effective Date, such that the first Distribution
 shall bring all payments current on account of such Unsecured Cash Flow Note. If on any date
 on which a quarterly Distribution is due to the holder of an Unsecured Cash Flow Note the
 remaining principal and accrued interest owing on account of such Unsecured Cash Flow Note
 is less than the regular quarterly Distribution amount, the Reorganized Debtor shall make a
 Distribution to the holder of such Unsecured Cash Flow Note in an amount sufficient to fully
 satisfy the remaining principal and accrued interest owed, but no more. Nothing contained
 herein shall preclude the Reorganized Debtor from prepaying any Unsecured Cash Flow Note.

         (c)    If the Reorganized Debtor obtains additional Cash, through litigation recoveries
 or otherwise, and the Reorganized Debtor determines, in its sole discretion, that the
 Reorganized Debtor holds Available Cash sufficient to allow one or more Pro Rata Distributions
 to be made to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims, the
 Reorganized Debtor may, but shall not be required to, make one or more Pro Rata Distributions
 to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims. The amount of the Pro
 Rata Distribution made to each such holder shall be determined as if Class 3 and Subclass 4A
 constituted a single Class. Any such additional Distributions shall be applied to reduce the
 outstanding balance of each holder’s Unsecured Cash Flow Note.

         (d)    Class 3 is Impaired. Holders of Class 3 Claims are entitled to vote on the Plan.

 4.04.   Class 4 – Insider Claims. Holders of Class 4 Insider Claims shall be treated as follows:

         (a)     Class 4 Claims shall be divided into two (2) subclasses. Subclass 4A shall
 consist of all Allowed Class 4 claims which are not subject to equitable subordination. Subclass
 4B shall consist of all Class 4 claims which are determined by the Bankruptcy Court to be
 subject to equitable subordination. If only a part of a Class 4 Claim is subject to equitable
 subordination, then the portion of such claim subject to equitable subordination shall be included
 in Subclass 4B and the remainder not subject to equitable subordination shall be included in
 Subclass 4A. Subclass 4A and Subclass 4B will vote separately on the Plan, although Subclass
 4B is currently an empty class.




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         (b)     All Class 4 Claims (regardless of which subclass) shall be and remain subject to
 all Estate Defenses and all Estate Claims, including any rights of offset, recoupment, and/or to
 an affirmative recovery against the Holder of any Class 4 Claim.

         (c)     Each holder of an Allowed Subclass 4A Claim shall receive an Unsecured Cash
 Flow Note on the later of (a) that date that is as soon as practicable after the Effective Date, or
 (b) that date that is as soon as practicable after such holder’s Subclass 4A Claim becomes an
 Allowed Subclass 4A Claim. Each Unsecured Cash Flow Note shall be dated as of the Effective
 Date, bear interest at the Plan Rate and shall mature on that date that is the three (3) years
 after the Effective Date.

          (d)     To the extent of Available Cash, the Reorganized Debtor shall make substantially
 equal quarterly Distributions of principal and accrued interest to each holder of an Unsecured
 Cash Flow Note, with the first such quarterly Distribution being due and payable on the 180th
 day after the Effective Date. Thereafter, like Distributions shall be made each quarter by the
 Reorganized Debtor until the Unsecured Cash Flow Note is paid in full. Notwithstanding the
 foregoing, in the event that an Unsecured Cash Flow Note is first issued more than one hundred
 eighty (180) days after the Effective Date, the first Distribution made on account of such
 Unsecured Cash Flow Note shall be made upon the date that the next Distribution would
 otherwise be due, but such first Distribution shall also include amounts that would have been
 distributed to the holder of such Unsecured Cash Flow Note had such Unsecured Cash Flow
 Note been issued prior to ninety (90) days after the Effective Date, such that the first Distribution
 shall bring all payments current on account of such Unsecured Cash Flow Note. If on any date
 on which a quarterly Distribution is due to the holder of an Unsecured Cash Flow Note the
 remaining principal and accrued interest owing on account of such Unsecured Cash Flow Note
 is less than the regular quarterly Distribution amount, the Reorganized Debtor shall make a
 Distribution to the holder of such Unsecured Cash Flow Note in an amount sufficient to fully
 satisfy the remaining principal and accrued interest owed, but no more. Nothing contained
 herein shall preclude the Reorganized Debtor from prepaying any Unsecured Cash Flow Note.

         (e)    If the Reorganized Debtor obtains additional Cash, through litigation recoveries
 or otherwise, and the Reorganized Debtor determines, in its sole discretion, that the
 Reorganized Debtor holds Available Cash sufficient to allow one or more Pro Rata Distributions
 to be made to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims, the
 Reorganized Debtor may, but shall not be required to, make one or more Pro Rata Distributions
 to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims. The amount of the Pro
 Rata Distribution made to each such holder shall be determined as if Class 3 and Subclass 4A
 constituted a single Class. Any such additional Distributions shall be applied to reduce the
 outstanding balance of each holder’s Unsecured Cash Flow Note.

        (f)    Unless otherwise provided by Order of the Bankruptcy Court, holders of Allowed
 Subclass 4B claims shall not be entitled to any Distribution from the Reorganized Debtor until all
 Allowed Claims included in Classes 1 through 3 and Subclass 4A, including all Unsecured Cash
 Flow Notes, have been paid in full.

          (g)     Holders of Allowed Subclass 4B Claims shall receive a subordinated promissory
 note issued by the Reorganized Debtor (“Subordinated Unsecured Cash Flow Note”) on the
 later of (a) that date that is as soon as practicable after the Effective Date, or (b) that date that is
 as soon as practicable after such holder’s Subclass 4A Claim becomes an Allowed Subclass 4A
 Claim. Each Subordinated Unsecured Cash Flow Note shall be dated as of the Effective Date,
 bear interest at the Plan Rate and shall mature on the earlier to occur of (i) the date that is two

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 (2) years after the date all Unsecured Cash Flow Notes have been paid in full, or (ii) five (5)
 years after the Effective Date.

         (h)    To the extent of Available Cash, the Reorganized Debtor shall make substantially
 equal quarterly Distributions of principal and accrued interest to each holder of a Subordinated
 Unsecured Cash Flow Note, with the first such quarterly Distribution being due and payable on
 the 90th day after the payment in full of the Unsecured Cash Flow Notes. Thereafter, like
 Distributions shall be made each quarter by the Reorganized Debtor until the Subordinated
 Unsecured Cash Flow Note is paid in full. Notwithstanding the foregoing, in the event that a
 Subordinated Unsecured Cash Flow Note is first issued after payments have been made on one
 or more other Subordinated Unsecured Cash Flow Notes, the first Distribution made on account
 of such Subordinated Unsecured Cash Flow Note shall be made upon the date that the next
 Distribution would otherwise be due, but such first Distribution shall also include amounts that
 would have been distributed to the holder of such Subordinated Unsecured Cash Flow Note had
 such Subordinated Unsecured Cash Flow Note been issued at the time the first payment on any
 Subordinated Unsecured Cash Flow Note was made, such that the first Distribution shall bring
 all payments current on account of such Subordinated Unsecured Cash Flow Note. If on any
 date on which a quarterly Distribution is due to the holder of a Subordinated Unsecured Cash
 Flow Note the remaining principal and accrued interest owing on account of such Subordinated
 Unsecured Cash Flow Note is less than the regular quarterly Distribution amount, the
 Reorganized Debtor shall make a Distribution to the holder of such Subordinated Unsecured
 Cash Flow Note in an amount sufficient to fully satisfy the remaining principal and accrued
 interest owed, but no more. Nothing contained herein shall preclude the Reorganized Debtor
 from prepaying any Subordinated Unsecured Cash Flow Note.

         (i)     Subject to section 4.04(f) above, if the Reorganized Debtor obtains additional
 Cash, through litigation recoveries or otherwise, and the Reorganized Debtor determines, in its
 sole discretion, that the Reorganized Debtor holds Available Cash sufficient to allow one or
 more Pro Rata Distributions to be made to holders of Allowed Subclass 4B Claims, the
 Reorganized Debtor may, but shall not be required to, make one or more Pro Rata Distributions
 to holders of Allowed Subclass 4B Claims. Any such additional Distributions shall be applied to
 reduce the outstanding balance of each holder’s Subordinated Unsecured Cash Flow Note.

       (j)     The Reorganized Debtor may establish appropriate Reserves as to any
 Contested Claim included in Class 4.

        (k)     Class 4 is Impaired. Holders of Class 4 Claims are entitled to vote on the Plan.

 4.05. Class 5 – Interests. All Interests in the Debtors shall be extinguished and shall cease to
 exist as of the Effective Date. The holders of such Interests shall not receive or retain any
 property on account of such Interests under the Plan. Class 5 is Impaired. Holders of Class 5
 Interests are conclusively presumed to have rejected the Plan and, accordingly, are not entitled
 to vote on the Plan.

                                     ARTICLE V.
                         ACCEPTANCE OR REJECTION OF THE PLAN

 5.01. Classes Entitled to Vote. Creditors in Classes 2 through 4 are entitled to vote and shall
 vote separately to accept or reject the Plan. Any unimpaired Class shall not be entitled to vote
 to accept or reject the Plan. Any unimpaired Class is deemed to have accepted the Plan under
 section 1126(f) of the Bankruptcy Code.

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 5.02. Class Acceptance Requirement. A Class of Claims shall have accepted the Plan if it is
 accepted by at least two-thirds (2/3) in amount and more than one-half (1/2) in number of the
 Allowed Claims in such Class that have voted on the Plan.

 5.03. Cramdown. This section shall constitute the request by the Plan proponent, pursuant to
 section 1129(b) of the Bankruptcy Code, that the Bankruptcy Court confirm the Plan
 notwithstanding the fact that the requirements of section 1129(a)(8) of the Bankruptcy Code
 have not been met.

                                     ARTICLE VI.
                        MEANS FOR IMPLEMENTATION OF THE PLAN

 6.01. Vesting of Assets. As of the Effective Date, pursuant to sections 1141(b) and (c) of the
 Bankruptcy Code, all Assets, including the PMAs, all Cash, Estate Accounts Receivable, Estate
 Insurance, Estate Claims and Estate Defenses, shall be transferred from the Estate to, and
 vested in, the Reorganized Debtor, free and clear of all rights, title, interests, claims, liens,
 encumbrances and charges, except as expressly set forth in the Plan. On and after the
 Effective Date, the Reorganized Debtor may operate its business and may use, acquire or
 dispose of property without supervision or approval by the Bankruptcy Court and free of any
 restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly
 imposed by the Plan or the Confirmation Order. Without limiting the foregoing, the Reorganized
 Debtor may pay the charges that it incurs on or after the Effective Date for all fees,
 disbursements, expenses or related support services of Professionals (including fees relating to
 the preparation of professional fee applications) without application to, or approval of, the
 Bankruptcy Court.

 6.02. Continued Existence of the Debtors. The Debtors shall continue to exist after the
 Effective Date, with all the powers available to such legal entities, in accordance with applicable
 law and pursuant to their constituent documents. On or after the Effective Date, each
 Reorganized Debtor may, within its sole and exclusive discretion, take such action as permitted
 by applicable law and its constituent documents as it determines is reasonable and appropriate.

 6.03.   Retention and Assertion of Causes of Action and Defenses.

         (a)    Except as expressly set forth in this Plan, all causes of action, claims,
 counterclaims, defenses and rights of offset or recoupment (including but not limited to all
 Estate Claims, Estate Defenses and Avoidance Actions) belonging to the Debtors (collectively,
 the “Retained Causes of Action”) shall, upon the occurrence of the Effective Date, be reserved,
 retained and preserved for, and transferred to, received by and vested, in the Reorganized
 Debtor for the benefit of the Debtors and the Debtors’ estates. Without limitation, the Retained
 Causes of Action include the claims and causes of action described on Exhibit A attached
 hereto.

        (b)     Except as expressly set forth in this Plan, the rights of the Reorganized Debtor to
 commence, prosecute or settle the Retained Causes of Action shall be retained, reserved, and
 preserved notwithstanding the occurrence of the Effective Date. No Person may rely on the
 absence of a specific reference in the Plan or the Disclosure Statement to any cause of
 action against them as any indication that the Debtors or the Reorganized Debtor will not
 pursue any and all available causes of action (including all Estate Claims, Estate
 Defenses and Avoidance Actions) against them. The Debtors and their Estate expressly
 reserve all rights to prosecute any and all of the Retained Causes of Action (including all

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 Estate Claims, Estate Defenses and Avoidance Actions) against any Person, except as
 otherwise provided in this Plan. Unless any causes of action against a Person are expressly
 waived, relinquished, exculpated, released, compromised or settled in this Plan or a Final Order,
 the Debtors expressly reserve all causes of action (including all Estate Claims, Estate Defenses
 and Avoidance Actions) for later adjudication, and, therefore, no preclusion doctrine, including
 without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim
 preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to such causes of
 action upon or after the confirmation or consummation of the Plan. The Debtors and the
 Reorganized Debtor may also assert Estate Defenses as a defense to the allowance of any
 Claim not otherwise Allowed.

 6.04. Assumption of Obligations to Make Distributions. The Reorganized Debtor shall be
 deemed to have assumed the obligations to make all Distributions pursuant to this Plan.

 6.05. Actions by the Debtors and the Reorganized Debtor to Implement Plan. The entry of the
 Confirmation Order shall constitute all necessary authorization for the Debtors and the
 Reorganized Debtor to take or cause to be taken all actions necessary or appropriate to
 consummate, implement or perform all provisions of this Plan on and after the Effective Date,
 and all such actions taken or caused to be taken shall be deemed to have been authorized and
 approved by the Bankruptcy Court without further approval, act or action under any applicable
 law, order, rule or regulation, including without limitation, (a) all transfers of Assets, including to
 the Reorganized Debtor, that are to occur pursuant to the Plan; (b) the cancellation of Interests
 and issuance of 100% of the equity interests in the Reorganized Debtor to Terry; (c) the
 performance of the terms of the Plan and the making of all Distributions required under the Plan;
 and (d) subject to the terms of the Plan, entering into any and all transactions, contracts, or
 arrangements permitted by applicable law, order, rule or regulation.

 6.06. Termination of Highland as Shared Services Provider and Sub-Advisor. The Bankruptcy
 Court authorized the Chapter 11 Trustee to terminate the Shared Services Agreement and Sub-
 Advisory Agreement and engage Brigade to perform the services previously provided by
 Highland. The Shared Services Agreement and Sub-Advisory Agreement were terminated by
 the Chapter 11 Trustee on or about August 1, 2018, and the services previously performed by
 Highland were transitioned to Brigade on an interim basis. Brigade has agreed to continue to
 provide shared services and sub-advisory services to the Reorganized Debtor with respect to
 the Acis CLOs and the Other Acis-Managed Funds (and any reset Acis CLOs) subject to a
 minimum two (2) year term unless otherwise agreed as between the Reorganized Debtor and
 Brigade. Consequently, any agreement between the Reorganized Debtor and Brigade shall
 provide that Brigade cannot be removed without cause for a period of two (2) years except as
 may be otherwise agreed as between the Reorganized Debtor and Brigade.

 6.07. Continued Portfolio Management by the Reorganized Debtor. The PMAs and any other
 Executory Contracts and Unexpired Leases identified on Exhibit B to the Plan or in the
 Confirmation Order shall be assumed and the Reorganized Debtor shall, from an after the
 Effective Date, serve as the portfolio manager with respect to the Acis CLOs and the Other
 Acis-Managed Funds (and any reset Acis CLOs). Consistent with Section 15 of the PMAs, the
 Reorganized Debtor may only be removed as portfolio manager under the assumed PMAs for
 cause as set forth in the PMAs.

 6.08. Reset of the Acis CLOs. HCLOF has maintained that it desires to reset the Acis CLOs.
 The Reorganized Debtor, with the assistance of Brigade as its shared services provider and
 sub-advisor, is prepared to promptly seek to perform such reset transactions as set forth herein.

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 HCLOF shall have the right to submit one or more notice(s) of Optional Redemption solely for
 the purpose of effectuating a reset of one or more of the Acis CLOs under this section 6.08 of
 the Plan utilizing Refinancing Proceeds (a “Reset Optional Redemption”) for each of the Acis
 CLOs. If HCLOF requests a Reset Optional Redemption of an Acis CLO, the Reorganized
 Debtor, with the assistance of Brigade, shall thereafter seek to reset the Acis CLOs, either
 consecutively or simultaneously, in its good faith business judgment and consistent with then-
 prevailing market terms; provided, however, (i) the Management Fees to be charged by the
 Reorganized Debtor to any reset Acis CLOs shall remain the same going forward and shall not
 be increased, and no transaction fee shall be charged by the Reorganized Debtor (other than,
 for avoidance of doubt, transaction expense reimbursements consistent with market standards),
 and (ii) HCLOF shall be granted a right of first refusal for any funding of debt or equity required
 to effectuate a reset of each of the Acis CLOs. The terms of the Indentures shall control any
 Reset Optional Redemption. If HCLOF elects not to reset one or more of the Acis CLOs, then
 the Acis CLOs will continue to be managed in accordance with market standards.

 6.09. Post-Effective Date Service List. Pleadings filed by any party-in-interest with the
 Bankruptcy Court after the Effective Date shall be served on the following Persons (collectively
 the “Service List”): (a) any Person directly affected by the relief sought in the pleading, (b) the
 U.S. Trustee, (c) parties which have filed a Notice of Appearance in the Chapter 11 Cases, and
 (d) the Reorganized Debtor.

 6.10. Section 505 Powers. All rights and powers pursuant to section 505 of the Bankruptcy
 Code are hereby reserved to the Estate and shall be transferred to, and vested in, the
 Reorganized Debtor as of the Effective Date.

 6.11. Section 510(c) Powers. All rights and powers to seek or exercise any right or remedy of
 equitable subordination are hereby reserved to the Estate and shall be transferred to, and
 vested in, the Reorganized Debtor as of the Effective Date as an Estate Defense.

 6.12. Section 506(c) Powers. The Estate hereby reserves all rights and powers pursuant to
 section 506(c) of the Bankruptcy Code, and all such rights shall be specifically transferred to,
 and vested in, the Reorganized Debtor.

 6.13. Plan Injunction. The Reorganized Debtor shall each have full power, standing and
 authority to enforce the Plan Injunction against any Person, either through an action before the
 Bankruptcy Court or any other tribunal having appropriate jurisdiction.

 6.14. Cancellation of Interests. Except as otherwise specifically provided herein, upon the
 Effective Date of the Plan: (a) all Interests in the Debtors shall be cancelled; and (b) all
 obligations or debts of, or Claims against, the Debtors on account of, or based upon, the
 Interests shall be deemed as cancelled, released and discharged, including all obligations or
 duties by the Debtors relating to the Interests in any of their respective formation documents,
 including Acis LP’s limited partnership agreement and bylaws, Acis GP’s articles of formation
 and company agreement, or any similar formation or governing documents.

                                       ARTICLE VII.
                           PROVISIONS GOVERNING DISTRIBUTION

 7.01. Distributions from Reorganized Debtor. The Reorganized Debtor shall be responsible
 for making Distributions to holders of Allowed Claims only to the extent this Plan requires
 Distributions to be made by the Reorganized Debtor. The priority of Distributions from the

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 Reorganized Debtor shall be in accordance with the terms of this Plan and the Confirmation
 Order as follows:

        (a)     First, to satisfy Allowed Class 1 Secured Tax Claims;

         (b)     Second, to satisfy Allowed Administrative Expenses and Allowed Priority Claims
 in accordance with Article III above, including all U.S. Trustee quarterly fees due and owing as
 of the Effective Date;

       (c)    Third, to make Distributions to holders of any Allowed Class 3 General
 Unsecured Claims and Allowed Subclass 4A Claims; and

        (e)     Fourth, to make Distributions to holders of any Allowed Subclass 4B Claims

 7.02. Reserves. The Reorganized Debtor may estimate, create and set aside Reserves as
 may be necessary or appropriate, including without limitation, Reserves on account of
 Contested Claims. The Reorganized Debtor may, but shall not be required to, move the
 Bankruptcy Court to approve: (a) the amount of, and terms on which, such Reserves shall be
 held, maintained and disbursed, or (b) the amount and timing of any proposed interim
 Distribution to holders of Allowed Class 3 Claims and Allowed Subclass 4A Claims. The
 Reorganized Debtor may elect to seek approval by the Bankruptcy Court for the creation and
 amount of any Reserves or regarding the amount or timing of any Distribution on account of any
 Allowed Claims. Except as otherwise expressly provided herein, the Reorganized Debtor, in the
 exercise of its good faith business judgment, may transfer funds out of any of the Reserves as
 necessary or appropriate. However, the Reorganized Debtor shall not be required to create
 separate accounts for such Reserves which may be created and memorialized by entries or
 other accounting methodologies, which may be revised from time-to-time, to enable the
 Reorganized Debtor to determine the amount of Cash available for Distributions under the Plan.
 Subject to any specific deadlines set forth herein, the Reorganized Debtor, shall determine, from
 time-to-time, in the exercise of the Reorganized Debtor’s good faith business judgment: (x) the
 amount of Cash available for Distribution, (y) the timing of any Distributions, and (z) the amount
 and creation of any Reserves for Contested Claims. The Reorganized Debtor shall not be
 entitled to reserve for, and this section 7.02 does not apply to, Distributions to holders of
 Allowed Subclass 4B Claims.

 7.03. Prosecution and Settlement of Estate Claims. Upon the Effective Date, the Reorganized
 Debtor (a) shall automatically be substituted in place of the Chapter 11 Trustee as the party
 representing the Estate in respect of any pending lawsuit, motion or other pleading pending
 before the Bankruptcy Court or any other tribunal, and (b) is authorized to file a notice on the
 docket of each adversary proceeding or the Chapter 11 Cases regarding such substitution. The
 Reorganized Debtor shall have exclusive standing and authority to prosecute, settle or
 compromise Estate Claims for the benefit of the Estate in the manner set forth in this Plan.

 7.04. Plan Injunction. The Reorganized Debtor shall be entitled to the full protection and
 benefit of the Plan Injunction and shall have standing to bring any action or proceeding
 necessary to enforce the Plan Injunction against any Person.

 7.05. Relief from the Bankruptcy Court. The Reorganized Debtor shall be authorized to seek
 relief from the Bankruptcy Court or any other tribunal having jurisdiction as to any matter relating
 or pertaining to the consummation, administration or performance of this Plan, including without


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 limitation seeking any relief from the Bankruptcy Court which the Reorganized Debtor deems
 necessary or appropriate to the performance of its duties or the administration of this Plan.

                                       ARTICLE VIII.
                                  SOURCE OF DISTRIBUTIONS

 8.01. Source of Distributions. All Distributions under this Plan shall be made by the
 Reorganized Debtor in the manner provided in this Plan and the Confirmation Order.

 8.02. Timing and Amount of Distributions. No Distribution shall be made on account of any
 Claim until such Claim is Allowed, except as otherwise set forth in this Plan or otherwise
 ordered by the Bankruptcy Court. No Distribution shall be made on account of any Contested
 Claim until such Claim is Allowed. Except as expressly set forth in the Plan or in the
 Confirmation Order, the Reorganized Debtor shall, in the exercise of its good faith business
 judgment, determine the timing and amount of all Distributions which are required to be made
 under the Plan, consistent with the goal of making such Distributions as expeditiously as
 reasonably possible. The Reorganized Debtor may, but shall not be required to, seek approval
 of, or any other appropriate relief from, the Bankruptcy Court with respect to any of such
 Distributions. Any Unclaimed Property may be paid into the registry of the Bankruptcy Court or
 otherwise distributed in accordance with the orders of the Bankruptcy Court.

 8.03. Means of Cash Payment. Cash payments pursuant to this Plan shall be made by check
 drawn on, or by wire transfer from, a domestic bank, or by other means agreed to by the payor
 and payee.

 8.04. Record Date for Distributions. As of the close of business on the Effective Date (the
 “Distribution Record Date”), the register for Claims will be closed, and there shall be no further
 changes in the holders of record of any Claims. Although there is no prohibition against the
 transfer of any Claim by any Creditor, the Reorganized Debtor shall have no obligation to
 recognize any transfer of a Claim occurring after the Distribution Record Date, and the
 Reorganized Debtor shall instead be authorized and entitled to recognize and deal for all
 purposes under this Plan, including for the purpose of making all Distributions, with only those
 holders of Claims so reflected as of the Distribution Record Date. However, the Reorganized
 Debtor may, in the exercise of its good faith business judgment, agree to recognize transfers of
 Claims after the Distribution Record Date, but shall have no obligation to do so.

 8.05. Delivery of Distributions. All Distributions, deliveries and payments to the holders of any
 Allowed Claims shall be made to the addresses set forth on the respective proofs of Claim filed
 in the Chapter 11 Cases by such Claimants or, if the Distribution is to be made based on a
 Claim reflected as Allowed in the Schedules, at the address reflected in the Schedules. Any
 such Distribution, delivery or payment shall be deemed as made for all purposes relating to this
 Plan when deposited in the United States Mail, postage prepaid, addressed as required in the
 preceding sentence. If any Distribution is returned as undeliverable, no further Distribution shall
 be made on account of such Allowed Claim unless and until the Reorganized Debtor is notified
 of such holder's then current address, at which time all missed Distributions shall be made to
 the holder of such Allowed Claim. However, all notices to the Reorganized Debtor reflecting
 new or updated addresses for undeliverable Distributions shall be made on or before one
 hundred twenty (120) days after the date of the attempted Distribution or such longer period as
 the Reorganized Debtor may fix in the exercise of its sole discretion. After such date, all
 Unclaimed Property shall revert to the Reorganized Debtor and the Claim of any holder with
 respect to such property shall be discharged and forever barred.

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 8.06. W-9 Forms. Each holder of an Allowed Claim must provide a W-9 form or other such
 necessary information to comply with any withholding requirements of any Governmental Unit
 (collectively the “W-9 Form”) to the Reorganized Debtor prior to receiving any Distribution from
 the Reorganized Debtor. In the event a holder of an Allowed Claim does not provide a W-9
 Form to the Reorganized Debtor within thirty (30) days of the Effective Date, the Reorganized
 Debtor shall, at an appropriate time, issue a written request to each holder of an Allowed Claim
 that has not previously provided a W-9 Form to the Reorganized Debtor. The request shall be
 in writing and shall be delivered to the last address known to the Debtors or Reorganized
 Debtor, as appropriate. The request shall conspicuously advise and disclose that failure to
 provide a W-9 Form to the Reorganized Debtor within thirty (30) days shall result in a waiver of
 any right or rights to a Distribution from the Reorganized Debtor. In the event any holder of an
 Allowed Claim fails to provide the Reorganized Debtor with a W-9 Form within thirty (30) days
 after the date of written request described herein, then the holder of such Allowed Claim shall
 be deemed to have waived the right to receive any Distribution whatsoever from the
 Reorganized Debtor.

 8.07. Time Bar to Cash Payments. Checks issued in respect of Allowed Claims shall be null
 and void if not cashed within ninety (90) days of the date of issuance thereof. Requests for
 reissuance of any check shall be made directly to the issuer of the check by the holder of the
 Allowed Claim with respect to which such check originally was issued. Any Claim in respect of
 such a voided check shall be made on or before one hundred twenty (120) days after the date
 of issuance of such check or such longer period as the Reorganized Debtor may fix. After such
 date, all Claims in respect of void checks shall be discharged and forever barred.

 8.08. Cure Period. Except as otherwise set forth herein, the failure by the Reorganized Debtor
 to timely perform any term, provision or covenant contained in this Plan, or to make any
 payment or Distribution required by this Plan to any Creditor, or the failure to make any payment
 or perform any covenant on any note, instrument or document issued pursuant to this Plan,
 shall not constitute an event of default unless and until the Reorganized Debtor has been given
 thirty (30) days written notice of such alleged default in the manner provided in this Plan, and
 provided an opportunity to cure such alleged default. Until the expiration of such thirty (30) day
 cure period, the Reorganized Debtor shall not be in default, and performance during such thirty
 (30) day cure period shall be deemed as timely for all purposes. Such written notice and
 passage of the thirty (30) day cure period shall constitute conditions precedent to declaring or
 claiming any default under this Plan or bringing any action or legal proceeding by any Person to
 enforce any right granted under this Plan.

 8.09. Pre-Payment of Claims. Unless the Plan expressly prohibits or conditions the pre-
 payment of an Allowed Claim, the Reorganized Debtor may pre-pay any Allowed Claim in whole
 or in part at any time and may do so without penalty.

 8.10. Distributions after Substantial Consummation. All Distributions of any kind made to any
 Creditor after Substantial Consummation and any and all other actions taken under this Plan
 after Substantial Consummation shall not be subject to relief, reversal or modification by any
 court unless the implementation of the Confirmation Order is stayed by an order granted under
 Bankruptcy Rule 8005.




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                                   ARTICLE IX.
                 RETENTION OF ESTATE CLAIMS AND ESTATE DEFENSES.

 9.01. Retention of Estate Claims. Except as otherwise specifically provided in this Plan,
 pursuant to section 1123(b)(3) of the Bankruptcy Code, all Estate Claims shall be transferred to,
 and vested in, the Reorganized Debtor, both for purposes of seeking an affirmative recovery
 against any Person and for the purposes of offset, recoupment or defense against any Claim
 asserted against the Estate or Reorganized Debtor. All Estate Claims shall be deemed to have
 been transferred to, and vested in, the Reorganized Debtor as of the Effective Date based on
 the entry of the Confirmation Order.

         Without limiting the effectiveness or generality of the foregoing reservation, out of an
 abundance of caution, the Debtors and the Estate hereby specifically reserves, retains, and
 preserves the Estate Claims reflected in the attached Exhibit A. Reference is here made to
 Exhibit A which constitutes an integral part of this Plan. The provisions of this Article of the
 Plan, as well as the descriptions and disclosures relating to the Estate Claims in the Disclosure
 Statement, are provided in the interest of providing maximum disclosure of the Estate Claims of
 which Debtors are presently aware and shall not act as a limitation on the potential Estate
 Claims that may exist. It is the specific intention of this Plan that all Avoidance Actions and all
 associated remedies, and any other Estate Claims, whether arising before or after the Petition
 Date, and whether arising under the Bankruptcy Code or applicable state or federal non-
 bankruptcy laws, shall all be reserved, retained and preserved under this Plan to be transferred
 to, and vested in, the Reorganized Debtor. All Estate Claims are reserved, retained and
 preserved both as causes of action for an affirmative recovery and as counterclaims and for the
 purposes of offset or recoupment against any Claims asserted against the Estate.

 9.02. Retention of Estate Defenses. Except as otherwise specifically provided in this Plan,
 pursuant to section 1123(b)(3) of the Bankruptcy Code, all Estate Defenses shall be transferred
 to, and vested in, the Reorganized Debtor. For this purpose, all Estate Defenses are hereby
 reserved, retained and preserved by the Debtors and the Estate, including without limitation all
 such Estate Defenses available to the Estate pursuant to section 558 of the Bankruptcy Code,
 and shall be deemed as transferred to, and vested in, the Reorganized Debtor as of the
 Effective Date based on the entry of the Confirmation Order.

 9.03. Assertion of Estate Claims and Estate Defenses. The Reorganized Debtor shall have,
 and be vested with, the exclusive right, authority and standing to assert all Estate Claims and
 Estate Defenses for the benefit of the Reorganized Debtor.

                                     ARTICLE X.
                       PROCEDURES FOR RESOLVING AND TREATING
                          CONTESTED AND CONTINGENT CLAIMS

 10.01. Claims Listed in Schedules as Disputed. Any General Unsecured Claim which is listed
 in the Schedules as unliquidated, contingent or disputed, and for which no proof of Claim has
 been timely filed, shall be considered as Disallowed as of the Effective Date without the
 necessity of any further action by the Reorganized Debtor or further order of the Bankruptcy
 Court other than the entry of the Confirmation Order.

 10.02. Responsibility for Objecting to Claims and Settlement of Claims. The Reorganized
 Debtor shall have the exclusive standing and authority to either object to any Claim or settle and
 compromise any Objection to any Claim, including as follows:

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          (a)   From and after the Effective Date, the Reorganized Debtor shall have the sole
 and exclusive right to (i) file, settle, or litigate to Final Order any Objections to any Claims; and
 (ii) seek to subordinate any Claim. Any Contested Claim may be litigated to Final Order by the
 Reorganized Debtor; and

        (b)    From and after the Effective Date, the Reorganized Debtor shall have the sole
 and exclusive right to settle, compromise or otherwise resolve any Contested Claim without the
 necessity of any further notice or approval of the Bankruptcy Court. Bankruptcy Rule 9019 shall
 not apply to any settlement or compromise of a Contested Claim after the Effective Date.

 10.03. Objection Deadline. All Objections to Claims shall be served and filed by the Objection
 Deadline; provided, however, the Objection Deadline shall not apply to Claims which are not
 reflected in the claims register, including any alleged informal proofs of Claim. The Reorganized
 Debtor may seek to extend the Objection Deadline pursuant to a motion filed on or before the
 then applicable Objection Deadline with respect to any Claim. Any such motion may be granted
 without notice or a hearing. In the event that the Reorganized Debtor files such a motion and
 the Bankruptcy Court denies such motion, the Objection Deadline shall nevertheless be
 automatically extended to that date which is ten (10) Business Days after the date of entry of the
 Bankruptcy Court’s order denying such motion. Any proof of Claim other than one based upon
 a Rejection Claim and which is filed more than thirty (30) days after the Effective Date shall be
 of no force and effect and need not be objected to by the Reorganized Debtor. Nothing
 contained herein shall limit the right of the Reorganized Debtor to object to Claims, if any, filed
 or amended after the Objection Deadline.

 10.04. Response to Claim Objection. If the Reorganized Debtor files an Objection to any
 Claim, then the holder of such Claim shall file a written response to such Objection within
 twenty-four (24) days after the filing and service of the Objection upon the holder of the
 Contested Claim. Each such Objection shall contain appropriate negative notice advising the
 Creditor whose Claim is subject to the Objection of the requirement and time period to file a
 response to such Objection and that, if no response is timely filed to the Objection, the
 Bankruptcy Court may enter an order that such Claim is Disallowed without further notice or
 hearing. The negative notice language in the Objection shall satisfy the notice requirement in
 section 3007(a) of the Bankruptcy Rules, and the Reorganized Debtor shall not be required to
 send a separate notice of the Objection to the Creditor whose Claim is subject to the Objection.

 10.05. Distributions on Account of Contested Claims. If a Claim is Contested, then the dates
 for any Distributions as to such Contested Claim shall be determined based upon its date of
 Allowance, and thereafter Distribution shall be made on account of such Allowed Claim
 pursuant to the provisions of the Plan. No Distribution shall be made on account of a Contested
 Claim until Allowed. Until such time as a contingent Claim becomes fixed and absolute by a
 Final Order Allowing such Claim, such Claim shall be treated as a Contested Claim for purposes
 of estimates, allocations, and Distributions under the Plan. Any contingent right to contribution
 or reimbursement shall continue to be subject to section 502(e) of the Bankruptcy Code.

 10.06. No Waiver of Right to Object. Except as expressly provided in this Plan, nothing
 contained in the Disclosure Statement, this Plan, or the Confirmation Order shall waive,
 relinquish, release or impair the Reorganized Debtor’s right to object to any Claim.

 10.07. Offsets and Defenses. The Reorganized Debtor shall be vested with and retain all
 Estate Claims and Estate Defenses, including without limitation all rights of offset or recoupment
 and all counterclaims against any Claimant holding a Claim. Assertion of counterclaims by the

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 Reorganized Debtor against any Claim asserted against the Estate or Reorganized Debtor shall
 constitute “core” proceedings.

 10.08. Claims Paid or Reduced Prior to Effective Date. Notwithstanding the contents of the
 Schedules, Claims listed therein as undisputed, liquidated and not contingent shall be reduced
 by the amount, if any, that was paid by the Debtors prior to the Effective Date, including
 pursuant to orders of the Bankruptcy Court. To the extent such payments are not reflected in
 the Schedules, such Schedules will be deemed amended and reduced to reflect that such
 payments were made. Nothing in the Plan shall preclude the Debtors or the Reorganized
 Debtor from paying Claims that the Debtors were authorized to pay pursuant to any Final Order
 entered by the Bankruptcy Court prior to the Confirmation Date.

                                   ARTICLE XI.
                    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 11.01. Assumption and Rejection of Executory Contracts. All Executory Contracts and
 Unexpired Leases of the Debtors shall be deemed rejected by the Debtors upon the Effective
 Date unless an Executory Contract or Unexpired Lease (a) has been previously assumed or
 rejected pursuant to an order of the Bankruptcy Court, (b) is identified in Exhibit B to this Plan
 and/or the Confirmation Order to be (i) assumed or (ii) assumed and assigned, or (c) is the
 subject of a motion to assume filed on or before the Confirmation Date. The Plan shall constitute
 a motion to reject all Executory Contracts and Unexpired Leases except as stated in this
 paragraph. However, the Debtors may file a separate motion for the assumption or rejection of
 any Executory Contract or Unexpired Lease at any time through the Confirmation Date.

 11.02. Cure Payments. All payments that may be required by section 365(b)(1) of the
 Bankruptcy Code to satisfy any Cure Claim shall be made by the Reorganized Debtor as soon
 as reasonably practical after the Effective Date or upon such terms as may be otherwise agreed
 between the Reorganized Debtor and the holder of such Cure Claim; provided, however, in the
 event of a dispute regarding the amount of any Cure Claim, the cure of any other defaults, or
 any other matter pertaining to assumption or assignment of an Executory Contract, the
 Reorganized Debtor shall make such cure payments and cure such other defaults, all as may
 be required by section 365(b)(1) of the Bankruptcy Code, following the entry of a Final Order by
 the Bankruptcy Court resolving such dispute.

 11.03. Bar to Rejection Claims. Except as otherwise ordered by the Bankruptcy Court, any
 Rejection Claim based on the rejection of an Executory Contract or Unexpired Lease shall be
 forever barred and shall not be enforceable against the Reorganized Debtor or the Reorganized
 Debtor’s assets unless a proof of Claim is filed with the Bankruptcy Court and served upon the
 Reorganized Debtor and its counsel by the earlier of thirty (30) days after the Effective Date or
 thirty (30) days after entry of the Final Order approving rejection of such Executory Contract or
 Unexpired Lease.

 11.04. Rejection Claims. Any Rejection Claim not barred by section 11.03 of the Plan shall be
 classified as a Class 3 General Unsecured Claim subject to the provisions of sections 502(b)(6)
 and 502(g) of the Bankruptcy Code; provided, however, that any Rejection Claim by a lessor
 based upon the rejection of an unexpired lease of real property, either prior to the Confirmation
 Date, upon the entry of the Confirmation Order, or upon the Effective Date, shall be limited in
 accordance with section 502(b)(6) of the Bankruptcy Code and state law mitigation
 requirements. All Rejection Claims shall be deemed as Contested Claims until Allowed.
 Nothing contained herein shall be deemed an admission by the Debtors or the Reorganized

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 Debtor that such rejection gives rise to or results in a Claim or shall be deemed a waiver by the
 Debtors or the Reorganized Debtor of any objections or defenses to any such Rejection Claim if
 asserted.

 11.05. Reservation of Rights. Nothing contained in the Plan shall constitute an admission by
 the Debtors that any contract or lease is in fact an Executory Contract or Unexpired Lease or
 that the Debtors or the Reorganized Debtor have any liability thereunder. If there is a dispute
 regarding whether a contract or lease is or was executory or unexpired at the time of
 assumption or rejection, the Reorganized Debtor shall have thirty (30) days following entry of a
 Final Order resolving such dispute to alter the treatment of such contract or lease.

                                    ARTICLE XII.
                     SUBSTANTIVE CONSOLIDATION OF THE DEBTORS

 12.01. Pursuant to the Confirmation Order, the Bankruptcy Court shall approve the substantive
 consolidation of the Debtors for the sole purposes of implementing the Plan, including for
 purposes of voting and Distributions to be made under the Plan. Pursuant to such order: (a) all
 assets and liabilities of the Debtors will be deemed merged; (b) all guarantees by one Debtor of
 the obligations of the other Debtor will be deemed eliminated so that any Claim against any
 Debtor and any guarantee thereof executed by the other Debtor and any joint or several liability
 of the Debtors will be deemed to be one obligation of the consolidated Debtors; and (c) each
 and every Claim filed or to be filed in the Chapter 11 Case of either Debtor will be deemed filed
 against the consolidated Debtors and will be deemed one Claim against and a single obligation
 of the consolidated Debtors.

                                ARTICLE XIII.
      CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVENESS OF PLAN

 13.01. Conditions to Confirmation and Effectiveness of Plan. The Plan shall not become
 effective until the following conditions shall have been satisfied and which may occur
 concurrently with the Effective Date: (a) the Confirmation Order shall have been entered, in
 form and substance acceptable to the Chapter 11 Trustee; (b) the necessary Plan Documents
 have been executed and delivered, and (c) all other conditions specified by the Chapter 11
 Trustee have been satisfied. Any or all of the above conditions other than (a) may be waived at
 any time by the Chapter 11 Trustee.

 13.02. Notice of the Effective Date. On or as soon as reasonably practical after the occurrence
 of the Effective Date, the Reorganized Debtor shall cause a notice of the Effective Date to be
 filed with the Bankruptcy Court and served on all Creditors and parties-in-interest.

 13.03. Revocation of Plan. The Chapter 11 Trustee may revoke and withdraw the Plan at any
 time before the Effective Date. If the Chapter 11 Trustee revokes or withdraws the Plan, or if
 confirmation of the Plan does not occur, then this Plan shall be deemed null and void and
 nothing contained in the Plan shall be deemed to constitute a waiver or release of any Claims
 by or against the Debtors, as the case may be, or any other Person, or to prejudice in any
 manner the rights of the Debtors or any other Person in any further proceedings involving the
 Debtors.




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                                     ARTICLE XIV.
                     EFFECT OF THE PLAN ON CLAIMS AND INTERESTS

 14.01. Compromise and Settlement

                  (a)     Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule
 9019, and in consideration of the classification, potential Distributions and other benefits
 provided under the Plan, the provisions of the Plan shall constitute a good faith compromise and
 settlement of all Claims, Interests and controversies subject to, or dealt with, under this Plan,
 including, without limitation, all Claims against the Debtors or Estate arising prior to the Effective
 Date, whether known or unknown, foreseen or unforeseen, asserted or unasserted, fixed or
 contingent, arising out of, relating to or in connection with the business or affairs of, or
 transactions with, the Debtors or the Estate. The entry of the Confirmation Order shall
 constitute the Bankruptcy Court’s approval of each of the foregoing compromises or settlements
 embodied in this Plan, and all other compromises and settlements provided for in the Plan, and
 the Bankruptcy Court’s findings shall constitute its determination that such compromises and
 settlements are in the best interest of the Debtors, the Estate, Creditors and other parties-in-
 interest, and are fair, equitable and within the range of reasonableness. The rights afforded in
 the Plan and the treatment of all Claims and Interests herein shall be in exchange for, and in
 complete satisfaction and release of, all Claims and Interests of any nature whatsoever against
 and in the Debtors, the Estate, and the Assets. Except as otherwise provided herein, all
 Persons shall be precluded and forever barred by the Plan Injunction from asserting against the
 Debtors and their affiliates, successors, assigns, the Reorganized Debtor or the Reorganized
 Debtor’s Assets, or the Estate, any event, occurrence, condition, thing, or other or further
 Claims or causes of action based upon any act, omission, transaction, or other activity of any
 kind or nature that occurred or came into existence prior to the Effective Date, whether or not
 the facts of or legal bases therefore were known or existed prior to the Effective Date.

                (b)     It is not the intent of this Plan that confirmation of the Plan shall in any
 manner alter or amend any settlement and compromise (including those contained in agreed
 orders) between the Debtors and any Person that has been previously approved by the
 Bankruptcy Court (each, a “Prior Settlement”). To the extent of any conflict between the terms
 of the Plan and the terms of any Prior Settlement, the terms of the Prior Settlement shall control
 and such Prior Settlement shall be enforceable according to its terms.

 14.02. Discharge. The Debtors and their successors in interest and assigns shall be deemed
 discharged and released pursuant to section 1141(d)(1) of the Bankruptcy Code from any and
 all Claims provided for in the Plan.

 14.03. PLAN INJUNCTION.

        THIS SECTION IS REFERRED TO HEREIN AS THE “PLAN INJUNCTION.”
        EXCEPT AS OTHERWISE EXPRESSLY PROVIDED HEREIN, AS OF THE
        EFFECTIVE DATE ALL HOLDERS OF CLAIMS AGAINST, OR INTERESTS IN,
        THE DEBTORS, THE ESTATE OR ANY OF THE ASSETS THAT AROSE PRIOR
        TO THE EFFECTIVE DATE ARE HEREBY PERMANENTLY ENJOINED AND
        PROHIBITED FROM THE FOLLOWING:       (a) THE COMMENCING OR
        CONTINUATION IN ANY MANNER, DIRECTLY OR INDIRECTLY, OF ANY
        ACTION, CASE, LAWSUIT OR OTHER PROCEEDING OF ANY TYPE OR
        NATURE AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED
        DEBTOR, OR THE REORGANIZED DEBTOR’S ASSETS WITH RESPECT TO

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       ANY SUCH CLAIM OR INTEREST ARISING OR ACCRUING BEFORE THE
       EFFECTIVE DATE, INCLUDING WITHOUT LIMITATION THE ENTRY OR
       ENFORCEMENT OF ANY JUDGMENT, OR ANY OTHER ACT FOR THE
       COLLECTION, EITHER DIRECTLY OR INDIRECTLY, OF ANY CLAIM OR
       INTEREST AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED
       DEBTOR, OR THE REORGANIZED DEBTOR’S ASSETS; (b) THE CREATION,
       PERFECTION OR ENFORCEMENT OF ANY LIEN, SECURITY INTEREST,
       ENCUMBRANCE, RIGHT OR BURDEN, EITHER DIRECTLY OR INDIRECTLY,
       AGAINST THE DEBTORS, THE ESTATE, THE REORGANIZED DEBTOR, OR
       THE REORGANIZED DEBTOR’S ASSETS, OR (c) TAKING ANY ACTION IN
       RELATION TO THE DEBTORS, THE ESTATE, THE REORGANIZED DEBTOR,
       OR THE REORGANIZED DEBTOR’S ASSETS, EITHER DIRECTLY OR
       INDIRECTLY, WHICH VIOLATES OR DOES NOT CONFORM OR COMPLY
       WITH THE PROVISIONS OF THIS PLAN APPLICABLE TO SUCH CLAIM OR
       INTEREST. THE PLAN INJUNCTION SHALL ALSO BE INCORPORATED INTO
       THE CONFIRMATION ORDER.

       IN ADDITION TO THE FOREGOING, EXCEPT TO THE EXTENT NECESSARY
       TO ALLOW HCLOF, THE REORGANIZED DEBTOR AND BRIGADE TO
       EFFECTUATE THE RESET OF ONE OR MORE OF THE ACIS CLOS IN
       ACCORDANCE WITH SECTION 6.08 OF THE PLAN, PURSUANT TO
       SECTIONS 105(a), 1123(a)(5), 1123(b)(6), AND 1142(b) OF THE BANKRUPTCY
       CODE, THE ENJOINED PARTIES (DEFINED BELOW) ARE HEREBY
       ENJOINED FROM: (a) PROCEEDING WITH, EFFECTUATING, OR
       OTHERWISE TAKING (i) ANY ACTION IN FURTHERANCE OF ANY OPTIONAL
       REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE ACIS CLOS
       PREVIOUSLY OR CURRENTLY ISSUED BY ANY SUCH PARTIES, AND (ii)
       ANY OTHER ATTEMPT TO LIQUIDATE THE ACIS CLOS BY ANY MEANS, (b)
       TRADING ANY ACIS CLO COLLATERAL IN FURTHERANCE OF ANY
       OPTIONAL REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE ACIS
       CLOS, (c) EXERCISING ANY RIGHTS TO ASK OR DIRECT THE ISSUERS, CO-
       ISSUERS OR INDENTURE TRUSTEE TO PERFORM ANY ACTION IN
       RELATION TO THE ACIS CLOS THAT THE ENJOINED PARTIES ARE
       PROHIBITED FROM TAKING UNDER THE TERMS OF THE PLAN
       INJUNCTION, (d) INTERFERING IN ANY WAY WITH THE CAPITAL MARKETS
       PROCESS OF RESETTING ANY ACIS CLO, AND (e) SENDING, MAILING, OR
       OTHERWISE DISTRIBUTING ANY NOTICE TO THE HOLDERS OF THE
       NOTES IN THE ACIS CLOS IN CONNECTION WITH THE EFFECTUATION OF
       ANY OPTIONAL REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE
       ACIS CLOS, UNTIL THE EARLIER TO OCCUR OF: (w) THE DATE UPON
       WHICH A FINAL ORDER IS ENTERED RESOLVING THE ESTATE’S
       AVOIDANCE CLAIMS AGAINST ALL ENJOINED PARTIES RELATING TO
       ACIS LP’S RIGHTS UNDER THE ALF PMA; (x) THE DATE UPON WHICH ALL
       ALLOWED CLAIMS AGAINST THE DEBTORS HAVE BEEN PAID IN FULL, (y)
       THE ENTRY OF AN ORDER BY THE BANKRUPTCY COURT FINDING THAT A
       MATERIAL DEFAULT HAS OCCURRED UNDER THE TERMS OF THE PLAN,
       OR (z) THE ENTRY OF A SUBSEQUENT ORDER BY THE BANKRUPTCY
       COURT PROVIDING OTHERWISE WITH RESPECT TO ONE OR MORE OF
       THE ACIS CLOS. FOR PURPOSES OF THIS PARAGRAPH, THE TERM
       “ENJOINED PARTIES” SHALL INCLUDE HIGHLAND, HCLOF, CLO HOLDCO,
       NEUTRA, HIGHLAND HCF, HIGHLAND CLOM, ANY AFFILIATES OF
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        HIGHLAND,   AND   THEIR    RESPECTIVE    EMPLOYEES,   AGENTS,
        REPRESENTATIVES, TRANSFEREES, ASSIGNS, AND SUCCESSORS. FOR
        PURPOSES OF CLARIFICATION AND AVOIDANCE OF DOUBT, NOTHING IN
        THIS PARAGRAPH SHALL PRECLUDE ORDINARY DAY-TO-DAY TRADING
        OF THE COLLATERAL IN THE ACIS CLOS BY THE REORGANIZED DEBTOR.

 Notwithstanding anything to the contrary in the Plan: (a) third-party professionals employed by
 the Reorganized Debtor shall not be released or exculpated from any losses, claims, damages,
 liabilities, or expenses arising from their duties and services provided to the Reorganized Debtor;
 and (b) any third-party professionals employed by the Reorganized Debtor shall only be entitled
 to be indemnified by the Reorganized Debtor to the extent provided by applicable law.

 Notwithstanding anything to the contrary in the Plan or Confirmation Order, nothing in the Plan or
 in the Confirmation Order shall discharge, release, enjoin or otherwise bar (i) any liability of the
 Debtors, the Estate, the Reorganized Debtor, or the Reorganized Debtor’s assets (“Released
 Parties”) to a Governmental Unit arising on or after the Confirmation Date with respect to events
 occurring after the Confirmation Date, provided that the Released Parties reserve the right to
 assert that any such liability is a Claim that arose on or prior to the Confirmation Date and
 constitutes a Claim that is subject to the deadlines for filing proofs of claim, (ii) any liability to a
 Governmental Unit that is not a Claim subject to the deadlines for filing proofs of Claim, (iii) any
 valid right of setoff or recoupment of a Governmental Unit, and (iv) any police or regulatory action
 by a Governmental Unit. In addition, nothing in the Plan or Confirmation Order discharges,
 releases, precludes or enjoins any environmental liability to any Governmental Unit that any
 Person other than the Released Parties would be subject to as the owner or operator of the
 property after the Effective Date. For the avoidance of any doubt, nothing in this paragraph shall
 be construed to limit the application of the Plan Injunction to any Claim which was subject to any
 bar date applicable to such Claim.

 14.04. Setoffs. Except as otherwise expressly provided for in the Plan, pursuant to the
 Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable nonbankruptcy
 law, or as may be agreed to by the holder of a Claim, the Reorganized Debtor may set off
 against any Allowed Claim and the Distributions to be made pursuant to the Plan on account of
 such Allowed Claim (before such Distribution is made), any Claims, rights, Estate Claims and
 Estate Defenses of any nature that the Debtors may hold against the holder of such Allowed
 Claim, to the extent such Claims, rights, Estate Claims and Estate Defenses against such
 holder have not been otherwise compromised or settled on or prior to the Effective Date
 (whether pursuant to the Plan or otherwise); provided, however, that neither the failure to effect
 such a setoff nor the allowance of any Claim or Interest pursuant to the Plan shall constitute a
 waiver or release of any such Claims, rights, Estate Claims and Estate Defenses that the Estate
 may possess against such Claimant. In no event shall any Claimant or Interest holder be
 entitled to setoff any Claim or Interest against any Claim, right, or Estate Claim of the Debtors
 without the consent of the Debtors or the Reorganized Debtor unless such holder files a motion
 with the Bankruptcy Court requesting the authority to perform such setoff notwithstanding any
 indication in any proof of Claim or otherwise that such holder asserts, has, or intends to
 preserve any right of setoff pursuant to section 553 of the Bankruptcy Code or otherwise.

 14.05. Recoupment. Except as otherwise expressly provided for in the Plan, in no event shall
 any holder of Claims or Interests be entitled to recoup any Claim or Interest against any Claim,
 right, account receivable, or Estate Claim of the Debtors or the Reorganized Debtor unless
 (a) such holder actually provides notice thereof in writing to the Debtors or the Reorganized
 Debtor of its intent to perform a recoupment; (b) such notice includes the amount to be

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 recouped by the holder of the Claim or Interest and a specific description of the basis for the
 recoupment, and (c) the Debtors or the Reorganized Debtor have provided a written response
 to such Claim or Interest holder, stating unequivocally that the Debtors or the Reorganized
 Debtor consents to the requested recoupment. The Debtors and the Reorganized Debtor shall
 have the right, but not the obligation, to seek an order of the Bankruptcy Court allowing any or
 all of the proposed recoupment. In the absence of a written response from the Debtors or the
 Reorganized Debtor consenting to a recoupment or an order of the Bankruptcy Court
 authorizing a recoupment, no recoupment by the holder of a Claim or Interest shall be allowed.

 14.06. Turnover. On the Effective Date, any rights of the Estate to compel turnover of Assets
 under applicable nonbankruptcy law and pursuant to section 542 or 543 of the Bankruptcy Code
 shall be deemed transferred to and vested in the Reorganized Debtor.

 14.07. Automatic Stay. The automatic stay pursuant to section 362 of the Bankruptcy Code,
 except as previously modified by the Bankruptcy Court, shall remain in effect until the Effective
 Date of the Plan as to the Debtors, the Estate and all Assets. As of the Effective Date, the
 automatic stay shall be replaced by the Plan Injunction.

                                    ARTICLE XV.
               JURISDICTION OF COURTS AND MODIFICATIONS TO THE PLAN

 15.01. Retention of Jurisdiction. Pursuant to sections 1334 and 157 of title 28 of the United
 States Code, the Bankruptcy Court shall retain exclusive jurisdiction of all matters arising in,
 arising under, and related to the Chapter 11 Cases and the Plan, to the full extent allowed or
 permitted by applicable law, including without limitation for the purposes of invoking sections
 105(a) and 1142 of the Bankruptcy Code, and for, among other things, the following purposes:

        (a)     To hear and determine any and all objections to, or applications or motions
 concerning, the allowance of Claims or the allowance, classification, priority, compromise,
 estimation, or payment of any Administrative Expense;

        (b)    To hear and determine any and all applications for payment of fees and expenses
 pursuant to this Plan to any Estate Professional pursuant to sections 330 or 503 of the
 Bankruptcy Code, or for payment of any other fees or expenses authorized to be paid or
 reimbursed under this Plan, and any and all objections thereto;

         (c)   To hear and determine pending applications for the rejection, assumption, or
 assumption and assignment of Executory Contracts and Unexpired Leases and the allowance
 of Claims resulting therefrom, and to determine the rights of any party in respect to the
 assumption or rejection of any Executory Contract or Unexpired Lease;

        (d)   To hear and determine any and all adversary proceedings, applications, or
 contested matters, including relating to the allowance of any Claim;

         (e)     To hear and determine all controversies, disputes, and suits which may arise in
 connection with the execution, interpretation, implementation, consummation, or enforcement of
 the Plan or in connection with the enforcement of any remedies made available under the Plan,
 including without limitation, (i) adjudication of all rights, interests or disputes relating to any of
 the Assets, (ii) the valuation of all Collateral, (iii) the determination of the validity of any Lien or
 claimed right of offset or recoupment; and (iv) determinations of Objections to Contested
 Claims;

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         (f)   To liquidate and administer any disputed, contingent, or unliquidated Claims,
 including the Allowance of all Contested Claims;

        (g)    To administer Distributions to holders of Allowed Claims as provided herein;

        (h)   To enter and implement such orders as may be appropriate in the event the
 Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

        (i)    To enable the Reorganized Debtor to prosecute any and all proceedings which
 may be brought to set aside transfers, Liens or encumbrances and to recover any transfers,
 Assets, properties or damages to which the Reorganized Debtor may be entitled under
 applicable provisions of the Bankruptcy Code or any other federal, state or local laws, including
 causes of action, controversies, disputes and conflicts between the Reorganized Debtor and
 any other party, including but not limited to, any causes of action or Objections to Claims,
 preferences or fraudulent transfers and obligations or equitable subordination;

        (j)   To consider any modification of the Plan pursuant to section 1127 of the
 Bankruptcy Code, to cure any defect or omission, or reconcile any inconsistency in any order of
 the Bankruptcy Court, including, without limitation the Confirmation Order;

        (k)    To enforce the discharge and Plan Injunction against any Person;

         (l)    To enter and implement all such orders as may be necessary or appropriate to
 execute, interpret, construe, implement, consummate, or enforce the terms and conditions of
 this Plan and the transactions required or contemplated pursuant thereto;

        (m) To hear and determine any motion or application which the Reorganized Debtor is
 required or allowed to commence before the Bankruptcy Court pursuant to this Plan;

       (n)     To hear and determine any other matter not inconsistent with the Bankruptcy
 Code and title 28 of the United States Code that may arise in connection with or related to the
 Plan;

        (o)    To determine proceedings pursuant to section 505 of the Bankruptcy Code;

        (p)    To enter a final decree closing the Chapter 11 Cases; and

        (q)    To determine any other matter or dispute relating to the Estate, the Estate Claims,
 the Estate Defenses, the Assets, or the Distributions by the Reorganized Debtor.

 15.02. Abstention and Other Courts. If the Bankruptcy Court abstains from exercising, or
 declines to exercise, jurisdiction or is otherwise without jurisdiction over any matter arising out of
 or relating to the Chapter 11 Cases, this Article of the Plan shall have no effect upon and shall
 not control, prohibit or limit the exercise of jurisdiction by any other court having competent
 jurisdiction with respect to such matter.

 15.03. Non-Material Modifications. The Reorganized Debtor may, with the approval of the
 Bankruptcy Court and without notice to all holders of Claims and Interests, correct any defect,
 omission, or inconsistency in the Plan in such manner and to such extent as may be necessary
 or desirable. The Reorganized Debtor may undertake such nonmaterial modification pursuant


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 to this section insofar as it does not adversely change the treatment of the Claim of any Creditor
 or the Interest of any Interest holder who has not accepted in writing the modification.

 15.04. Material Modifications. Modifications of this Plan may be proposed in writing by the
 Chapter 11 Trustee at any time before confirmation, provided that this Plan, as modified, meets
 the requirements of sections 1122 and 1123 of the Bankruptcy Code, and the Chapter 11
 Trustee shall have complied with section 1125 of the Bankruptcy Code. This Plan may be
 modified at any time after confirmation and before its Substantial Consummation, provided that
 the Plan, as modified, meets the requirements of sections 1122 and 1123 of the Bankruptcy
 Code, and the Bankruptcy Court, after notice and a hearing, confirms the Plan, as modified,
 under section 1129 of the Bankruptcy Code, and the circumstances warrant such modification.
 A holder of a Claim or Interest that has accepted or rejected this Plan shall be deemed to have
 accepted or rejected, as the case may be, such Plan as modified, unless, within the time fixed
 by the Bankruptcy Court, such holder changes its previous acceptance or rejection.

                                        ARTICLE XVI.
                                 MISCELLANEOUS PROVISIONS

 16.01. Severability. Should the Bankruptcy Court determine any provision of the Plan is
 unenforceable either on its face or as applied to any Claim or Interest or transaction, the
 Reorganized Debtor may modify the Plan so that any such provision shall not be applicable to
 the holder of any Claim or Interest. Such a determination of unenforceability shall not (a) limit or
 affect the enforceability and operative effect of any other provision of the Plan or (b) require the
 resolicitation of any acceptance or rejection of the Plan.

 16.02. Oral Agreements; Modification of Plan; Oral Representations or Inducements. The
 terms of the Plan, Disclosure Statement and Confirmation Order may only be amended in
 writing and may not be changed, contradicted or varied by any oral statement, agreement,
 warranty or representation. None of the Debtors, any representative of the Estate, including
 Robin Phelan in his capacity as Chapter 11 Trustee, nor their attorneys have made any
 representation, warranty, promise or inducement relating to the Plan or its confirmation except
 as expressly set forth in this Plan, the Disclosure Statement, or the Confirmation Order or other
 order of the Bankruptcy Court.

 16.03. Waiver. The Reorganized Debtor shall not be deemed to have waived any right, power
 or privilege pursuant to the Plan unless the waiver is in writing and signed by the Reorganized
 Debtor. There shall be no waiver by implication, course of conduct or dealing, or through any
 delay or inaction by the Reorganized Debtor, of any right pursuant to the Plan, including the
 provisions of this anti-waiver section. The waiver of any right under the Plan shall not act as a
 waiver of any other or subsequent right, power or privilege.

 16.04. Notice. Any notice or communication required or permitted by the Plan shall be given,
 made or sent as follows:

         (a)   If to a Creditor, notice may be given as follows: (i) if the Creditor has not filed a
 proof of Claim, then to the address reflected in the Schedules, or (ii) if the Creditor has filed a
 proof of Claim, then to the address reflected in the proof of Claim.

        (b)    If to the Reorganized Debtor, notice shall be sent to the following addresses:



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              Jeff P. Prostok                       Josh Terry
              Suzanne K. Rosen                      c/o Brian P. Shaw
              Forshey Prostok LLP                   Rogge Dunn Group, PC
              777 Main Street, Suite 1290           1201 Elm Street, Suite 5200
              Fort Worth, Texas 76102               Dallas, Texas 75270

         (c)    Any Creditor desiring to change its address for the purpose of notice may do so
 by giving notice to the Reorganized Debtor of its new address in accordance with the terms of
 this section.

         (d)   Any notice given, made or sent as set forth above shall be effective upon being (i)
 deposited in the United States Mail, postage prepaid, addressed to the addressee at the
 address as set forth above; (ii) delivered by hand or messenger to the addressee at the address
 set forth above; (iii) telecopied to the addressee as set forth above, with a hard confirmation
 copy being immediately sent through the United States Mail; or (iv) delivered for transmission to
 an expedited or overnight delivery service such as FedEx.

 16.05. Compliance with All Applicable Laws. If notified by any governmental authority that it is
 in violation of any applicable law, rule, regulation, or order of such governmental authority
 relating to its business, the Reorganized Debtor shall comply with such law, rule, regulation, or
 order; provided, however, that nothing contained herein shall require such compliance if the
 legality or applicability of any such requirement is being contested in good faith in appropriate
 proceedings and, if appropriate, an adequate Reserve has been set aside on the books of the
 Reorganized Debtor.

 16.06. Duties to Creditors; Exculpation. Neither the Chapter 11 Trustee nor any agent,
 representative, accountant, financial advisor, attorney, shareholder, officer, affiliate, member or
 employee of the Chapter 11 Trustee or the Debtors, including but not limited to Estate
 Professionals (collectively, the “Exculpated Parties”), shall ever owe any duty to any Person
 (including any Creditor) other than the duties owed to the Debtors’ bankruptcy Estate, for any
 act, omission, or event in connection with, or arising out of, or relating to, any of the following:
 (a) the Debtors’ Chapter 11 Cases, including all matters or actions in connection with or relating
 to the administration of the Estate, (b) the Plan, including the proposal, negotiation, confirmation
 and consummation of the Plan, or (c) any act or omission relating to the administration of the
 Plan after the Effective Date. All such Exculpated Parties shall be fully exculpated and released
 from any and all claims and causes of action by any Person, known or unknown, in connection
 with, or arising out of, or relating to, any of the following: (x) the Debtors’ Chapter 11 Cases,
 including all matters or actions in connection with or relating to the administration of the Estate,
 (y) the Plan, including the proposal, negotiation, confirmation and consummation of the Plan, or
 (z) any act or omission relating to the administration of the Plan after the Effective Date, except
 for claims and causes of action arising out of such Exculpated Party’s gross negligence or willful
 misconduct.

 16.07. Binding Effect. The Plan shall be binding upon, and shall inure to the benefit of, the
 Reorganized Debtor, the holders of the Claims or Liens, and their respective successors-in-
 interest and assigns.

 16.08. Governing Law, Interpretation. Unless a rule of law or procedure supplied by federal law
 (including the Bankruptcy Code and Bankruptcy Rules) is applicable, the internal laws of the
 State of Texas shall govern the construction and implementation of the Plan and any Plan


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 Documents without regard to conflicts of law. The Plan shall control any inconsistent term or
 provision of any other Plan Documents.

 16.09. Payment of Statutory Fees. All accrued U.S. Trustee Fees as of the Confirmation Date
 shall be paid by the Reorganized Debtor on or as soon as practicable after the Effective Date,
 and thereafter shall be paid by the Reorganized Debtor as such statutory fees become due and
 payable.

 16.10. Filing of Additional Documents. On or before Substantial Consummation of the Plan, the
 Reorganized Debtor may file with the Bankruptcy Court such agreements and other documents
 as may be necessary or appropriate to effectuate and further evidence the terms and conditions
 of the Plan.

 16.11. Computation of Time. Bankruptcy Rule 9006 shall apply to the calculation of all time
 periods pursuant to this Plan. If the final day for any Distribution, performance, act or event
 under the Plan is not a Business Day, then the time for making or performing such Distribution,
 performance, act or event shall be extended to the next Business Day. Any payment or
 Distribution required to be made hereunder on a day other than a Business Day shall be due
 and payable on the next succeeding Business Day.

 16.12. Elections by the Reorganized Debtor. Any right of election or choice granted to the
 Reorganized Debtor under this Plan may be exercised, at the Reorganized Debtor’s election,
 separately as to each Claim, Creditor or Person.

 16.13. Release of Liens. Except as otherwise expressly provided in this Plan or the
 Confirmation Order, all Liens against any of the Assets transferred to and vested in the
 Reorganized Debtor shall be deemed to be released, terminated and nullified without the
 necessity of any order by the Bankruptcy Court other than the Confirmation Order.

 16.14. Rates. The Plan does not provide for the change of any rate that is within the jurisdiction
 of any governmental regulatory commission after the occurrence of the Effective Date.

 16.15. Compliance with Tax Requirements. In connection with the Plan, the Reorganized
 Debtor shall comply with all withholding and reporting requirements imposed by federal, state
 and local Taxing Authorities and all Distributions under the Plan shall be subject to such
 withholding and reporting requirements. Notwithstanding the above, each holder of an Allowed
 Claim or Interest that is to receive a Distribution under the Plan shall have the sole and
 exclusive responsibility for the satisfaction and payment of any tax obligations imposed by any
 governmental unit, including income, withholding and other tax obligations, on account of such
 Distribution under the Plan.

 16.16. Notice of Occurrence of the Effective Date. Promptly after occurrence of the Effective
 Date, the Reorganized Debtor, as directed by the Bankruptcy Court, shall serve on all known
 parties-in-interest and holders of Claims and Interests, notice of the occurrence of the Effective
 Date.

 16.17. Notice of Entry of Confirmation Order. Promptly after entry of the Confirmation Order,
 the Chapter 11 Trustee, as directed by the Bankruptcy Court in the Confirmation Order, shall
 serve on all known parties-in-interest and holders of Claims and Interests, notice of entry of the
 Confirmation Order.


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           Dated: October 25, 2018.
                                                                Respectfully submitted,



                                                                ACIS CAPITAL MANAGEMENT, L.P.


                                                                By: /s/ Robin Phelan
                                                                   Robin Phelan
                                                                   Chapter 11 Trustee


                                                                ACIS CAPITAL MANAGMENET GP, LLC


                                                                By:/s/ Robin Phelan
                                                                    Robin Phelan
                                                                    Chapter 11 Trustee


  APPROVED:                                                            APPROVED:

  /s/ Jeff P. Prostok                                                  /s/ Rahkee V. Patel
  Jeff P. Prostok – State Bar No. 16352500                             Rakhee V. Patel – State Bar No. 00797213
  J. Robert Forshey – State Bar No. 07264200                           Phillip Lamberson – State Bar No. 00794134
  Suzanne K. Rosen – State Bar No. 00798518                            Joe Wielebinski – State Bar No. 21432400
  Matthew G. Maben – State Bar No. 24037008                            Annmarie Chiarello – State Bar No. 24097496
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  Telephone: (817) 877-8855                                            Dallas, Texas 75201
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  bforshey@forsheyprostok.com                                          rpatel@winstead.com
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                                                                       achiarello@winstead.com
  COUNSEL FOR ROBIN PHELAN,
  CHAPTER 11 TRUSTEE                                                   SPECIAL COUNSEL FOR ROBIN PHELAN,
                                                                       CHAPTER 11 TRUSTEE



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                            EXHIBIT A
     TO THIRD AMENDED JOINT PLAN FOR ACIS
       CAPITAL MANAGEMENT, LP AND ACIS
         CAPITAL MANAGEMENT GP, LLC

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                                       EXHIBIT “A”
                                            to
     Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC

         1.      Defined Terms. This Exhibit “A” constitutes an integral part of the Plan of which it
 is a part. Defined terms in the Plan are to be given the same meaning in this Exhibit “A”. The
 rules of construction set forth in Article I.B. of the Plan shall likewise apply to this Exhibit “A”.

         2.      Estate Claims Reserved, Retained and Preserved. All Estate Claims are hereby
 reserved, retained and preserved, and shall all be transferred to, and vested in, the
 Reorganized Debtor pursuant to this Plan, and shall include without limitation all of the Estate
 Claims described below. In reserving, retaining, and preserving Estate Claims against any
 named Person or category of Persons, it is the intent of this Plan to so reserve, retain, and
 preserve any and all Estate Claim against each such Person or category of Persons, including
 all such Estate Claims pursuant to any applicable common law, based on any contract or
 agreement or based upon any law, statute or regulation of any political entity, including the
 United States and any state or political subdivision thereof, as well as all applicable remedies,
 whether legal or equitable. Without limiting the generality of the foregoing, the reservation,
 retention, and preservation of Estate Claims against any Person, and the term “Estate Claims,”
 shall encompass all Estate Claims against any such Person, including without limitation, all such
 Estate Claims for breach of contract, all rights to enforce any contract, any form of estoppel,
 fraud, constructive fraud, abuse of process, malicious prosecution, defamation, libel, slander,
 conversion, trespass, intentional infliction of emotional distress or other harm, negligence, gross
 negligence, breach of any duty owed under either applicable law or any contract, breach of any
 fiduciary duty or duty of loyalty or due care, aiding and/or abetting breach of fiduciary duty,
 aiding and/or abetting breach of duty of loyalty or due care, alter ego, veil piercing, self-dealing,
 usurpation of corporate opportunity, ultra vires, turnover of Estate Assets, unauthorized use of
 Estate Assets, including intellectual property rights or Assets owned by the Debtors or Chapter
 11 Trustee, quantum merit, tortious interference, duress, unconscionability, undue influence,
 and unjust enrichment, as well as any cause of action for conspiracy to commit any unlawful act,
 aiding and/or abetting any such unlawful act, or assisting, encouraging, and/or participating in
 any such unlawful act, or claims arising from or relating to the filing of the involuntary bankruptcy
 petitions against the Debtors.

         3.      Highland Claims. All Estate Claims against Highland are reserved, retained and
 preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
 such Estate Claims asserted by the Chapter 11 Trustee in Adversary Proceeding No. 18-03078-
 sgj (the “Highland Adversary”) and Adversary Proceeding No. 18-03212-sgj (the “Trustee’s
 Adversary”). The Estate Claims against Highland shall include all Estate Claims set forth in
 paragraph 2 above, including without limitation, the following:

               (a)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
 could be asserted based on the facts or transactions alleged in, the Highland Adversary;

               (b)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
 could be asserted based on the facts or transactions alleged in, the Trustee’s Adversary;

                (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
 Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
 transactions alleged in any other adversary proceedings or Claim Objections filed by the
 Chapter 11 Trustee or Estate;

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               (d)    All Avoidance Actions against Highland, including any claims to avoid and
 recover amounts transferred by the Debtors to Highland under the Shared Services Agreement
 or Sub-Advisory Agreement;

                  (e)     All Claims for breach of the Shared Services Agreement or Sub-Advisory
 Agreement;

                 (f)      All Claims against Highland for amounts paid by the Debtors to Highland
 under the Shared Services Agreement and Sub-Advisory Agreement, including any Claim that
 Highland overcharged Acis LP for services under such agreements, charged excessive fees in
 violation of Acis LP’s limited partnership agreement and/or Acis GP’s limited liability company
 agreement, and/or that the Shared Services Agreement and Sub-Advisory Agreement or any
 related or predecessor agreements are void or voidable based on ultra vires or any other
 theories of avoidance and recovery, including turnover, conversion and Avoidance Actions
 under the Bankruptcy Code;

                  (g)     All Claims for breach of the PMAs or the Indentures;

                (h)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
 to the Debtors or Chapter 11 Trustee;

                 (i)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
 duty loyalty or due care, or any other unlawful act;

                (j)    All Clams for usurpation of a corporate opportunity belonging to either of
 the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

              (k)   All claims for tortious interference, including in relation to Universal-
 Investment-Luxembourg S.A. and BayVK R2 Lux S.A., SICAV-FIS;

                 (l)    All Claims against Highland for the turnover of Estate Assets, including
 Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
 Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
 by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
 relating to the Debtors’ property or financial affairs;

                (m)      All Claims against Highland for the unauthorized use of Estate Assets
 including, without limitation, any intellectual property rights or Assets owned by the Debtors or
 Estate;

               (n)     All Claims, rights or remedies for Equitable Subordination or
 Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
 Estate;

                 (o)   All Claims based on alter ego or rights to pierce the corporate veil of Acis
 LP as to any Person, including as against Highland or any Affiliates thereof, James D. Dondero,
 Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
 control of Acis LP;

                (p)   All Claims based on alter ego or rights to pierce the corporate veil of
 Highland as to any Person, including as against any Affiliates of Highland, James D. Dondero,
 Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in

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 control of Highland, and,

                (q)    All Claims for conspiracy to commit any unlawful act, aiding and/or
 abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
 unlawful act.

        4.      HCLOF Claims. All Estate Claims against HCLOF are reserved, retained and
 preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
 such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
 Trustee’s Adversary. The Estate Claims against HCLOF shall include all Estate Claims set forth
 in paragraph 2 above, including without limitation, the following:

                (a)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
 Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
 Adversary;

                (b)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
 Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
 Adversary;

                (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
 Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
 transactions alleged in any other adversary proceedings or Claim Objections filed by the
 Chapter 11 Trustee or Estate;

                  (d)     All Avoidance Actions against HCLOF;

                  (e)     All Claims for breach of the PMAs or the Indentures;

                (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
 to the Debtors or Chapter 11 Trustee;

                 (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
 duty loyalty or due care, or any other unlawful act;

                (h)    All Clams for usurpation of a corporate opportunity belonging to either of
 the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (i)    All Claims against HCLOF for the turnover of Estate Assets, including
 Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
 Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
 by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
 relating to the Debtors’ property or financial affairs;

                (j)      All Claims against HCLOF for the unauthorized use of Estate Assets
 including, without limitation, any intellectual property rights or Assets owned by the Debtors or
 Estate;

               (k)     All Claims, rights or remedies for Equitable Subordination or
 Recharacterization of any Claim by HCLOF against the Debtors, Chapter 11 Trustee, or Estate;

                  (l)     All Claims based on alter ego or rights to pierce the corporate veil of

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 HCLOF as to any Person, including as against any Affiliates of HCLOF or Highland, William
 Scott, Heather Bestwick, or any other officers, directors, equity interest holders, or Persons
 otherwise in control of HCLOF; and,

                (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
 abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
 unlawful act.

         5.      Highland HCF Advisor, Ltd. Claims. All Estate Claims against Highland HCF
 Advisor, Ltd. (“Highland HCF”) are reserved, retained and preserved for the benefit of the Estate
 and Reorganized Debtor, including without limitation all such Estate Claims asserted by the
 Chapter 11 Trustee in the Highland Adversary. The Estate Claims against Highland HCF shall
 include all Estate Claims set forth in paragraph 2 above, including without limitation, the
 following:

               (a)      All such Claims against Highland HCF asserted by the Chapter 11
 Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
 the Highland Adversary;

                (b)     All such Claims against Highland HCF asserted by the Chapter 11
 Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
 the Trustee’s Adversary;

                (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
 Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
 transactions alleged in any other adversary proceedings or Claim Objections filed by the
 Chapter 11 Trustee or Estate;

                  (d)     All Avoidance Actions against Highland HCF;

                (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
 to the Debtors or Chapter 11 Trustee;

                 (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
 duty loyalty or due care, or any other unlawful act;

                (g)    All Clams for usurpation of a corporate opportunity belonging to either of
 the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                (h)     All Claims against Highland HCF for the turnover of Estate Assets,
 including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
 of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
 owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
 papers relating to the Debtors’ property or financial affairs;

                (i)    All Claims against Highland HCF for the unauthorized use of Estate
 Assets including, without limitation, any intellectual property rights or Assets owned by the
 Debtors or Estate;

               (j)     All Claims, rights or remedies for Equitable Subordination or
 Recharacterization of any Claim by Highland HCF against the Debtors, Chapter 11 Trustee, or
 Estate;

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                (k)    All Claims based on alter ego or rights to pierce the corporate veil of
 Highland HCF as to any Person, including as against any Affiliates of Highland HCF or
 Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
 of Highland HCF; and,

                (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
 abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
 unlawful act.

          6.      Highland CLO Management, Ltd. Claims. All Estate Claims against Highland
 CLO Management, Ltd. (“Highland CLOM”) are reserved, retained and preserved for the benefit
 of the Estate and Reorganized Debtor, including without limitation all such Estate Claims
 asserted by the Chapter 11 Trustee in the Highland Adversary. The Estate Claims against
 Highland CLOM shall include all Estate Claims set forth in paragraph 2 above, including without
 limitation the following:

               (a)      All such Claims against Highland CLOM asserted by the Chapter 11
 Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
 the Highland Adversary;

                (b)     All such Claims against Highland CLOM asserted by the Chapter 11
 Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
 the Trustee’s Adversary;

                (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
 Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
 transactions alleged in any other adversary proceedings or Claim Objections filed by the
 Chapter 11 Trustee or Estate;

                  (d)     All Avoidance Actions against Highland CLOM;

                (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
 to the Debtors or Chapter 11 Trustee;

                 (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
 duty loyalty or due care, or any other unlawful act;

                (g)    All Clams for usurpation of a corporate opportunity belonging to either of
 the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                (h)     All Claims against Highland CLOM for the turnover of Estate Assets,
 including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
 of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
 owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
 papers relating to the Debtors’ property or financial affairs;

                (i)    All Claims against Highland CLOM for the unauthorized use of Estate
 Assets including, without limitation, any intellectual property rights or Assets owned by the
 Debtors or Estate;

               (j)     All Claims, rights or remedies for Equitable Subordination or
 Recharacterization of any Claim by Highland CLOM against the Debtors, Chapter 11 Trustee, or

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 Estate;

                (k)    All Claims based on alter ego or rights to pierce the corporate veil of
 Highland CLOM as to any Person, including as against any Affiliates of Highland CLOM or
 Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
 of Highland CLOM; and,

                (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
 abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
 unlawful act.

         7.      CLO Holdco, Ltd. Claims. All Estate Claims against CLO Holdco, Ltd. (“CLO
 Holdco”) are reserved, retained and preserved for the benefit of the Estate and Reorganized
 Debtor, including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in
 the Trustee’s Adversary. The Estate Claims against CLO Holdco shall include all Estate Claims
 set forth in paragraph 2 above, including without limitation, the following:

                 (a)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
 or Estate in, or which could be asserted based on the facts or transactions alleged in, the
 Highland Adversary;

                 (b)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
 or Estate in, or which could be asserted based on the facts or transactions alleged in, the
 Trustee’s Adversary;

                (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
 Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
 transactions alleged in any other adversary proceedings or Claim Objections filed by the
 Chapter 11 Trustee or Estate;

                  (d)     All Avoidance Actions against CLO Holdco;

                (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
 to the Debtors or Chapter 11 Trustee;

                 (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
 duty loyalty or due care, or any other unlawful act;

                (g)    All Clams for usurpation of a corporate opportunity belonging to either of
 the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                (h)     All Claims against CLO Holdco for the turnover of Estate Assets,
 including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
 of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
 owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
 papers relating to the Debtors’ property or financial affairs;

                (i)      All Claims against CLO Holdco for the unauthorized use of Estate Assets
 including, without limitation, any intellectual property rights or Assets owned by the Debtors or
 Estate;



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               (j)     All Claims, rights or remedies for Equitable Subordination or
 Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
 Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of CLO
 Holdco as to any Person, including as against any Affiliates of CLO Holdco or Highland, or any
 other officers, directors, equity interest holders, or Persons otherwise in control of CLO Holdco;
 and,

                (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
 abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
 unlawful act.

         8.     Neutra, Ltd. Claims. All Estate Claims against Neutra, Ltd. (“Neutra”) are
 reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
 including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
 Trustee’s Adversary. The Estate Claims against Neutra shall include all Estate Claims set forth
 in paragraph 2 above, including without limitation the following:

                (a)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
 Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
 Adversary;

                (b)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
 Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
 Adversary;

                (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
 Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
 transactions alleged in any other adversary proceedings or Claim Objections filed by the
 Chapter 11 Trustee or Estate;

                  (d)     All Avoidance Actions against Neutra;

               (e)    All Claims for breach of fiduciary or duty of loyalty or due care owed to the
 Debtors or Chapter 11 Trustee;

                 (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
 duty loyalty or due care, or any other unlawful act;

                (g)     All Clams for usurpation of a corporate opportunity belonging to either of
 the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)    All Claims against Neutra for the turnover of Estate Assets, including
 Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
 Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
 by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
 relating to the Debtors’ property or financial affairs;

                (i)      All Claims against Neutra for the unauthorized use of Estate Assets
 including, without limitation, any intellectual property rights or Assets owned by the Debtors or
 Estate;

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               (j)     All Claims, rights or remedies for Equitable Subordination or
 Recharacterization of any Claim by Neutra against the Debtors, Chapter 11 Trustee, or Estate;

                (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
 LP as to any Person, including as against Neutra, Highland, or any Affiliates thereof, James D.
 Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
 otherwise in control of Acis LP;

                  (l)    All Claims based on alter ego or rights to pierce the corporate veil of
 Neutra as to any Person, including as against any Affiliates of Neutra or Highland, or any other
 officers, directors, equity interest holders, or Persons otherwise in control of Neutra; and,

                (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
 abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
 unlawful act.

         9.     Claims against Issuers, Co-Issuers and Indenture Trustee. All Estate Claims
 against CLO-3, CLO-4, CLO-5, and CLO-6 (collectively, the “Issuers”), Acis CLO 2014-3 LLC,
 Acis CLO 2014-4 LLC, Acis CLO 2014-5 LLC, and Acis CLO 2015-6 LLC (collectively, the "Co-
 Issuers"), and the Indenture Trustee are reserved, retained and preserved for the benefit of the
 Estate and Reorganized Debtor, including without limitation all such Estate Claims asserted by
 the Chapter 11 Trustee in the Trustee’s Adversary. The Estate Claims against the Issuers, Co-
 Issuers and/or Indenture Trustee shall include all Estate Claims set forth in paragraph 2 above,
 including without limitation the following:

                (a)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
 asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
 or transactions alleged in, the Highland Adversary;

                (b)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
 asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
 or transactions alleged in, the Trustee’s Adversary;

                (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
 Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
 transactions alleged in any other adversary proceedings or Claim Objections filed by the
 Chapter 11 Trustee or Estate;

                  (d)     All Avoidance Actions against the Issuers, Co-Issuers and/or Indenture
 Trustee;

               (e)   All Claims for breach of the Indentures, PMAs or any other agreements
 between Acis LP and the Issuers, Co-Issuers, and/or Indenture Trustee;

                (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
 to the Debtors or Chapter 11 Trustee;

                 (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
 duty loyalty or due care, or any other unlawful act;

                (h)    All Clams for usurpation of a corporate opportunity belonging to either of
 the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

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                 (i)      All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
 the turnover of Estate Assets, including Estate property that the Chapter 11 Trustee may use,
 sell or lease under section 363 of the Bankruptcy Code including, without limitation, any
 intellectual property rights or Assets owned by the Debtors or Estate, as well as the turnover of
 any books, documents, records and papers relating to the Debtors’ property or financial affairs;

                (j)   All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
 the unauthorized use of Estate Assets including, without limitation, any intellectual property
 rights or Assets owned by the Debtors or Estate;

                (k)    All Claims, rights or remedies for Equitable Subordination or
 Recharacterization of any Claim by the Issuers or Co-Issuers against the Debtors, Chapter 11
 Trustee, or Estate; and,

                (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
 abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
 unlawful act.

          10.     Highland Affiliate Claims. All Estate Claims against any Affiliates of Highland are
 reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
 including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
 Highland Adversary and the Trustee’s Adversary. The Estate Claims against any Affiliates of
 Highland shall include all Estate Claims set forth in paragraph 2 above, including without
 limitation the following:

               (a)      All such Claims against any Highland Affiliate asserted by the Chapter 11
 Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
 the Highland Adversary;

                (b)     All such Claims against any Highland Affiliate asserted by the Chapter 11
 Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
 the Trustee’s Adversary;

                (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
 Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
 transactions alleged in any other adversary proceedings or Claim Objections filed by the
 Chapter 11 Trustee or Estate;

                  (d)     All Avoidance Actions against any Highland Affiliate;

                (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
 to the Debtors or Chapter 11 Trustee;

                 (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
 duty loyalty or due care, or any other unlawful act;

                (g)    All Clams for usurpation of a corporate opportunity belonging to either of
 the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                (h)    All Claims against any Highland Affiliate for the turnover of Estate Assets,
 including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
 of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets

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 owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
 papers relating to the Debtors’ property or financial affairs;

                (i)     All Claims against any Highland Affiliate for the unauthorized use of
 Estate Assets including, without limitation, any intellectual property rights or Assets owned by
 the Debtors or Estate;

                (j)    All Claims, rights or remedies for Equitable Subordination or
 Recharacterization of any Claim by any Highland Affiliate against the Debtors, Chapter 11
 Trustee, or Estate;

                (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
 LP as to any Person, including as against Highland, Neutra, or any Affiliates thereof, James D.
 Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
 otherwise in control of Acis LP;

                  (l)    All Claims based on alter ego or rights to pierce the corporate veil of any
 Highland Affiliate as to any Person, including as against any other Affiliates of Highland or any
 officers, directors, equity interest holders, or Persons otherwise in control of any Highland
 Affiliates; and,

                (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
 abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
 unlawful act.

         11.     Dondero Claims. All Estate Claims as defined in paragraph 2 above against
 James D. Dondero, individually, are hereby reserved, retained and preserved for the benefit of
 the Estate and Reorganized Debtor, including without limitation all such Estate Claims against
 James D. Dondero for fraud, constructive fraud, breach of fiduciary duty, breach of duty of
 loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
 duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
 opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
 interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
 S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
 breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
 Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
 agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
 assisting, encouraging, and/or participating in any unlawful act, as well as any Claim to pierce
 the corporate veil of any entity to hold James D. Dondero individually liable.

           12.  Okada Claims. All Estate Claims as defined in paragraph 2 above against Mark
 K. Okada, individually, are hereby reserved, retained and preserved for the benefit of the Estate
 and Reorganized Debtor, including without limitation all such Estate Claims against Mark K.
 Okada for fraud, constructive fraud, breach of fiduciary duty, breach of duty of loyalty or due
 care, aiding and abetting breach of fiduciary duty, self-dealing, ultra vires, conversion,
 usurpation of corporate opportunity, including in relation to Acis CLO 2017-7, Ltd and any other
 Acis CLOs, tortious interference, including in relation to Universal-Investment-Luxembourg S.A.
 and BayVK R2 Lux S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all
 Avoidance Actions, breach of contract, breach of the Shared Services Agreement, breach of the
 Sub-Advisory Agreement, breach of the Debtors’ limited partnership agreement or limited
 liability company agreement, conspiracy to commit any unlawful act, aiding and abetting any


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 unlawful act, and assisting, encouraging, and participating in any unlawful act, as well as any
 Claim to pierce the corporate veil of any entity to hold Mark K. Okada individually liable.

          13.    Preference Claims. All Avoidance Actions pursuant to section 547 of the
 Bankruptcy Code against any Person are hereby reserved, retained and preserved for the
 benefit of the Estate and Reorganized Debtor for any payment made to any Person by either of
 the Debtors within ninety (90) days of the Petition Date (which was January 30, 2018), or made
 by either of the Debtors to any insider within one (1) year of the Petition Date. A non-exhaustive
 list of Persons who are believed to have received payments from either of the Debtors during
 the 90-day preference period, and the one-year preference period for Insiders, is attached to
 this Exhibit “A” as Schedule “1”. The Plan reserves, retains and preserves for the benefit of
 the Estate and Reorganized Debtor all potential Claims arising out of or relating to the transfers
 reflected in Schedule “1”, including all Avoidance Actions pursuant to section 547 of the
 Bankruptcy Code. All rights and remedies are also reserved. retained and preserved with
 respect to the transfers reflected in Schedule “1” pursuant to section 550 of the Bankruptcy
 Code.

                 Schedule “1” reflects transfers made by the Debtors during the 90 days prior to
 the Petition Date and transfers made by the Debtors to any insiders within one (1) year of the
 Petition Date. While the Plan reserves, retains and preserves all Avoidance Actions relating to
 the transfers reflected in Schedule “1”, the Chapter 11 Trustee recognizes that certain of these
 transfers may not constitute a preferential transfer pursuant to section 547(b) of the Bankruptcy
 Code as a transfer made in the ordinary course of business transactions or based upon new
 value subsequently given by the transferee. Consequently, the listing of a payment on
 Schedule “1” does not necessarily mean that a transferee will ever be sued to avoid and
 recover the payment, the transfer, or the value thereof, but only that the Plan reserves, retains
 and preserves all rights (including Avoidance Actions) as to that payment.

         14.     Claims Against Officers, Managers and Members. All Estate Claims as defined
 in paragraph 2 above are hereby reserved, retained and preserved for the benefit of the Estate
 and Reorganized Debtor against all present and past officers, employees, members and
 managers of the Debtors, including all such Estate Causes of Action based on breach of
 fiduciary duty, aiding and abetting breach of fiduciary duty, breach of duty of loyalty or due care,
 aiding and abetting breach of duty of loyalty or due care, self-dealing, usurpation of corporate
 opportunity, gross negligence or conspiracy. Without limiting the generality of the foregoing, this
 shall include all D&O Claims as against any present or former officer, director, employee,
 member, manager, or partner.

          15.    Retention of Claims Against Specific Persons or Categories of Persons. In
 addition to the foregoing, all Estate Claims as defined in paragraph 2 above are hereby
 reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor against
 the following Persons:

                  (a)     William Scott;

                  (b)     Heather Bestwick;

              (c)    Any other Person who may be so named at a later date by the
 Reorganized Debtor.




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         16.     Counterclaims. All Estate Claims as defined in paragraph 2 above are reserved,
 retained and preserved for the benefit of the Estate and Reorganized Debtor both as a basis for
 an affirmative recovery against the Person against whom such Claims are asserted and as a
 counterclaim or offset against any Person who asserts a Claim against the Estate or
 Reorganized Debtor.

         17.     Piercing the Corporate Veil. With respect to all Estate Claims against any
 Person, all rights to pierce or ignore the corporate veil are hereby reserved, retained and
 preserved for the benefit of the Estate and the Reorganized Debtor. Without limiting the
 generality of the foregoing, this shall include: (a) any right to pierce the corporate veil, including
 reverse piercing, on any theory or basis, including alter ego or any theory of sham to perpetrate
 a fraud, and (b) any Claim or basis to pierce the corporate veil of any entity with respect to
 establishing personal liability against James D. Dondero or Mark K. Okada.

        18.      Avoidance Actions. All Avoidance Actions are hereby reserved, retained and
 preserved as to all Persons. The reservation, retention and preservation of such Avoidance
 Actions shall include the reservation, retention and preservation for the benefit of the Estate and
 Reorganized Debtor of all rights and remedies pursuant to section 550 of the Bankruptcy Code.

          19.    Estate Defenses. All Estate Defenses are hereby reserved, retained and
 preserved in favor of the Estate and Reorganized Debtor as against any Person asserting any
 Claim against the Estate. This includes asserting all Estate Claims as an offset to, or
 counterclaim or right of recoupment against, any Person asserting a Claim against the Estate.
 All defenses and affirmative defenses pursuant to applicable law are hereby reserved, retained
 and preserved for the benefit of the Estate and the Reorganized Debtor, including without
 limitation, accord and satisfaction, assumption of risk, contributory negligence, duress, estoppel,
 failure of consideration, fraud, illegality, laches, license, payment, release, res judicata,
 collateral estoppel, statute of frauds, statute of limitations or repose, discovery rule, adverse
 domination doctrine or similar doctrines, set off, recoupment, waiver, and all other defenses to
 Claims under the Bankruptcy Code, including under sections 502(b)(4) and 502(d).

         20.     Equitable Subordination. All rights or remedies for Equitable Subordination are
 hereby reserved, retained and preserved in favor of the Estate and Reorganized Debtor against
 any Person asserting any Claim against the Estate, including all such rights or remedies
 pursuant to section 510(c) of the Bankruptcy Code. Without limiting the generality of the
 foregoing, this shall include all rights and remedies to Equitable Subordination as to any Claim
 asserted by Highland, any Affiliates of Highland, or any officers, directors, employees or equity
 interest owners of the Debtors, Highland, or any Affiliates thereof.

         21.     Recharacterization. All rights or remedies to recharacterize any Claim as an
 equity interest in either of the Debtors are hereby reserved, retained and preserved in favor of
 the Estate and Reorganized Debtor against any Person asserting any Claim against the Estate.
 Without limiting the generality of the foregoing, this shall include all rights and remedies to
 recharacterize any Claim asserted by Highland, any Affiliates of Highland, or any officers,
 directors, employees or equity interest owners of the Debtors, Highland, or any Affiliates thereof.




 Exhibit “A” to Second Amended Joint Plan for Acis Capital Management, LP
 and Acis Capital Management GP, LLC                                                            Page 12
                     Case 18-30264-sgj11 Doc 660 Filed 10/25/18         Entered 10/25/18 18:23:08      Page 48 of 62
                                                   6FKHGXOHWR([KLELW$WR
                 6HFRQG$PHQGHG-RLQW3ODQIRU$FLV&DSLWDO0DQDJHPHQW/3DQG$FLV&DSLWDO0DQDJHPHQW*3//&
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                     Case 18-30264-sgj11 Doc 660 Filed 10/25/18         Entered 10/25/18 18:23:08   Page 49 of 62
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                 6HFRQG$PHQGHG-RLQW3ODQIRU$FLV&DSLWDO0DQDJHPHQW/3DQG$FLV&DSLWDO0DQDJHPHQW*3//&
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                            EXHIBIT B
     TO THIRD AMENDED JOINT PLAN FOR ACIS
       CAPITAL MANAGEMENT, LP AND ACIS
         CAPITAL MANAGEMENT GP, LLC

        [EXECUTORY CONTRACTS ASSUMED UNDER THE PLAN]
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                   Contract Description            Contract Date         Cure Amount
Acis CLO 2013-1 Chemical Holdings, LLC          Limited Liability Company Agreement    October 28, 2016            $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO 2013-1, Ltd.                           Limited Liability Company Agreement    October 28, 2016           $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-1 Ltd.                            Collateral Administration Agreement     March 18, 2013            $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
U.S. Bank National Association                  Collateral Administration Agreement     March 18, 2013            $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
                                                                                                                            Case 18-30264-sgj11 Doc 829 Filed 01/31/19




Attention: Global Corporate Trust –
Acis CLO 2013-1
Acis CLO 2013-1 Ltd.                              Portfolio Management Agreement        March 18, 2013            $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-1 Ltd.                                         Indenture                  March 18, 2013            $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-1 LLC                                          Indenture                  March 18, 2013            $0
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Newark, DE 19711
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                  Contract Description             Contract Date         Cure Amount
U.S. Bank National Association                              Indenture                   March 18, 2013             $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2013-1
Acis CLO 2013-1 Ltd.                                  Supplemental Indenture           February 26, 2014          $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-1 LLC                                   Supplemental Indenture           February 26, 2014          $0
850 Library Ave., Suite 204
Newark, DE 19711
U.S. Bank National Association                        Supplemental Indenture           February 26, 2014          $0
                                                                                                                            Case 18-30264-sgj11 Doc 829 Filed 01/31/19




190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2013-1
Acis CLO 2013-1, Ltd.                                  Governing Documents                     --                 $0
c/o Estera Trust (f/k/a Appleby Trust)                (Requested from HCM)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-2 Chemical Holdings, LLC          Limited Liability Company Agreement            --                 $0
1209 Orange Street                                     (requested from HCM)
Wilmington, DE 19801
Acis CLO 2013-2 Ltd.                            Limited Liability Company Agreement            --                 $0
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c/o Estera Trust (f/k/a Appleby Trust)                 (requested from HCM)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
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                                                        EXHIBIT B
                                         Executory Contracts and Unexpired Leases
                                               to Be Assumed by the Trustee

Party                                                Contract Description             Contract Date         Cure Amount
Acis CLO 2013-2 Ltd.                          Collateral Administration Agreement     October 3, 2013            $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
The Bank of New York Mellon Trust Co., N.A.   Collateral Administration Agreement     October 3, 2013           $0
601 Travis Street, 16th Floor
Houston, Texas 77002
Attn: Global Corporate Trust –
Acis CLO 2013-2
Acis CLO 2013-2 Ltd.                            Portfolio Management Agreement        October 3, 2013           $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
                                                                                                                          Case 18-30264-sgj11 Doc 829 Filed 01/31/19




Acis CLO 2013-2 Ltd.                                      Indenture                   October 3, 2013           $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2013-2 LLC                                       Indenture                   October 3, 2013           $0
850 Library Ave., Suite 204
Newark, DE 19711
The Bank of New York Mellon Trust Co., N.A.                Indenture                  October 3, 2013           $0
601 Travis Street, 16th Floor
Houston, Texas 77002
Attn: Global Corporate Trust –
Acis CLO 2013-2
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Acis CLO 2013-2 Ltd.                                  Governing Document                     --                 $0
c/o Estera Trust (f/k/a Appleby Trust)               (requested from HCM)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                   Contract Description            Contract Date         Cure Amount
Acis CLO 2014-3 Chemical Holdings, LLC          Limited Liability Company Agreement    October 28, 2016            $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO 2014-3 Ltd.                            Limited Liability Company Agreement    October 28, 2016           $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-3 Ltd.                            Collateral Administration Agreement    February 25, 2014          $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
U.S. Bank National Association                  Collateral Administration Agreement    February 25, 2014          $0
190 S. LaSalle Street, 8th Floor
                                                                                                                            Case 18-30264-sgj11 Doc 829 Filed 01/31/19




Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-3
Acis CLO 2014-3 Ltd.                              Portfolio Management Agreement       February 25, 2014          $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-3 Ltd.                                         Indenture                 February 25, 2014          $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-3 LLC                                          Indenture                 February 25, 2014          $0
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Newark, DE 19711
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                  Contract Description             Contract Date         Cure Amount
U.S. Bank National Association                              Indenture                  February 25, 2014           $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-3
Acis CLO 2014-3 Ltd.                          Memorandum and Articles of Association   December 24, 2013          $0
c/o MaplesFS Limited                                of Acis CLO 2014-3 Ltd.
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-4 Chemical Holdings, LLC          Limited Liability Company Agreement    October 28, 2016           $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO 2014-4 Ltd.                            Limited Liability Company Agreement    October 28, 2016           $0
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c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1 -1102
Acis CLO 2014-4 Ltd.                            Collateral Administration Agreement       June 5, 2014            $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1 -1102
U.S. Bank National Association                  Collateral Administration Agreement       June 5, 2014            $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-4
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Acis CLO 2014-4 Ltd.                              Portfolio Management Agreement          June 5, 2014            $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                  Contract Description              Contract Date        Cure Amount
Acis CLO 2014-4 Ltd.                                        Indenture                     June 5, 2014             $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-4 LLC                                          Indenture                    June 5, 2014            $0
850 Library Ave., Suite 204
Newark, DE 19711
U.S. Bank National Association                               Indenture                    June 5, 2014            $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-4
Acis CLO 2014-4 Ltd.                          Memorandum and Articles of Association     April 1, 2014            $0
                                                                                                                            Case 18-30264-sgj11 Doc 829 Filed 01/31/19




c/o MaplesFS Limited                                of Acis CLO 2014-4 Ltd.
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Island KY1-1102
Acis CLO 2014-5 Chemical Holdings, LLC          Limited Liability Company Agreement     October 28, 2016          $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO 2014-5 Ltd.                            Limited Liability Company Agreement     October 28, 2016          $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-5 Ltd.                            Collateral Administration Agreement    November 18, 2014          $0
c/o MaplesFS Limited
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P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                  Contract Description             Contract Date         Cure Amount
U.S. Bank National Association                  Collateral Administration Agreement    November 18, 2014           $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-5
Acis CLO 2014-5 Ltd.                              Portfolio Management Agreement       November 18, 2014          $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-5 Ltd.                                         Indenture                 November 18, 2014          $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
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Acis CLO 2014-5 LLC                                          Indenture                 November 18, 2014          $0
850 Library Ave., Suite 204
Newark, DE 19711
U.S. Bank National Association                               Indenture                 November 18, 2014          $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-5
Acis CLO 2014-5 Ltd.                          Memorandum and Articles of Association    August 21, 2014           $0
c/o MaplesFS Limited                                of Acis CLO 2014-5 Ltd.
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1 -1102
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Acis CLO 2015-6 Chemical Holdings, LLC          Limited Liability Company Agreement     October 28, 2016          $0
1209 Orange Street
Wilmington, DE 19801
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                   Contract Description            Contract Date         Cure Amount
Acis CLO 2015-6 Ltd.                            Limited Liability Company Agreement    October 28, 2016            $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2015-6 Ltd.                            Collateral Administration Agreement     April 16, 2015            $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
U.S. Bank National Association                  Collateral Administration Agreement     April 16, 2015            $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2015-6
                                                                                                                            Case 18-30264-sgj11 Doc 829 Filed 01/31/19




Acis CLO 2015-6 Ltd.                              Portfolio Management Agreement        April 16, 2015            $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2015-6 Ltd.                                         Indenture                  April 16, 2015            $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2015-6 LLC                                          Indenture                  April 16, 2015            $0
850 Library Ave., Suite 204
Newark, DE 19711
U.S. Bank National Association                               Indenture                  April 16, 2015            $0
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190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2015-6
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                                                          EXHIBIT B
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                Contract Description               Contract Date         Cure Amount
Acis CLO 2015-6 Ltd.                          Memorandum and Articles of Association   February 11, 2015           $0
P.O. Box 1093, Boundary Hall, Cricket Sq            of Acis CLO 2015-6 Ltd.
Grand Cayman, KY1-1102, Cayman Islands
Acis CLO Value Fund II (Cayman), LP.             Investment Management Agreement         May 1, 2016              $0
P.O. Box 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II GP, LLC                   Investment Management Agreement         May 1, 2016              $0
P.O. Box. 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II, LP.                      Investment Management Agreement         May 1, 2016              $0
300 Crescent Court
Suite 700
Dallas, TX 75201
                                                                                                                            Case 18-30264-sgj11 Doc 829 Filed 01/31/19




Acis CLO Value GP, LLC                          Limited Liability Company Agreement      July 19, 2010            $0
1209 Orange Street
Wilmington, DE 19801
Acis CLO Value Master Fund II, LP.               Investment Management Agreement         May 1, 2016              $0
P.O. Box 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II (Cayman), L.P.          Third Amended and Restated Exempted       May 1, 2016              $0
P.O. Box 309, Ugland House                         Limited Partnership Agreement
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Master Fund II, L.P.            Third Amended and Restated Exempted       May 1, 2016              $0
P.O. Box 309, Ugland House                         Limited Partnership Agreement
                                                                                                                            Entered 01/31/19 17:34:06




Grand Cayman, Cayman Islands KY1-1104
Acis Loan Funding, Ltd.                           FATCA and Non-FATCA Services           June 23, 2017            $0
300 Crescent Court                                         Agreement
Suite 700
Dallas, TX 75201
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                                                       EXHIBIT B
                                        Executory Contracts and Unexpired Leases
                                              to Be Assumed by the Trustee

Party                                               Contract Description              Contract Date         Cure Amount
BayVK R2 Lux S.A., SICAV FIS                         Power of Attorney               February 20, 2015           $0
15 rue de Flaxweiler
L-6776 Grevenmacher
BayVK R2 Lux S.A., SICAV-FIS                 Agreement for the Outsourcing of the    February 27, 2015          $0
15 rue de Flaxweiler                         Asset Management of BayVK R2 Lux
L-6776 Grevenmacher                                   S.A., SICAV-FIS

BayVK R2 Lux S.A., SICAV-FIS                       Service Level Agreement           February 27, 2015          $0
15 rue de Flaxweiler
L-6776 Grevenmacher
BNP Paribas Securities Services                       Power of Attorney              February 20, 2015          $0
Luxembourg Branch                                          86578
60 Avenue John F. Kennedy
                                                                                                                          Case 18-30264-sgj11 Doc 829 Filed 01/31/19




1855 Luxembourg
Hewett's Island CLO 1-R, Ltd.                     Confidentiality Agreement            April 11, 2011           $0
clo Maples Finance Limited
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Hewett's Island CLO 1-R, Ltd.                       Governing Documents                      --                 $0
clo Maples Finance Limited                         (Requested from HCM)
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Hewett's Island CLO 1-R, Ltd.                      Management Agreement                July 18, 2011            $0
clo Maples Finance Limited
P.O. Box 1093, Queensgate House
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Grand Cayman, Cayman Islands KY1-1102
Hewett's Island CLO 1-R, Ltd.                Collateral Administration Agreement    November 20, 2007           $0
clo Maples Finance Limited                         (Requested from HCM)
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
                                                                                                                          Page 108 of 229




                                                           10
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                                                           EXHIBIT B
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                                                  to Be Assumed by the Trustee

Party                                                   Contract Description             Contract Date          Cure Amount
Hewett's Island CLO 1-R, Ltd.                                Indenture                  November 20, 2007            $0
clo Maples Finance Limited
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Deutsche Bank Trust Company Americas                          Indenture                 November 20, 2007           $0
1761 East St. Andrew Place
Santa Ana, CA 92705
Attn: CDO Business Unit – Hewett’s Island
CLO 1-R
State Street (Guerney Limited)                     FATCA and Non-FATCA Services            June 23, 2017            $0
First Floor, Dorey Court, Admiral Park,                     Agreement
St. Peter Port, Guernsey
U.S. Bank National Association                        Confidentiality Agreement           March 5, 2014             $0
                                                                                                                              Case 18-30264-sgj11 Doc 829 Filed 01/31/19




190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2015-6
Universal-lnvestment-Luxembourg S.A.             Agreement for the Outsourcing of the    February 27, 2015          $0
15 rue de Flaxweiler                             Asset Management of BayVK R2 Lux
L-6776 Grevenmacher                                       S.A., SICAV-FIS

Universal-Investment-Luxembourg S.A.                      Power of Attorney              February 20, 2015          $0
15 rue de Flaxweiler
L-6776 Grevenmacher
Universal-Investment-Luxembourg S.A.                   Service Level Agreement           February 27, 2015          $0
                                                                                                                              Entered 01/31/19 17:34:06




15 rue de Flaxweiler
L-6776 Grevenmacher
Acis Loan Funding, Ltd.                            Portfolio Management Agreement       December 22, 2016           $0
First Floor, Dorey Court
St. Peter Port, Guernsey GYI 6HJ
Channel Islands
                                                                                                                              Page 109 of 229




                                                               11
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                                                           EXHIBIT B
                                            Executory Contracts and Unexpired Leases
                                                  to Be Assumed by the Trustee

Party                                                   Contract Description                     Contract Date        Cure Amount
Acis Capital Management, LP                        Amended and Restated Agreement of            January 21, 2011           $0
c/o PHELANLAW                                            Limited Partnership
4214 Woodfin Drive
Dallas, Texas 75220

Acis Capital Management GP, LLC                  Amended and Restated Limited Liability         January 21, 2011            $0
c/o PHELANLAW                                           Company Agreement
4214 Woodfin Drive
Dallas, Texas 75220

        For the avoidance of doubt, to the extent not otherwise included above, the Trustee intends to assume any additional executory
 contracts that relate to the funds set forth below as may be necessary or beneficial to the Reorganized Debtor under the Plan:
        1.     Acis CLO 2013-1, Ltd.
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        2.     Acis CLO 2013-2, Ltd.
        3.     Acis CLO 2014-3, Ltd.
        4.     Acis CLO 2014-4, Ltd.
        5.     Acis CLO 2014-5, Ltd.
        6.     Acis CLO 2015-6, Ltd.
        7.     Acis CLO Value Fund II, L.P.
        8.     Acis CLO Value Fund II (Cayman), L.P.
        9.     Acis CLO Master Fund II, L.P.
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        10.    BayVK R2 Lux S.A., SICAV FIS
        11.    Hewitt’s Island CLO 1-R, Ltd.
        12.    Acis Loan Funding, Ltd.

               The Trustee reserves the right to amend or supplement this Exhibit B.
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                         EXHIBIT “2”
   [First Modification to the Third Amended Joint Plan for Acis
   Capital Management, L.P. and Acis Capital Management GP,
                         LLC – Dkt. No. 693]
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   Rakhee V. Patel – State Bar No. 00797213               Jeff P. Prostok – State Bar No. 16352500
   Phillip Lamberson – State Bar No. 00794134             J. Robert Forshey – State Bar No. 07264200
   Joe Wielebinski – State Bar No. 21432400               Suzanne K. Rosen – State Bar No. 00798518
   Annmarie Chiarello – State Bar No. 24097496            Matthew G. Maben – State Bar No. 24037008
                                                          FORSHEY & PROSTOK LLP
   WINSTEAD PC
                                                          777 Main St., Suite 1290
   500 Winstead Building                                  Ft. Worth, TX 76102
   2728 N. Harwood Street                                 Telephone: (817) 877-8855
   Dallas, Texas 75201                                    Facsimile: (817) 877-4151
   Telephone: (214) 745-5400                              jprostok@forsheyprostok.com
   Facsimile: (214) 745-5390                              bforshey@forsheyprostok.com
   rpatel@winstead.com                                    srosen@forsheyprostok.com
   plamberson@winstead.com                                mmaben@forsheyprostok.com
   jwielebinski@winstead.com
                                                          COUNSEL FOR ROBIN PHELAN,
   achiarello@winstead.com                                CHAPTER 11 TRUSTEE

   SPECIAL COUNSEL FOR
   ROBIN PHELAN, CHAPTER 11 TRUSTEE



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                           §
   IN RE:                                                  §    CHAPTER 11 CASES
                                                           §
   ACIS CAPITAL MANAGEMENT, L.P.,                          §    CASE NO. 18-30264-sgj11
   ACIS CAPITAL MANAGEMENT GP, LLC,                        §    (Jointly Administered)
                                                           §
                                   Debtors.                §

        FIRST MODIFICATION TO THE THIRD AMENDED JOINT PLAN FOR
   ACIS CAPITAL MANAGEMENT, LP AND ACIS CAPITAL MANAGEMENT GP, LLC

          Robin Phelan (“Trustee”), the Chapter 11 Trustee for Acis Capital Management, LP and

  Acis Capital Management GP, LLC (the “Debtors”), files this First Modification (the “First

  Modification”) to the Third Amended Joint Chapter 11 Plan for Acis Capital Management, LP

  and Acis Capital Management GP, LLC [Docket No. 660] (the “Plan”).

          1.      Reference is here made to the Plan for all purposes. This First Modification

  modifies the Plan.

          2.      Modification to Section 1.09. Section 1.09 of the Plan is hereby modified to read

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  as follows:

         1.09 “Assets” includes all right, title, and interest in and to all property of every
         type or nature owned or claimed by the Debtors as of the Petition Date, together
         with all such property of every type or nature subsequently acquired by the Debtors
         through the Effective Date, whether real or personal, tangible or intangible, and
         wherever located, and including, but not limited to, property as defined in section
         541 of the Bankruptcy Code.

         3.      The change to section 1.09 above merely corrects a typographical error in the

  definition of the term “Assets.” Specifically, the revised definition removes the incomplete phrase

  “Without limiting the foregoing, this shall include all” from the end of the definition of Assets.

         4.      Modification to Exhibit “A”. The copy of the Exhibit “A” reflecting Estate

  Claims is hereby deleted in its entirety and replaced with the version of the “Exhibit A” attached

  hereto as Exhibit “1.”

         5.      A copy of the document reflecting the modifications to Exhibit A to the Plan in

  redline format is attached hereto as Exhibit “2.”

         6.      This First Modification is a non-material change. It merely corrects a typographical

  error and revises the Estate Claims being reserved, retained and preserved under the Plan. Further,

  even if this First Modification were deemed material, it does not adversely affect any creditor

  because no ballots have yet been received in relation to the Plan and this First Modification is

  being sent to all creditors and parties in interest eighteen (18) days in advance of the deadline for

  parties to submit ballots and any objections to the Plan. Consequently, creditors and parties in

  interest will have an adequate opportunity to evaluate this modification prior to voting on the Plan.

  Dated: November 8, 2018.              Respectfully submitted,

                                        ACIS CAPITAL MANAGEMENT, L.P.

                                        By: /s/ Robin Phelan
                                            Robin Phelan
                                            Chapter 11 Trustee


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                                                        ACIS CAPITAL MANAGMENET GP, LLC

                                                        By: /s/ Robin Phelan
                                                            Robin Phelan
                                                            Chapter 11 Trustee



   APPROVED:                                                             APPROVED:

   /s/ Jeff P. Prostok                                                   /s/ Rahkee V. Patel
   Jeff P. Prostok – State Bar No. 16352500                              Rakhee V. Patel – State Bar No. 00797213
   J. Robert Forshey – State Bar No. 07264200                            Phillip Lamberson – State Bar No. 00794134
   Suzanne K. Rosen – State Bar No. 00798518                             Joe Wielebinski – State Bar No. 21432400
   Matthew G. Maben – State Bar No. 24037008                             Annmarie Chiarello –State Bar No. 24097496
   FORSHEY & PROSTOK LLP                                                 WINSTEAD PC
   777 Main St., Suite 1290                                              500 Winstead Building
   Ft. Worth, TX 76102                                                   2728 N. Harwood Street
   Telephone: (817) 877-8855                                             Dallas, Texas 75201
   Facsimile: (817) 877-4151                                             Telephone: (214) 745-5400
   jprostok@forsheyprostok.com                                           Facsimile: (214) 745-5390
   bforshey@forsheyprostok.com                                           rpatel@winstead.com
   srosen@forsheyprostok.com                                             plamberson@winstead.com
   mmaben@forsheyprostok.com                                             jwielebinski@winstead.com
                                                                         achiarello@winstead.com
   COUNSEL FOR ROBIN PHELAN,
   CHAPTER 11 TRUSTEE                                                    SPECIAL COUNSEL FOR ROBIN
                                                                         PHELAN, CHAPTER 11 TRUSTEE



                                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document and the attached exhibits
  were served electronically via the Court’s Electronic Court Filing (ECF) notification system and via U.S.
  Mail, postage prepaid (and via Express Mail to out of country recipients) on the parties on the service lists
  attached as Exhibit “3” hereto on November 8, 2018.

                                                                             /s/ Jeff P. Prostok
                                                                             Jeff P. Prostok




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                        Exhibit “1”
        [Revised Exhibit “A” to the
        Third Amended Joint Plan]
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                                        EXHIBIT “A”
                                             to
      Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC

          1.      Defined Terms. This Exhibit “A” constitutes an integral part of the Plan of which it
  is a part. Defined terms in the Plan are to be given the same meaning in this Exhibit “A”. The
  rules of construction set forth in Article I.B. of the Plan shall likewise apply to this Exhibit “A”.

          2.      Estate Claims Reserved, Retained and Preserved. All Estate Claims are hereby
  reserved, retained and preserved, and shall all be transferred to, and vested in, the
  Reorganized Debtor pursuant to this Plan, and shall include without limitation all of the Estate
  Claims described below. In reserving, retaining, and preserving Estate Claims against any
  named Person or category of Persons, it is the intent of this Plan to so reserve, retain, and
  preserve any and all Estate Claim against each such Person or category of Persons, including
  all such Estate Claims pursuant to any applicable common law, based on any contract or
  agreement or based upon any law, statute or regulation of any political entity, including the
  United States and any state or political subdivision thereof, as well as all applicable remedies,
  whether legal or equitable. Without limiting the generality of the foregoing, the reservation,
  retention, and preservation of Estate Claims against any Person, and the term “Estate Claims,”
  shall encompass all Estate Claims against any such Person, including without limitation, all such
  Estate Claims for breach of contract, all rights to enforce any contract, any form of estoppel,
  fraud, constructive fraud, abuse of process, malicious prosecution, defamation, libel, slander,
  conversion, trespass, intentional infliction of emotional distress or other harm, negligence, gross
  negligence, negligent misrepresentation, fraudulent misrepresentation, vicarious liability,
  respondeat superior, breach of any duty owed under either applicable law or any contract,
  breach of any fiduciary duty or duty of loyalty or due care, aiding and/or abetting breach of
  fiduciary duty, aiding and/or abetting breach of duty of loyalty or due care, alter ego, veil
  piercing, self-dealing, usurpation of corporate opportunity, ultra vires, turnover of Estate Assets,
  unauthorized use of Estate Assets, including intellectual property rights or Assets owned by the
  Debtors or Chapter 11 Trustee, quantum merit, tortious interference, duress, unconscionability,
  undue influence, and unjust enrichment, as well as any cause of action for conspiracy to commit
  any unlawful act, aiding and/or abetting any such unlawful act, or assisting, encouraging, and/or
  participating in any such unlawful act, or claims arising from or relating to the filing of the
  involuntary bankruptcy petitions against the Debtors.

          3.      Highland Claims. All Estate Claims against Highland are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in Adversary Proceeding No. 18-03078-
  sgj (the “Highland Adversary”) and Adversary Proceeding No. 18-03212-sgj (the “Trustee’s
  Adversary”). The Estate Claims against Highland shall include all Estate Claims set forth in
  paragraph 2 above, including without limitation, the following:

                (a)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Highland Adversary;

                (b)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the

  Exhibit “A” to Third Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 1
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  Chapter 11 Trustee or Estate;

                (d)    All Avoidance Actions against Highland, including any claims to avoid and
  recover amounts transferred by the Debtors to Highland under the Shared Services Agreement
  or Sub-Advisory Agreement;

                   (e)      All Claims for breach of the Shared Services Agreement or Sub-Advisory
  Agreement;

                  (f)      All Claims against Highland for amounts paid by the Debtors to Highland
  under the Shared Services Agreement and Sub-Advisory Agreement, including any Claim that
  Highland overcharged Acis LP for services under such agreements, charged excessive fees in
  violation of Acis LP’s limited partnership agreement and/or Acis GP’s limited liability company
  agreement, and/or that the Shared Services Agreement and Sub-Advisory Agreement or any
  related or predecessor agreements are void or voidable based on ultra vires or any other
  theories of avoidance and recovery, including turnover, conversion and Avoidance Actions
  under the Bankruptcy Code;

                   (g)      All Claims for breach of the PMAs or the Indentures;

                 (h)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (i)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (j)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (k)   All claims for tortious interference, including in relation to Universal-
  Investment-Luxembourg S.A. and BayVK R2 Lux S.A., SICAV-FIS;

                  (l)    All Claims against Highland for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (m)      All Claims against Highland for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (n)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (o)   All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland or any Affiliates thereof, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Acis LP;

                   (p)      All Claims based on alter ego or rights to pierce the corporate veil of

  Exhibit “A” to Third Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                                 Page 2
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  Highland as to any Person, including as against any Affiliates of Highland, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Highland, and,

                 (q)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

         4.      HCLOF Claims. All Estate Claims against HCLOF are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
  Trustee’s Adversary. The Estate Claims against HCLOF shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation, the following:

                 (a)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against HCLOF;

                   (e)      All Claims for breach of the PMAs or the Indentures;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)    All Claims against HCLOF for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (j)      All Claims against HCLOF for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (k)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by HCLOF against the Debtors, Chapter 11 Trustee, or Estate;

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  and Acis Capital Management GP, LLC                                                           Page 3
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                 (l)     All Claims based on alter ego or rights to pierce the corporate veil of
  HCLOF as to any Person, including as against any Affiliates of HCLOF or Highland, William
  Scott, Heather Bestwick, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of HCLOF; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          5.      Highland HCF Advisor, Ltd. Claims. All Estate Claims against Highland HCF
  Advisor, Ltd. (“Highland HCF”) are reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims asserted by the
  Chapter 11 Trustee in the Highland Adversary. The Estate Claims against Highland HCF shall
  include all Estate Claims set forth in paragraph 2 above, including without limitation, the
  following:

                (a)      All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Highland HCF;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland HCF for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland HCF for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland HCF against the Debtors, Chapter 11 Trustee, or

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  and Acis Capital Management GP, LLC                                                             Page 4
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  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland HCF as to any Person, including as against any Affiliates of Highland HCF or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland HCF; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           6.      Highland CLO Management, Ltd. Claims. All Estate Claims against Highland
  CLO Management, Ltd. (“Highland CLOM”) are reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor, including without limitation all such Estate Claims
  asserted by the Chapter 11 Trustee in the Highland Adversary. The Estate Claims against
  Highland CLOM shall include all Estate Claims set forth in paragraph 2 above, including without
  limitation the following:

                (a)      All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Highland CLOM;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland CLOM for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland CLOM for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;


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  and Acis Capital Management GP, LLC                                                           Page 5
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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland CLOM against the Debtors, Chapter 11 Trustee, or
  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland CLOM as to any Person, including as against any Affiliates of Highland CLOM or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland CLOM; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          7.      CLO Holdco, Ltd. Claims. All Estate Claims against CLO Holdco, Ltd. (“CLO
  Holdco”) are reserved, retained and preserved for the benefit of the Estate and Reorganized
  Debtor, including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in
  the Trustee’s Adversary. The Estate Claims against CLO Holdco shall include all Estate Claims
  set forth in paragraph 2 above, including without limitation, the following:

                  (a)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Highland Adversary;

                  (b)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against CLO Holdco;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against CLO Holdco for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against CLO Holdco for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

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  and Acis Capital Management GP, LLC                                                           Page 6
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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (k)     All Claims based on alter ego or rights to pierce the corporate veil of CLO
  Holdco as to any Person, including as against any Affiliates of CLO Holdco or Highland, or any
  other officers, directors, equity interest holders, or Persons otherwise in control of CLO Holdco;
  and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          8.     Neutra, Ltd. Claims. All Estate Claims against Neutra, Ltd. (“Neutra”) are
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
  including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
  Trustee’s Adversary. The Estate Claims against Neutra shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation the following:

                 (a)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Neutra;

                (e)    All Claims for breach of fiduciary or duty of loyalty or due care owed to the
  Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (h)    All Claims against Neutra for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                   (i)      All Claims against Neutra for the unauthorized use of Estate Assets

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  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Neutra against the Debtors, Chapter 11 Trustee, or Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Neutra, Highland, or any Affiliates thereof, James D.
  Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of
  Neutra as to any Person, including as against any Affiliates of Neutra or Highland, or any other
  officers, directors, equity interest holders, or Persons otherwise in control of Neutra; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          9.     Claims against Issuers, Co-Issuers and Indenture Trustee. All Estate Claims
  against CLO-3, CLO-4, CLO-5, and CLO-6 (collectively, the “Issuers”), Acis CLO 2014-3 LLC,
  Acis CLO 2014-4 LLC, Acis CLO 2014-5 LLC, and Acis CLO 2015-6 LLC (collectively, the "Co-
  Issuers"), and the Indenture Trustee are reserved, retained and preserved for the benefit of the
  Estate and Reorganized Debtor, including without limitation all such Estate Claims asserted by
  the Chapter 11 Trustee in the Trustee’s Adversary. The Estate Claims against the Issuers, Co-
  Issuers and/or Indenture Trustee shall include all Estate Claims set forth in paragraph 2 above,
  including without limitation the following:

                 (a)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Highland Adversary;

                 (b)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against the Issuers, Co-Issuers and/or Indenture
  Trustee;

                (e)   All Claims for breach of the Indentures, PMAs or any other agreements
  between Acis LP and the Issuers, Co-Issuers, and/or Indenture Trustee;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

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                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)      All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the turnover of Estate Assets, including Estate property that the Chapter 11 Trustee may use,
  sell or lease under section 363 of the Bankruptcy Code including, without limitation, any
  intellectual property rights or Assets owned by the Debtors or Estate, as well as the turnover of
  any books, documents, records and papers relating to the Debtors’ property or financial affairs;

                 (j)   All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the unauthorized use of Estate Assets including, without limitation, any intellectual property
  rights or Assets owned by the Debtors or Estate;

                 (k)    All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by the Issuers or Co-Issuers against the Debtors, Chapter 11
  Trustee, or Estate; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           10.     Highland Affiliate Claims. All Estate Claims against any Affiliates of Highland are
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
  including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
  Highland Adversary and the Trustee’s Adversary. The Estate Claims against any Affiliates of
  Highland shall include all Estate Claims set forth in paragraph 2 above, including without
  limitation the following:

                (a)      All such Claims against any Highland Affiliate asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against any Highland Affiliate asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against any Highland Affiliate;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;


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                 (h)     All Claims against any Highland Affiliate for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)     All Claims against any Highland Affiliate for the unauthorized use of
  Estate Assets including, without limitation, any intellectual property rights or Assets owned by
  the Debtors or Estate;

                 (j)    All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by any Highland Affiliate against the Debtors, Chapter 11
  Trustee, or Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland, Neutra, or any Affiliates thereof, James D.
  Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of any
  Highland Affiliate as to any Person, including as against any other Affiliates of Highland or any
  officers, directors, equity interest holders, or Persons otherwise in control of any Highland
  Affiliates; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          11.     Dondero Claims. All Estate Claims as defined in paragraph 2 above against
  James D. Dondero, individually, are hereby reserved, retained and preserved for the benefit of
  the Estate and Reorganized Debtor, including without limitation all such Estate Claims against
  James D. Dondero for fraud, constructive fraud, breach of fiduciary duty, breach of duty of
  loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
  duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
  opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
  interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
  S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
  breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
  Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
  agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
  assisting, encouraging, and/or participating in any unlawful act, as well as any Claim to pierce
  the corporate veil of any entity to hold James D. Dondero individually liable.

          12.    Okada Claims. All Estate Claims as defined in paragraph 2 above against Mark
  K. Okada, individually, are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims against Mark K.
  Okada for fraud, constructive fraud, breach of fiduciary duty, breach of duty of loyalty or due
  care, aiding and abetting breach of fiduciary duty, self-dealing, ultra vires, conversion,
  usurpation of corporate opportunity, including in relation to Acis CLO 2017-7, Ltd and any other
  Acis CLOs, tortious interference, including in relation to Universal-Investment-Luxembourg S.A.
  and BayVK R2 Lux S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all


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  Avoidance Actions, breach of contract, breach of the Shared Services Agreement, breach of the
  Sub-Advisory Agreement, breach of the Debtors’ limited partnership agreement or limited
  liability company agreement, conspiracy to commit any unlawful act, aiding and abetting any
  unlawful act, and assisting, encouraging, and participating in any unlawful act, as well as any
  Claim to pierce the corporate veil of any entity to hold Mark K. Okada individually liable.

           13.    Preference Claims. All Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code against any Person are hereby reserved, retained and preserved for the
  benefit of the Estate and Reorganized Debtor for any payment made to any Person by either of
  the Debtors within ninety (90) days of the Petition Date (which was January 30, 2018), or made
  by either of the Debtors to any insider within one (1) year of the Petition Date. A non-exhaustive
  list of Persons who are believed to have received payments from either of the Debtors during
  the 90-day preference period, and the one-year preference period for Insiders, is attached to
  this Exhibit “A” as Schedule “1”. The Plan reserves, retains and preserves for the benefit of
  the Estate and Reorganized Debtor all potential Claims arising out of or relating to the transfers
  reflected in Schedule “1”, including all Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code. All rights and remedies are also reserved. retained and preserved with
  respect to the transfers reflected in Schedule “1” pursuant to section 550 of the Bankruptcy
  Code.

                  Schedule “1” reflects transfers made by the Debtors during the 90 days prior to
  the Petition Date and transfers made by the Debtors to any insiders within one (1) year of the
  Petition Date. While the Plan reserves, retains and preserves all Avoidance Actions relating to
  the transfers reflected in Schedule “1”, the Chapter 11 Trustee recognizes that certain of these
  transfers may not constitute a preferential transfer pursuant to section 547(b) of the Bankruptcy
  Code as a transfer made in the ordinary course of business transactions or based upon new
  value subsequently given by the transferee. Consequently, the listing of a payment on
  Schedule “1” does not necessarily mean that a transferee will ever be sued to avoid and
  recover the payment, the transfer, or the value thereof, but only that the Plan reserves, retains
  and preserves all rights (including Avoidance Actions) as to that payment.

          14.     Claims Against Officers, Managers and Members. All Estate Claims as defined
  in paragraph 2 above are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor against all present and past officers, employees, members and
  managers of the Debtors, including all such Estate Causes of Action based on breach of
  fiduciary duty, aiding and abetting breach of fiduciary duty, breach of duty of loyalty or due care,
  aiding and abetting breach of duty of loyalty or due care, self-dealing, usurpation of corporate
  opportunity, gross negligence or conspiracy. Without limiting the generality of the foregoing, this
  shall include all D&O Claims as against any present or former officer, director, employee,
  member, manager, or partner.

          15.     Claims Against Former Attorneys and Law Firms. All Estate Claims as defined in
  paragraph 2, above, including Claims for breach of any fiduciary duty or duty of loyalty or due
  care, conspiracy to commit any unlawful act, aiding and/or abetting any such unlawful act, or
  assisting, encouraging, and/or participating in any such unlawful act, including knowingly aiding,
  abetting, or assisting with a fraudulent transfer to avoid paying a judgment, negligent or
  fraudulent misrepresentation, vicarious liability, and respondeat superior, as well as all Claims
  for legal or professional malpractice, are hereby reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor against all law firms and attorneys who and which
  rendered legal services to the Debtors on a prepetition basis including, but not limited to, the
  following:

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                   (a)      Cole Schotz, P.C.

                   (b)      Michael D. Warner

                   (c)      Jacob Frumkin

                   (d)      Warren A. Usatine

                   (e)      McKool Smith

                   (f)      Gary Cruciani

                   (g)      Michael Fritz

                   (h)      Carson Young

                   (i)      Lackey Hershman, LLP

                   (j)      Stinson Leonard Street LLP

                   (k)      Paul Lackey, Esq.

                   (l)      Michael Aigen, Esq.

                   (m)      Abrams & Bayliss, LLP

                   (n)      Kevin G. Abrams

                   (o)      A. Thompson Bayliss

                   (p)      Jones Day

                   (q)      Hilda C. Galvan

                   (r)      Michael Weinberg

                   (s)      Reid Collins & Tsai, LLP

                   (t)      Lisa Tsai

                   (u)      Stanton, LLP

                   (v)      James M. Stanton

                   (w)      Hunton Andrews Kurth

                   (x)      Marc Katz

                   (y)      Greg Waller

               (z)    any other law firm or attorney who may be so named at a later date by the
  Reorganized Debtor.

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           16.    Retention of Claims Against Specific Persons or Categories of Persons. In
  addition to the foregoing, all Estate Claims as defined in paragraph 2 above are hereby
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor against
  the following Persons:

                   (a)      William Scott;

                   (b)      Heather Bestwick;

               (c)    Any other Person who may be so named at a later date by the
  Reorganized Debtor.

          17.     Counterclaims. All Estate Claims as defined in paragraph 2 above are reserved,
  retained and preserved for the benefit of the Estate and Reorganized Debtor both as a basis for
  an affirmative recovery against the Person against whom such Claims are asserted and as a
  counterclaim or offset against any Person who asserts a Claim against the Estate or
  Reorganized Debtor.

          18.     Piercing the Corporate Veil. With respect to all Estate Claims against any
  Person, all rights to pierce or ignore the corporate veil are hereby reserved, retained and
  preserved for the benefit of the Estate and the Reorganized Debtor. Without limiting the
  generality of the foregoing, this shall include: (a) any right to pierce the corporate veil, including
  reverse piercing, on any theory or basis, including alter ego or any theory of sham to perpetrate
  a fraud, and (b) any Claim or basis to pierce the corporate veil of any entity with respect to
  establishing personal liability against James D. Dondero or Mark K. Okada.

         19.      Avoidance Actions. All Avoidance Actions are hereby reserved, retained and
  preserved as to all Persons. The reservation, retention and preservation of such Avoidance
  Actions shall include the reservation, retention and preservation for the benefit of the Estate and
  Reorganized Debtor of all rights and remedies pursuant to section 550 of the Bankruptcy Code.

           20.    Estate Defenses. All Estate Defenses are hereby reserved, retained and
  preserved in favor of the Estate and Reorganized Debtor as against any Person asserting any
  Claim against the Estate. This includes asserting all Estate Claims as an offset to, or
  counterclaim or right of recoupment against, any Person asserting a Claim against the Estate.
  All defenses and affirmative defenses pursuant to applicable law are hereby reserved, retained
  and preserved for the benefit of the Estate and the Reorganized Debtor, including without
  limitation, accord and satisfaction, assumption of risk, contributory negligence, duress, estoppel,
  failure of consideration, fraud, illegality, laches, license, payment, release, res judicata,
  collateral estoppel, statute of frauds, statute of limitations or repose, discovery rule, adverse
  domination doctrine or similar doctrines, set off, recoupment, waiver, and all other defenses to
  Claims under the Bankruptcy Code, including under sections 502(b)(4) and 502(d).

          21.     Equitable Subordination. All rights or remedies for Equitable Subordination are
  hereby reserved, retained and preserved in favor of the Estate and Reorganized Debtor against
  any Person asserting any Claim against the Estate, including all such rights or remedies
  pursuant to section 510(c) of the Bankruptcy Code. Without limiting the generality of the
  foregoing, this shall include all rights and remedies to Equitable Subordination as to any Claim
  asserted by Highland, any Affiliates of Highland, or any officers, directors, employees or equity
  interest owners of the Debtors, Highland, or any Affiliates thereof.



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  and Acis Capital Management GP, LLC                                                            Page 13
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          22.     Recharacterization. All rights or remedies to recharacterize any Claim as an
  equity interest in either of the Debtors are hereby reserved, retained and preserved in favor of
  the Estate and Reorganized Debtor against any Person asserting any Claim against the Estate.
  Without limiting the generality of the foregoing, this shall include all rights and remedies to
  recharacterize any Claim asserted by Highland, any Affiliates of Highland, or any officers,
  directors, employees or equity interest owners of the Debtors, Highland, or any Affiliates thereof.




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  and Acis Capital Management GP, LLC                                                        Page 14
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                                                    Schedule 1 to Exhibit "A" to
                  Third Amended Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC
                                                                      DATE OF                                      REASON FOR PAYMENT
              NAME                           ADDRESS                  PAYMENT          PAYMENT AMOUNT                 ON SCHEDULES
                                                 Payments within 90 Days of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/2/2017                         $234,013.63   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/3/2017                         $941,958.57   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                12/8/2017                          $89,655.14   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/15/2017                          $2,068.13   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/30/2017                         $24,266.71   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/12/2017                          $1,718.79   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/29/2017                         $25,000.00   Services
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                                  1735 K Street, NW
FINRA                             Washington, DC 20006            11/22/2017                             $70.00   Suppliers or Vendors
                                  PO Box 309, Ugland House
                                  Grand Cayman, KY1-1104,
Highland CLO Management, Ltd.     Cayman Islands                  12/19/2017                      $2,830,459.22   Services
                                            Payments to Insiders within One Year of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                          $976,688.47   Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                        $1,096,033.37   Services
                                  300 Crescent Court, Ste. 700
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Highland Capital Management, LP   Dallas, TX 75208                2/2/2017                            $3,574.80   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/14/2017                              $67.44   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/17/2017                        $315,574.30    Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/18/2017                        $438,497.51    Services
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                                                                   DATE OF                                  REASON FOR PAYMENT
             NAME                           ADDRESS                PAYMENT         PAYMENT AMOUNT              ON SCHEDULES
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/18/2017                    $375,855.01 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/19/2017                    $330,249.69 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/1/2017                     $974,426.41 Services
                                  300 Crescent Court, Ste. 700                                            Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                  $2,809,518.47 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                    $581,036.15 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               7/18/2017                    $373,167.08 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/1/2017                     $971,603.02 Contractual Payment
                                  300 Crescent Court, Ste. 700
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Highland Capital Management, LP   Dallas, TX 75208               8/7/2017                   $1,339,422.12 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/16/2017                          $53.41 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                   $372,872.82 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                   $728,702.26 Services
                                  300 Crescent Court, Ste. 700                                            Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               10/24/2017                   $501,979.18 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                    $46,648.82 Expense Reimbursement
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                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                    $67,966.85 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               11/1/2017                    $967,223.91 Contractual Payment
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                        Exhibit “2”
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                                        EXHIBIT “A”
                                             to
      Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC

          1.      Defined Terms. This Exhibit “A” constitutes an integral part of the Plan of which it
  is a part. Defined terms in the Plan are to be given the same meaning in this Exhibit “A”. The
  rules of construction set forth in Article I.B. of the Plan shall likewise apply to this Exhibit “A”.

          2.      Estate Claims Reserved, Retained and Preserved. All Estate Claims are hereby
  reserved, retained and preserved, and shall all be transferred to, and vested in, the
  Reorganized Debtor pursuant to this Plan, and shall include without limitation all of the Estate
  Claims described below. In reserving, retaining, and preserving Estate Claims against any
  named Person or category of Persons, it is the intent of this Plan to so reserve, retain, and
  preserve any and all Estate Claim against each such Person or category of Persons, including
  all such Estate Claims pursuant to any applicable common law, based on any contract or
  agreement or based upon any law, statute or regulation of any political entity, including the
  United States and any state or political subdivision thereof, as well as all applicable remedies,
  whether legal or equitable. Without limiting the generality of the foregoing, the reservation,
  retention, and preservation of Estate Claims against any Person, and the term “Estate Claims,”
  shall encompass all Estate Claims against any such Person, including without limitation, all such
  Estate Claims for breach of contract, all rights to enforce any contract, any form of estoppel,
  fraud, constructive fraud, abuse of process, malicious prosecution, defamation, libel, slander,
  conversion, trespass, intentional infliction of emotional distress or other harm, negligence, gross
  negligence, negligent misrepresentation, fraudulent misrepresentation, vicarious liability,
  respondeat superior, breach of any duty owed under either applicable law or any contract,
  breach of any fiduciary duty or duty of loyalty or due care, aiding and/or abetting breach of
  fiduciary duty, aiding and/or abetting breach of duty of loyalty or due care, alter ego, veil
  piercing, self-dealing, usurpation of corporate opportunity, ultra vires, turnover of Estate Assets,
  unauthorized use of Estate Assets, including intellectual property rights or Assets owned by the
  Debtors or Chapter 11 Trustee, quantum merit, tortious interference, duress, unconscionability,
  undue influence, and unjust enrichment, as well as any cause of action for conspiracy to commit
  any unlawful act, aiding and/or abetting any such unlawful act, or assisting, encouraging, and/or
  participating in any such unlawful act, or claims arising from or relating to the filing of the
  involuntary bankruptcy petitions against the Debtors.

          3.      Highland Claims. All Estate Claims against Highland are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in Adversary Proceeding No. 18-03078-
  sgj (the “Highland Adversary”) and Adversary Proceeding No. 18-03212-sgj (the “Trustee’s
  Adversary”). The Estate Claims against Highland shall include all Estate Claims set forth in
  paragraph 2 above, including without limitation, the following:

                (a)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Highland Adversary;

                (b)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the

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  and Acis Capital Management GP, LLC                                                           Page 1
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  Chapter 11 Trustee or Estate;

                (d)    All Avoidance Actions against Highland, including any claims to avoid and
  recover amounts transferred by the Debtors to Highland under the Shared Services Agreement
  or Sub-Advisory Agreement;

                   (e)     All Claims for breach of the Shared Services Agreement or Sub-Advisory
  Agreement;

                  (f)      All Claims against Highland for amounts paid by the Debtors to Highland
  under the Shared Services Agreement and Sub-Advisory Agreement, including any Claim that
  Highland overcharged Acis LP for services under such agreements, charged excessive fees in
  violation of Acis LP’s limited partnership agreement and/or Acis GP’s limited liability company
  agreement, and/or that the Shared Services Agreement and Sub-Advisory Agreement or any
  related or predecessor agreements are void or voidable based on ultra vires or any other
  theories of avoidance and recovery, including turnover, conversion and Avoidance Actions
  under the Bankruptcy Code;

                   (g)     All Claims for breach of the PMAs or the Indentures;

                 (h)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (i)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (j)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (k)   All claims for tortious interference, including in relation to Universal-
  Investment-Luxembourg S.A. and BayVK R2 Lux S.A., SICAV-FIS;

                  (l)    All Claims against Highland for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (m)      All Claims against Highland for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (n)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (o)   All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland or any Affiliates thereof, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Acis LP;

                   (p)     All Claims based on alter ego or rights to pierce the corporate veil of

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  and Acis Capital Management GP, LLC                                                                Page 2
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  Highland as to any Person, including as against any Affiliates of Highland, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Highland, and,

                 (q)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

         4.      HCLOF Claims. All Estate Claims against HCLOF are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
  Trustee’s Adversary. The Estate Claims against HCLOF shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation, the following:

                 (a)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against HCLOF;

                   (e)     All Claims for breach of the PMAs or the Indentures;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)    All Claims against HCLOF for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (j)      All Claims against HCLOF for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (k)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by HCLOF against the Debtors, Chapter 11 Trustee, or Estate;

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  and Acis Capital Management GP, LLC                                                           Page 3
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                 (l)     All Claims based on alter ego or rights to pierce the corporate veil of
  HCLOF as to any Person, including as against any Affiliates of HCLOF or Highland, William
  Scott, Heather Bestwick, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of HCLOF; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          5.      Highland HCF Advisor, Ltd. Claims. All Estate Claims against Highland HCF
  Advisor, Ltd. (“Highland HCF”) are reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims asserted by the
  Chapter 11 Trustee in the Highland Adversary. The Estate Claims against Highland HCF shall
  include all Estate Claims set forth in paragraph 2 above, including without limitation, the
  following:

                (a)      All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against Highland HCF;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland HCF for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland HCF for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland HCF against the Debtors, Chapter 11 Trustee, or

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  and Acis Capital Management GP, LLC                                                             Page 4
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  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland HCF as to any Person, including as against any Affiliates of Highland HCF or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland HCF; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           6.      Highland CLO Management, Ltd. Claims. All Estate Claims against Highland
  CLO Management, Ltd. (“Highland CLOM”) are reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor, including without limitation all such Estate Claims
  asserted by the Chapter 11 Trustee in the Highland Adversary. The Estate Claims against
  Highland CLOM shall include all Estate Claims set forth in paragraph 2 above, including without
  limitation the following:

                (a)      All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against Highland CLOM;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland CLOM for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland CLOM for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;


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  and Acis Capital Management GP, LLC                                                           Page 5
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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland CLOM against the Debtors, Chapter 11 Trustee, or
  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland CLOM as to any Person, including as against any Affiliates of Highland CLOM or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland CLOM; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          7.      CLO Holdco, Ltd. Claims. All Estate Claims against CLO Holdco, Ltd. (“CLO
  Holdco”) are reserved, retained and preserved for the benefit of the Estate and Reorganized
  Debtor, including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in
  the Trustee’s Adversary. The Estate Claims against CLO Holdco shall include all Estate Claims
  set forth in paragraph 2 above, including without limitation, the following:

                  (a)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Highland Adversary;

                  (b)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against CLO Holdco;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against CLO Holdco for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against CLO Holdco for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

  Exhibit “A” to SecondThird Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 6
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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (k)     All Claims based on alter ego or rights to pierce the corporate veil of CLO
  Holdco as to any Person, including as against any Affiliates of CLO Holdco or Highland, or any
  other officers, directors, equity interest holders, or Persons otherwise in control of CLO Holdco;
  and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          8.     Neutra, Ltd. Claims. All Estate Claims against Neutra, Ltd. (“Neutra”) are
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
  including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
  Trustee’s Adversary. The Estate Claims against Neutra shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation the following:

                 (a)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against Neutra;

                (e)    All Claims for breach of fiduciary or duty of loyalty or due care owed to the
  Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (h)    All Claims against Neutra for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                   (i)     All Claims against Neutra for the unauthorized use of Estate Assets

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  and Acis Capital Management GP, LLC                                                            Page 7
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  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Neutra against the Debtors, Chapter 11 Trustee, or Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Neutra, Highland, or any Affiliates thereof, James D.
  Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of
  Neutra as to any Person, including as against any Affiliates of Neutra or Highland, or any other
  officers, directors, equity interest holders, or Persons otherwise in control of Neutra; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          9.     Claims against Issuers, Co-Issuers and Indenture Trustee. All Estate Claims
  against CLO-3, CLO-4, CLO-5, and CLO-6 (collectively, the “Issuers”), Acis CLO 2014-3 LLC,
  Acis CLO 2014-4 LLC, Acis CLO 2014-5 LLC, and Acis CLO 2015-6 LLC (collectively, the "Co-
  Issuers"), and the Indenture Trustee are reserved, retained and preserved for the benefit of the
  Estate and Reorganized Debtor, including without limitation all such Estate Claims asserted by
  the Chapter 11 Trustee in the Trustee’s Adversary. The Estate Claims against the Issuers, Co-
  Issuers and/or Indenture Trustee shall include all Estate Claims set forth in paragraph 2 above,
  including without limitation the following:

                 (a)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Highland Adversary;

                 (b)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against the Issuers, Co-Issuers and/or Indenture
  Trustee;

                (e)   All Claims for breach of the Indentures, PMAs or any other agreements
  between Acis LP and the Issuers, Co-Issuers, and/or Indenture Trustee;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

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  and Acis Capital Management GP, LLC                                                           Page 8
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                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)      All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the turnover of Estate Assets, including Estate property that the Chapter 11 Trustee may use,
  sell or lease under section 363 of the Bankruptcy Code including, without limitation, any
  intellectual property rights or Assets owned by the Debtors or Estate, as well as the turnover of
  any books, documents, records and papers relating to the Debtors’ property or financial affairs;

                 (j)   All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the unauthorized use of Estate Assets including, without limitation, any intellectual property
  rights or Assets owned by the Debtors or Estate;

                 (k)    All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by the Issuers or Co-Issuers against the Debtors, Chapter 11
  Trustee, or Estate; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           10.     Highland Affiliate Claims. All Estate Claims against any Affiliates of Highland are
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
  including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
  Highland Adversary and the Trustee’s Adversary. The Estate Claims against any Affiliates of
  Highland shall include all Estate Claims set forth in paragraph 2 above, including without
  limitation the following:

                (a)      All such Claims against any Highland Affiliate asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against any Highland Affiliate asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)     All Avoidance Actions against any Highland Affiliate;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;


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  and Acis Capital Management GP, LLC                                                           Page 9
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                 (h)     All Claims against any Highland Affiliate for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)     All Claims against any Highland Affiliate for the unauthorized use of
  Estate Assets including, without limitation, any intellectual property rights or Assets owned by
  the Debtors or Estate;

                 (j)    All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by any Highland Affiliate against the Debtors, Chapter 11
  Trustee, or Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland, Neutra, or any Affiliates thereof, James D.
  Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of any
  Highland Affiliate as to any Person, including as against any other Affiliates of Highland or any
  officers, directors, equity interest holders, or Persons otherwise in control of any Highland
  Affiliates; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          11.     Dondero Claims. All Estate Claims as defined in paragraph 2 above against
  James D. Dondero, individually, are hereby reserved, retained and preserved for the benefit of
  the Estate and Reorganized Debtor, including without limitation all such Estate Claims against
  James D. Dondero for fraud, constructive fraud, breach of fiduciary duty, breach of duty of
  loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
  duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
  opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
  interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
  S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
  breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
  Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
  agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
  assisting, encouraging, and/or participating in any unlawful act, as well as any Claim to pierce
  the corporate veil of any entity to hold James D. Dondero individually liable.

          12.    Okada Claims. All Estate Claims as defined in paragraph 2 above against Mark
  K. Okada, individually, are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims against Mark K.
  Okada for fraud, constructive fraud, breach of fiduciary duty, breach of duty of loyalty or due
  care, aiding and abetting breach of fiduciary duty, self-dealing, ultra vires, conversion,
  usurpation of corporate opportunity, including in relation to Acis CLO 2017-7, Ltd and any other
  Acis CLOs, tortious interference, including in relation to Universal-Investment-Luxembourg S.A.
  and BayVK R2 Lux S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all


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  Avoidance Actions, breach of contract, breach of the Shared Services Agreement, breach of the
  Sub-Advisory Agreement, breach of the Debtors’ limited partnership agreement or limited
  liability company agreement, conspiracy to commit any unlawful act, aiding and abetting any
  unlawful act, and assisting, encouraging, and participating in any unlawful act, as well as any
  Claim to pierce the corporate veil of any entity to hold Mark K. Okada individually liable.

           13.    Preference Claims. All Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code against any Person are hereby reserved, retained and preserved for the
  benefit of the Estate and Reorganized Debtor for any payment made to any Person by either of
  the Debtors within ninety (90) days of the Petition Date (which was January 30, 2018), or made
  by either of the Debtors to any insider within one (1) year of the Petition Date. A non-exhaustive
  list of Persons who are believed to have received payments from either of the Debtors during
  the 90-day preference period, and the one-year preference period for Insiders, is attached to
  this Exhibit “A” as Schedule “1”. The Plan reserves, retains and preserves for the benefit of
  the Estate and Reorganized Debtor all potential Claims arising out of or relating to the transfers
  reflected in Schedule “1”, including all Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code. All rights and remedies are also reserved. retained and preserved with
  respect to the transfers reflected in Schedule “1” pursuant to section 550 of the Bankruptcy
  Code.

                  Schedule “1” reflects transfers made by the Debtors during the 90 days prior to
  the Petition Date and transfers made by the Debtors to any insiders within one (1) year of the
  Petition Date. While the Plan reserves, retains and preserves all Avoidance Actions relating to
  the transfers reflected in Schedule “1”, the Chapter 11 Trustee recognizes that certain of these
  transfers may not constitute a preferential transfer pursuant to section 547(b) of the Bankruptcy
  Code as a transfer made in the ordinary course of business transactions or based upon new
  value subsequently given by the transferee. Consequently, the listing of a payment on
  Schedule “1” does not necessarily mean that a transferee will ever be sued to avoid and
  recover the payment, the transfer, or the value thereof, but only that the Plan reserves, retains
  and preserves all rights (including Avoidance Actions) as to that payment.

          14.     Claims Against Officers, Managers and Members. All Estate Claims as defined
  in paragraph 2 above are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor against all present and past officers, employees, members and
  managers of the Debtors, including all such Estate Causes of Action based on breach of
  fiduciary duty, aiding and abetting breach of fiduciary duty, breach of duty of loyalty or due care,
  aiding and abetting breach of duty of loyalty or due care, self-dealing, usurpation of corporate
  opportunity, gross negligence or conspiracy. Without limiting the generality of the foregoing, this
  shall include all D&O Claims as against any present or former officer, director, employee,
  member, manager, or partner.

          15.     Claims Against Former Attorneys and Law Firms. All Estate Claims as defined in
  paragraph 2, above, including Claims for breach of any fiduciary duty or duty of loyalty or due
  care, conspiracy to commit any unlawful act, aiding and/or abetting any such unlawful act, or
  assisting, encouraging, and/or participating in any such unlawful act, including knowingly aiding,
  abetting, or assisting with a fraudulent transfer to avoid paying a judgment, negligent or
  fraudulent misrepresentation, vicarious liability, and respondeat superior, as well as all Claims
  for legal or professional malpractice, are hereby reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor against all law firms and attorneys who and which
  rendered legal services to the Debtors on a prepetition basis including, but not limited to, the
  following:

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  and Acis Capital Management GP, LLC                                                         Page 11
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                   (a)     Cole Schotz, P.C.

                   (b)     Michael D. Warner

                   (c)     Jacob Frumkin

                   (d)     Warren A. Usatine

                   (e)     McKool Smith

                   (f)     Gary Cruciani

                   (g)     Michael Fritz

                   (h)     Carson Young

                   (i)     Lackey Hershman, LLP

                   (j)     Stinson Leonard Street LLP

                   (k)     Paul Lackey, Esq.

                   (l)     Michael Aigen, Esq.

                   (m)     Abrams & Bayliss, LLP

                   (n)     Kevin G. Abrams

                   (o)     A. Thompson Bayliss

                   (p)     Jones Day

                   (q)     Hilda C. Galvan

                   (r)     Michael Weinberg

                   (s)     Reid Collins & Tsai, LLP

                   (t)     Lisa Tsai

                   (u)     Stanton, LLP

                   (v)     James M. Stanton

                   (w)     Hunton Andrews Kurth

                   (x)     Marc Katz

                   (y)     Greg Waller

               (z)    any other law firm or attorney who may be so named at a later date by the
  Reorganized Debtor.

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  and Acis Capital Management GP, LLC                                                   Page 12
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           15.16. Retention of Claims Against Specific Persons or Categories of Persons. In
  addition to the foregoing, all Estate Claims as defined in paragraph 2 above are hereby
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor against
  the following Persons:

                   (a)     William Scott;

                   (b)     Heather Bestwick;

               (c)    Any other Person who may be so named at a later date by the
  Reorganized Debtor.



          16.17. Counterclaims. All Estate Claims as defined in paragraph 2 above are reserved,
  retained and preserved for the benefit of the Estate and Reorganized Debtor both as a basis for
  an affirmative recovery against the Person against whom such Claims are asserted and as a
  counterclaim or offset against any Person who asserts a Claim against the Estate or
  Reorganized Debtor.

          17.18. Piercing the Corporate Veil. With respect to all Estate Claims against any
  Person, all rights to pierce or ignore the corporate veil are hereby reserved, retained and
  preserved for the benefit of the Estate and the Reorganized Debtor. Without limiting the
  generality of the foregoing, this shall include: (a) any right to pierce the corporate veil, including
  reverse piercing, on any theory or basis, including alter ego or any theory of sham to perpetrate
  a fraud, and (b) any Claim or basis to pierce the corporate veil of any entity with respect to
  establishing personal liability against James D. Dondero or Mark K. Okada.

         18.19. Avoidance Actions. All Avoidance Actions are hereby reserved, retained and
  preserved as to all Persons. The reservation, retention and preservation of such Avoidance
  Actions shall include the reservation, retention and preservation for the benefit of the Estate and
  Reorganized Debtor of all rights and remedies pursuant to section 550 of the Bankruptcy Code.

           19.20. Estate Defenses. All Estate Defenses are hereby reserved, retained and
  preserved in favor of the Estate and Reorganized Debtor as against any Person asserting any
  Claim against the Estate. This includes asserting all Estate Claims as an offset to, or
  counterclaim or right of recoupment against, any Person asserting a Claim against the Estate.
  All defenses and affirmative defenses pursuant to applicable law are hereby reserved, retained
  and preserved for the benefit of the Estate and the Reorganized Debtor, including without
  limitation, accord and satisfaction, assumption of risk, contributory negligence, duress, estoppel,
  failure of consideration, fraud, illegality, laches, license, payment, release, res judicata,
  collateral estoppel, statute of frauds, statute of limitations or repose, discovery rule, adverse
  domination doctrine or similar doctrines, set off, recoupment, waiver, and all other defenses to
  Claims under the Bankruptcy Code, including under sections 502(b)(4) and 502(d).

         20.21. Equitable Subordination. All rights or remedies for Equitable Subordination are
  hereby reserved, retained and preserved in favor of the Estate and Reorganized Debtor against
  any Person asserting any Claim against the Estate, including all such rights or remedies
  pursuant to section 510(c) of the Bankruptcy Code. Without limiting the generality of the
  foregoing, this shall include all rights and remedies to Equitable Subordination as to any Claim
  asserted by Highland, any Affiliates of Highland, or any officers, directors, employees or equity


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  interest owners of the Debtors, Highland, or any Affiliates thereof.

          21.22. Recharacterization. All rights or remedies to recharacterize any Claim as an
  equity interest in either of the Debtors are hereby reserved, retained and preserved in favor of
  the Estate and Reorganized Debtor against any Person asserting any Claim against the Estate.
  Without limiting the generality of the foregoing, this shall include all rights and remedies to
  recharacterize any Claim asserted by Highland, any Affiliates of Highland, or any officers,
  directors, employees or equity interest owners of the Debtors, Highland, or any Affiliates thereof.




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  and Acis Capital Management GP, LLC                                                        Page 14
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                                                    Schedule 1 to Exhibit "A" to
                  Third Amended Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC
                                                                      DATE OF                                      REASON FOR PAYMENT
              NAME                           ADDRESS                  PAYMENT          PAYMENT AMOUNT                 ON SCHEDULES
                                                 Payments within 90 Days of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/2/2017                         $234,013.63   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/3/2017                         $941,958.57   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                12/8/2017                          $89,655.14   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/15/2017                          $2,068.13   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/30/2017                         $24,266.71   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/12/2017                          $1,718.79   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/29/2017                         $25,000.00   Services
                                                                                                                                          Case 18-30264-sgj11 Doc 829 Filed 01/31/19




                                  1735 K Street, NW
FINRA                             Washington, DC 20006            11/22/2017                             $70.00   Suppliers or Vendors
                                  PO Box 309, Ugland House
                                  Grand Cayman, KY1-1104,
Highland CLO Management, Ltd.     Cayman Islands                  12/19/2017                      $2,830,459.22   Services
                                            Payments to Insiders within One Year of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                          $976,688.47   Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                        $1,096,033.37   Services
                                  300 Crescent Court, Ste. 700
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Highland Capital Management, LP   Dallas, TX 75208                2/2/2017                            $3,574.80   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/14/2017                              $67.44   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/17/2017                        $315,574.30    Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/18/2017                        $438,497.51    Services
                                                                                                                                          Page 147 of 229
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                                                    Schedule 1 to Exhibit "A" to
                  Third Amended Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC
                                                                   DATE OF                                  REASON FOR PAYMENT
             NAME                           ADDRESS                PAYMENT         PAYMENT AMOUNT              ON SCHEDULES
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/18/2017                    $375,855.01 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/19/2017                    $330,249.69 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/1/2017                     $974,426.41 Services
                                  300 Crescent Court, Ste. 700                                            Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                  $2,809,518.47 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                    $581,036.15 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               7/18/2017                    $373,167.08 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/1/2017                     $971,603.02 Contractual Payment
                                  300 Crescent Court, Ste. 700
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Highland Capital Management, LP   Dallas, TX 75208               8/7/2017                   $1,339,422.12 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/16/2017                          $53.41 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                   $372,872.82 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                   $728,702.26 Services
                                  300 Crescent Court, Ste. 700                                            Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               10/24/2017                   $501,979.18 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                    $46,648.82 Expense Reimbursement
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                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                    $67,966.85 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               11/1/2017                    $967,223.91 Contractual Payment
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                        Exhibit “3”
                        [Service Lists]
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                         EXHIBIT “3”
    [Second Modification to the Third Amended Joint Plan for
   Acis Capital Management, L.P. and Acis Capital Management
                     GP, LLC – Dkt. No. 702]
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   Rakhee V. Patel – State Bar No. 00797213               Jeff P. Prostok – State Bar No. 16352500
   Phillip Lamberson – State Bar No. 00794134             J. Robert Forshey – State Bar No. 07264200
   Joe Wielebinski – State Bar No. 21432400               Suzanne K. Rosen – State Bar No. 00798518
   Annmarie Chiarello – State Bar No. 24097496            Matthew G. Maben – State Bar No. 24037008
                                                          FORSHEY & PROSTOK LLP
   WINSTEAD PC
                                                          777 Main St., Suite 1290
   500 Winstead Building                                  Ft. Worth, TX 76102
   2728 N. Harwood Street                                 Telephone: (817) 877-8855
   Dallas, Texas 75201                                    Facsimile: (817) 877-4151
   Telephone: (214) 745-5400                              jprostok@forsheyprostok.com
   Facsimile: (214) 745-5390                              bforshey@forsheyprostok.com
   rpatel@winstead.com                                    srosen@forsheyprostok.com
   plamberson@winstead.com                                mmaben@forsheyprostok.com
   jwielebinski@winstead.com
                                                          COUNSEL FOR ROBIN PHELAN,
   achiarello@winstead.com                                CHAPTER 11 TRUSTEE

   SPECIAL COUNSEL FOR
   ROBIN PHELAN, CHAPTER 11 TRUSTEE



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                           §
   IN RE:                                                  §    CHAPTER 11 CASES
                                                           §
   ACIS CAPITAL MANAGEMENT, L.P.,                          §    CASE NO. 18-30264-sgj11
   ACIS CAPITAL MANAGEMENT GP, LLC,                        §    (Jointly Administered)
                                                           §
                                   Debtors.                §

       SECOND MODIFICATION TO THE THIRD AMENDED JOINT PLAN FOR
   ACIS CAPITAL MANAGEMENT, LP AND ACIS CAPITAL MANAGEMENT GP, LLC

          Robin Phelan (“Trustee”), the Chapter 11 Trustee for Acis Capital Management, LP and

  Acis Capital Management GP, LLC (the “Debtors”), files this Second Modification (the “First

  Modification”) to the Third Amended Joint Chapter 11 Plan for Acis Capital Management, LP

  and Acis Capital Management GP, LLC [Docket No. 660], as modified by the First Modification

  to the Third Amended Joint Chapter 11 Plan for Acis Capital Management, LP and Acis Capital

  Management GP, LLC [Docket No. 693] (together, the “Plan”).

          1.      Reference is here made to the Plan for all purposes. This Second Modification

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  modifies the Plan.

         2.      Modification to Exhibit “A”. The copy of the Exhibit “A” reflecting Estate

  Claims is hereby deleted in its entirety and replaced with the version of the “Exhibit A” attached

  hereto as Exhibit “1.”

         3.      A copy of the document reflecting the modifications to Exhibit A to the Plan in

  redline format is attached hereto as Exhibit “2.”

         4.      This Second Modification is a non-material change. It merely revises the Estate

  Claims being reserved, retained and preserved under the Plan.           Further, even if this First

  Modification were deemed material, it is being sent to all creditors and parties in interest ten (10)

  days in advance of the deadline for parties to submit ballots and any objections to the Plan.

  Consequently, creditors and parties in interest will have an adequate opportunity to evaluate this

  modification prior to voting on the Plan or to change their previous acceptance or rejection upon

  consideration of the modification.

  Dated: November 16, 2018.             Respectfully submitted,

                                        ACIS CAPITAL MANAGEMENT, L.P.

                                        By: /s/ Robin Phelan
                                            Robin Phelan
                                            Chapter 11 Trustee

                                        ACIS CAPITAL MANAGMENET GP, LLC

                                        By: /s/ Robin Phelan
                                            Robin Phelan
                                            Chapter 11 Trustee




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   APPROVED:                                                            APPROVED:

   /s/ Jeff P. Prostok                                                  /s/ Rahkee V. Patel
   Jeff P. Prostok – State Bar No. 16352500                             Rakhee V. Patel – State Bar No. 00797213
   J. Robert Forshey – State Bar No. 07264200                           Phillip Lamberson – State Bar No. 00794134
   Suzanne K. Rosen – State Bar No. 00798518                            Joe Wielebinski – State Bar No. 21432400
   Matthew G. Maben – State Bar No. 24037008                            Annmarie Chiarello –State Bar No. 24097496
   FORSHEY & PROSTOK LLP                                                WINSTEAD PC
   777 Main St., Suite 1290                                             500 Winstead Building
   Ft. Worth, TX 76102                                                  2728 N. Harwood Street
   Telephone: (817) 877-8855                                            Dallas, Texas 75201
   Facsimile: (817) 877-4151                                            Telephone: (214) 745-5400
   jprostok@forsheyprostok.com                                          Facsimile: (214) 745-5390
   bforshey@forsheyprostok.com                                          rpatel@winstead.com
   srosen@forsheyprostok.com                                            plamberson@winstead.com
   mmaben@forsheyprostok.com                                            jwielebinski@winstead.com
                                                                        achiarello@winstead.com
   COUNSEL FOR ROBIN PHELAN,
   CHAPTER 11 TRUSTEE                                                   SPECIAL COUNSEL FOR ROBIN
                                                                        PHELAN, CHAPTER 11 TRUSTEE



                                                 CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document and the attached exhibits
  were served electronically via the Court’s Electronic Court Filing (ECF) notification system and via U.S.
  Mail, postage prepaid (and via Express Mail to out of country recipients) on the parties on the service lists
  attached as Exhibit “3” hereto on November 16, 2018.

                                                                            /s/ Jeff P. Prostok
                                                                            Jeff P. Prostok




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                        Exhibit “1”
        [Revised Exhibit “A” to the
        Third Amended Joint Plan]
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                                        EXHIBIT “A”
                                             to
      Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC

          1.      Defined Terms. This Exhibit “A” constitutes an integral part of the Plan of which it
  is a part. Defined terms in the Plan are to be given the same meaning in this Exhibit “A”. The
  rules of construction set forth in Article I.B. of the Plan shall likewise apply to this Exhibit “A”.

          2.      Estate Claims Reserved, Retained and Preserved. All Estate Claims are hereby
  reserved, retained and preserved, and shall all be transferred to, and vested in, the
  Reorganized Debtor pursuant to this Plan, and shall include without limitation all of the Estate
  Claims described below. In reserving, retaining, and preserving Estate Claims against any
  named Person or category of Persons, it is the intent of this Plan to so reserve, retain, and
  preserve any and all Estate Claim against each such Person or category of Persons, including
  all such Estate Claims pursuant to any applicable common law, based on any contract or
  agreement or based upon any law, statute or regulation of any political entity, including the
  United States and any state or political subdivision thereof, as well as all applicable remedies,
  whether legal or equitable. Without limiting the generality of the foregoing, the reservation,
  retention, and preservation of Estate Claims against any Person, and the term “Estate Claims,”
  shall encompass all Estate Claims against any such Person, including without limitation, all such
  Estate Claims for breach of contract, all rights to enforce any contract, any form of estoppel,
  fraud, constructive fraud, abuse of process, malicious prosecution, defamation, libel, slander,
  conversion, trespass, intentional infliction of emotional distress or other harm, negligence, gross
  negligence, negligent misrepresentation, fraudulent misrepresentation, vicarious liability,
  respondeat superior, breach of any duty owed under either applicable law or any contract,
  breach of any fiduciary duty or duty of loyalty or due care, aiding and/or abetting breach of
  fiduciary duty, aiding and/or abetting breach of duty of loyalty or due care, alter ego, veil
  piercing, self-dealing, usurpation of corporate opportunity, ultra vires, turnover of Estate Assets,
  unauthorized use of Estate Assets, including intellectual property rights or Assets owned by the
  Debtors or Chapter 11 Trustee, quantum merit, tortious interference, duress, unconscionability,
  undue influence, and unjust enrichment, as well as any cause of action for conspiracy to commit
  any unlawful act, aiding and/or abetting any such unlawful act, or assisting, encouraging, and/or
  participating in any such unlawful act, or claims arising from or relating to the filing of the
  involuntary bankruptcy petitions against the Debtors.

          3.      Highland Claims. All Estate Claims against Highland are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in Adversary Proceeding No. 18-03078-
  sgj (the “Highland Adversary”) and Adversary Proceeding No. 18-03212-sgj (the “Trustee’s
  Adversary”). The Estate Claims against Highland shall include all Estate Claims set forth in
  paragraph 2 above, including without limitation, the following:

                (a)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Highland Adversary;

                (b)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the

  Exhibit “A” to Third Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 1
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  Chapter 11 Trustee or Estate;

                (d)    All Avoidance Actions against Highland, including any claims to avoid and
  recover amounts transferred by the Debtors to Highland under the Shared Services Agreement
  or Sub-Advisory Agreement;

                   (e)      All Claims for breach of the Shared Services Agreement or Sub-Advisory
  Agreement;

                  (f)      All Claims against Highland for amounts paid by the Debtors to Highland
  under the Shared Services Agreement and Sub-Advisory Agreement, including any Claim that
  Highland overcharged Acis LP for services under such agreements, charged excessive fees in
  violation of Acis LP’s limited partnership agreement and/or Acis GP’s limited liability company
  agreement, and/or that the Shared Services Agreement and Sub-Advisory Agreement or any
  related or predecessor agreements are void or voidable based on ultra vires or any other
  theories of avoidance and recovery, including turnover, conversion and Avoidance Actions
  under the Bankruptcy Code;

                   (g)      All Claims for breach of the PMAs or the Indentures;

                 (h)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (i)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (j)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (k)   All claims for tortious interference, including in relation to Universal-
  Investment-Luxembourg S.A. and BayVK R2 Lux S.A., SICAV-FIS;

                  (l)    All Claims against Highland for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (m)      All Claims against Highland for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (n)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (o)   All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland or any Affiliates thereof, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Acis LP;

                   (p)      All Claims based on alter ego or rights to pierce the corporate veil of

  Exhibit “A” to Third Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                                 Page 2
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  Highland as to any Person, including as against any Affiliates of Highland, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Highland, and,

                 (q)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

         4.      HCLOF Claims. All Estate Claims against HCLOF are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
  Trustee’s Adversary. The Estate Claims against HCLOF shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation, the following:

                 (a)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against HCLOF;

                   (e)      All Claims for breach of the PMAs or the Indentures;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)    All Claims against HCLOF for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (j)      All Claims against HCLOF for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (k)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by HCLOF against the Debtors, Chapter 11 Trustee, or Estate;

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  and Acis Capital Management GP, LLC                                                           Page 3
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                 (l)     All Claims based on alter ego or rights to pierce the corporate veil of
  HCLOF as to any Person, including as against any Affiliates of HCLOF or Highland, William
  Scott, Heather Bestwick, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of HCLOF; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          5.      Highland HCF Advisor, Ltd. Claims. All Estate Claims against Highland HCF
  Advisor, Ltd. (“Highland HCF”) are reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims asserted by the
  Chapter 11 Trustee in the Highland Adversary. The Estate Claims against Highland HCF shall
  include all Estate Claims set forth in paragraph 2 above, including without limitation, the
  following:

                (a)      All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Highland HCF;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland HCF for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland HCF for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland HCF against the Debtors, Chapter 11 Trustee, or

  Exhibit “A” to Third Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                             Page 4
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  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland HCF as to any Person, including as against any Affiliates of Highland HCF or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland HCF; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           6.      Highland CLO Management, Ltd. Claims. All Estate Claims against Highland
  CLO Management, Ltd. (“Highland CLOM”) are reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor, including without limitation all such Estate Claims
  asserted by the Chapter 11 Trustee in the Highland Adversary. The Estate Claims against
  Highland CLOM shall include all Estate Claims set forth in paragraph 2 above, including without
  limitation the following:

                (a)      All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Highland CLOM;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland CLOM for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland CLOM for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;


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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland CLOM against the Debtors, Chapter 11 Trustee, or
  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland CLOM as to any Person, including as against any Affiliates of Highland CLOM or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland CLOM; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          7.      CLO Holdco, Ltd. Claims. All Estate Claims against CLO Holdco, Ltd. (“CLO
  Holdco”) are reserved, retained and preserved for the benefit of the Estate and Reorganized
  Debtor, including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in
  the Trustee’s Adversary. The Estate Claims against CLO Holdco shall include all Estate Claims
  set forth in paragraph 2 above, including without limitation, the following:

                  (a)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Highland Adversary;

                  (b)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against CLO Holdco;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against CLO Holdco for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against CLO Holdco for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

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  and Acis Capital Management GP, LLC                                                           Page 6
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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (k)     All Claims based on alter ego or rights to pierce the corporate veil of CLO
  Holdco as to any Person, including as against any Affiliates of CLO Holdco or Highland, or any
  other officers, directors, equity interest holders, or Persons otherwise in control of CLO Holdco;
  and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          8.     Neutra, Ltd. Claims. All Estate Claims against Neutra, Ltd. (“Neutra”) are
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
  including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
  Trustee’s Adversary. The Estate Claims against Neutra shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation the following:

                 (a)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Neutra;

                (e)    All Claims for breach of fiduciary or duty of loyalty or due care owed to the
  Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (h)    All Claims against Neutra for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                   (i)      All Claims against Neutra for the unauthorized use of Estate Assets

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  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Neutra against the Debtors, Chapter 11 Trustee, or Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Neutra, Highland, or any Affiliates thereof, James D.
  Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of
  Neutra as to any Person, including as against any Affiliates of Neutra or Highland, or any other
  officers, directors, equity interest holders, or Persons otherwise in control of Neutra; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          9.     Claims against Issuers, Co-Issuers and Indenture Trustee. All Estate Claims
  against CLO-3, CLO-4, CLO-5, and CLO-6 (collectively, the “Issuers”), Acis CLO 2014-3 LLC,
  Acis CLO 2014-4 LLC, Acis CLO 2014-5 LLC, and Acis CLO 2015-6 LLC (collectively, the "Co-
  Issuers"), and the Indenture Trustee are reserved, retained and preserved for the benefit of the
  Estate and Reorganized Debtor, including without limitation all such Estate Claims asserted by
  the Chapter 11 Trustee in the Trustee’s Adversary. The Estate Claims against the Issuers, Co-
  Issuers and/or Indenture Trustee shall include all Estate Claims set forth in paragraph 2 above,
  including without limitation the following:

                 (a)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Highland Adversary;

                 (b)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against the Issuers, Co-Issuers and/or Indenture
  Trustee;

                (e)   All Claims for breach of the Indentures, PMAs or any other agreements
  between Acis LP and the Issuers, Co-Issuers, and/or Indenture Trustee;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

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                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)      All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the turnover of Estate Assets, including Estate property that the Chapter 11 Trustee may use,
  sell or lease under section 363 of the Bankruptcy Code including, without limitation, any
  intellectual property rights or Assets owned by the Debtors or Estate, as well as the turnover of
  any books, documents, records and papers relating to the Debtors’ property or financial affairs;

                 (j)   All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the unauthorized use of Estate Assets including, without limitation, any intellectual property
  rights or Assets owned by the Debtors or Estate;

                 (k)    All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by the Issuers or Co-Issuers against the Debtors, Chapter 11
  Trustee, or Estate; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           10.     Claims Against Any Affiliates of Highland, HCLOF, Highland HCF, Highland
  CLOM, CLO Holdco, Neutra, and Their Respective Affiliates. All Estate Claims against any
  Affiliates of Highland, HCLOF, Highland HCF, Highland CLOM, CLO Holdco, Neutra, and Their
  Respective Affiliates (collectively, the “Affiliates” and each, an “Affiliate”) are reserved, retained
  and preserved for the benefit of the Estate and Reorganized Debtor, including without limitation
  all such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
  Trustee’s Adversary. The Estate Claims against such Affiliates shall include all Estate Claims
  set forth in paragraph 2 above, including without limitation the following:

                  (a)    All such Claims against any Affiliate asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Highland Adversary;

                  (b)    All such Claims against any Affiliate asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against any Affiliate;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                   (g)      All Clams for usurpation of a corporate opportunity belonging to either of

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  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (h)    All Claims against any Affiliate for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against any Affiliate for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by any Affiliate against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland, HCLOF, Highland HCF, Highland CLOM,
  CLO Holdco, Neutra, the Affiliates, James D. Dondero, Mark K. Okada, or any other officers,
  directors, equity interest holders, or Persons otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of any
  Affiliate as to any Person, including as against Highland, HCLOF, Highland HCF, Highland
  CLOM, CLO Holdco, Neutra, the Affiliates, James D. Dondero, Mark K. Okada, or any officers,
  directors, equity interest holders, or Persons otherwise in control of any Affiliates; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          11.     Dondero Claims. All Estate Claims as defined in paragraph 2 above against
  James D. Dondero, individually, are hereby reserved, retained and preserved for the benefit of
  the Estate and Reorganized Debtor, including without limitation all such Estate Claims against
  James D. Dondero for fraud, constructive fraud, breach of fiduciary duty, breach of duty of
  loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
  duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
  opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
  interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
  S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
  breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
  Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
  agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
  assisting, encouraging, and/or participating in any unlawful act, as well as any Claim to pierce
  the corporate veil of any entity to hold James D. Dondero individually liable.

          12.    Okada Claims. All Estate Claims as defined in paragraph 2 above against Mark
  K. Okada, individually, are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims against Mark K.
  Okada for fraud, constructive fraud, breach of fiduciary duty, breach of duty of loyalty or due
  care, aiding and abetting breach of fiduciary duty, self-dealing, ultra vires, conversion,
  usurpation of corporate opportunity, including in relation to Acis CLO 2017-7, Ltd and any other


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  Acis CLOs, tortious interference, including in relation to Universal-Investment-Luxembourg S.A.
  and BayVK R2 Lux S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all
  Avoidance Actions, breach of contract, breach of the Shared Services Agreement, breach of the
  Sub-Advisory Agreement, breach of the Debtors’ limited partnership agreement or limited
  liability company agreement, conspiracy to commit any unlawful act, aiding and abetting any
  unlawful act, and assisting, encouraging, and participating in any unlawful act, as well as any
  Claim to pierce the corporate veil of any entity to hold Mark K. Okada individually liable.

           13.    Preference Claims. All Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code against any Person are hereby reserved, retained and preserved for the
  benefit of the Estate and Reorganized Debtor for any payment made to any Person by either of
  the Debtors within ninety (90) days of the Petition Date (which was January 30, 2018), or made
  by either of the Debtors to any insider within one (1) year of the Petition Date. A non-exhaustive
  list of Persons who are believed to have received payments from either of the Debtors during
  the 90-day preference period, and the one-year preference period for Insiders, is attached to
  this Exhibit “A” as Schedule “1”. The Plan reserves, retains and preserves for the benefit of
  the Estate and Reorganized Debtor all potential Claims arising out of or relating to the transfers
  reflected in Schedule “1”, including all Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code. All rights and remedies are also reserved. retained and preserved with
  respect to the transfers reflected in Schedule “1” pursuant to section 550 of the Bankruptcy
  Code.

                  Schedule “1” reflects transfers made by the Debtors during the 90 days prior to
  the Petition Date and transfers made by the Debtors to any insiders within one (1) year of the
  Petition Date. While the Plan reserves, retains and preserves all Avoidance Actions relating to
  the transfers reflected in Schedule “1”, the Chapter 11 Trustee recognizes that certain of these
  transfers may not constitute a preferential transfer pursuant to section 547(b) of the Bankruptcy
  Code as a transfer made in the ordinary course of business transactions or based upon new
  value subsequently given by the transferee. Consequently, the listing of a payment on
  Schedule “1” does not necessarily mean that a transferee will ever be sued to avoid and
  recover the payment, the transfer, or the value thereof, but only that the Plan reserves, retains
  and preserves all rights (including Avoidance Actions) as to that payment.

          14.     Claims Against Officers, Managers and Members. All Estate Claims as defined
  in paragraph 2 above are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor against all present and past officers, employees, members and
  managers of the Debtors, including all such Estate Causes of Action based on breach of
  fiduciary duty, aiding and abetting breach of fiduciary duty, breach of duty of loyalty or due care,
  aiding and abetting breach of duty of loyalty or due care, self-dealing, usurpation of corporate
  opportunity, gross negligence or conspiracy. Without limiting the generality of the foregoing, this
  shall include all D&O Claims as against any present or former officer, director, employee,
  member, manager, or partner.

          15.     Claims Against Former Attorneys and Law Firms. All Estate Claims as defined in
  paragraph 2, above, including Claims for breach of any fiduciary duty or duty of loyalty or due
  care, conspiracy to commit any unlawful act, aiding and/or abetting any such unlawful act, or
  assisting, encouraging, and/or participating in any such unlawful act, including knowingly aiding,
  abetting, or assisting with a fraudulent transfer to avoid paying a judgment, negligent or
  fraudulent misrepresentation, vicarious liability, and respondeat superior, as well as all Claims
  for legal or professional malpractice, are hereby reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor against all law firms and attorneys who and which

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  rendered legal services to the Debtors on a prepetition basis including, but not limited to, the
  following:

                   (a)      Cole Schotz, P.C.

                   (b)      Michael D. Warner

                   (c)      Jacob Frumkin

                   (d)      Warren A. Usatine

                   (e)      McKool Smith

                   (f)      Gary Cruciani

                   (g)      Michael P. Fritz

                   (h)      Carson D. Young

                   (i)      Nicholas Matthews

                   (j)      Lackey Hershman, LLP

                   (k)      Stinson Leonard Street LLP

                   (l)      Jamie R. Welton

                   (m)      Paul B. Lackey

                   (n)      Michael Aigen

                   (o)      Roger L. Mandel

                   (p)      Abrams & Bayliss, LLP

                   (q)      Kevin G. Abrams

                   (r)      A. Thompson Bayliss

                   (s)      Jones Day

                   (t)      Hilda C. Galvan

                   (u)      Michael Weinberg

                   (v)      Reid Collins & Tsai, LLP

                   (w)      Lisa Tsai

                   (x)      Stanton, LLP

                   (y)      James M. Stanton

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                   (z)      Hunton Andrews Kurth

                   (aa)     Marc Katz

                   (bb)     Greg Waller

               (cc)   any other law firm or attorney who may be so named at a later date by the
  Reorganized Debtor.

           16.    Claims Against Officers, Directors, Employees, Members, and Managers, of
  Highland, HCLOF, Highland HCF, Highland CLOM, CLO Holdco, Neutra, and Their Respective
  Affiliates. In addition to the foregoing, all Estate Claims as defined in paragraph 2 above are
  hereby reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor
  against all present and past officers, directors, employees, members and managers of Highland,
  HCLOF, Highland HCF, Highland CLOM, and their respective Affiliates, including all such Estate
  Causes of Action based on fraud, constructive fraud, breach of fiduciary duty, breach of duty of
  loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
  duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
  opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
  interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
  S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
  breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
  Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
  agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
  assisting, encouraging, and/or participating in any unlawful act. Such present and past officers,
  directors, employees, members and managers of Highland, HCLOF, Highland HCF, Highland
  CLOM, and their respective Affiliates include, but are not limited to, the following Persons:

                   (a)      William Scott;

                   (b)      Heather Bestwick;

                   (c)      Scott Ellington

                   (d)      Isaac Leventon

                   (e)      Jean Paul Sevilla

                   (f)      Hunter Covitz

                   (g)      The Dugaboy Investment Trust

                   (h)      Nancy Dondero, Trustee of the Dugaboy Trust

                   (i)      Grant Scott

               (j)    Any other Person who may be so named at a later date by the
  Reorganized Debtor.




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          17.     Counterclaims. All Estate Claims as defined in paragraph 2 above are reserved,
  retained and preserved for the benefit of the Estate and Reorganized Debtor both as a basis for
  an affirmative recovery against the Person against whom such Claims are asserted and as a
  counterclaim or offset against any Person who asserts a Claim against the Estate or
  Reorganized Debtor.

          18.     Piercing the Corporate Veil. With respect to all Estate Claims against any
  Person, all rights to pierce or ignore the corporate veil are hereby reserved, retained and
  preserved for the benefit of the Estate and the Reorganized Debtor. Without limiting the
  generality of the foregoing, this shall include: (a) any right to pierce the corporate veil, including
  reverse piercing, on any theory or basis, including alter ego or any theory of sham to perpetrate
  a fraud, and (b) any Claim or basis to pierce the corporate veil of any entity with respect to
  establishing personal liability against James D. Dondero or Mark K. Okada.

         19.      Avoidance Actions. All Avoidance Actions are hereby reserved, retained and
  preserved as to all Persons. The reservation, retention and preservation of such Avoidance
  Actions shall include the reservation, retention and preservation for the benefit of the Estate and
  Reorganized Debtor of all rights and remedies pursuant to section 550 of the Bankruptcy Code.

           20.    Estate Defenses. All Estate Defenses are hereby reserved, retained and
  preserved in favor of the Estate and Reorganized Debtor as against any Person asserting any
  Claim against the Estate. This includes asserting all Estate Claims as an offset to, or
  counterclaim or right of recoupment against, any Person asserting a Claim against the Estate.
  All defenses and affirmative defenses pursuant to applicable law are hereby reserved, retained
  and preserved for the benefit of the Estate and the Reorganized Debtor, including without
  limitation, accord and satisfaction, assumption of risk, contributory negligence, duress, estoppel,
  failure of consideration, fraud, illegality, laches, license, payment, release, res judicata,
  collateral estoppel, statute of frauds, statute of limitations or repose, discovery rule, adverse
  domination doctrine or similar doctrines, set off, recoupment, waiver, and all other defenses to
  Claims under the Bankruptcy Code, including under sections 502(b)(4) and 502(d).

          21.     Equitable Subordination. All rights or remedies for Equitable Subordination are
  hereby reserved, retained and preserved in favor of the Estate and Reorganized Debtor against
  any Person asserting any Claim against the Estate, including all such rights or remedies
  pursuant to section 510(c) of the Bankruptcy Code. Without limiting the generality of the
  foregoing, this shall include all rights and remedies to Equitable Subordination as to any Claim
  asserted by Highland, any Affiliates of Highland, or any officers, directors, employees or equity
  interest owners of the Debtors, Highland, or any Affiliates thereof.

          22.     Recharacterization. All rights or remedies to recharacterize any Claim as an
  equity interest in either of the Debtors are hereby reserved, retained and preserved in favor of
  the Estate and Reorganized Debtor against any Person asserting any Claim against the Estate.
  Without limiting the generality of the foregoing, this shall include all rights and remedies to
  recharacterize any Claim asserted by Highland, any Affiliates of Highland, or any officers,
  directors, employees or equity interest owners of the Debtors, Highland, or any Affiliates thereof.




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                                      EXHIBIT “A”
                                           to
    Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC

        1.      Defined Terms. This Exhibit “A” constitutes an integral part of the Plan of which it
is a part. Defined terms in the Plan are to be given the same meaning in this Exhibit “A”. The
rules of construction set forth in Article I.B. of the Plan shall likewise apply to this Exhibit “A”.

        2.      Estate Claims Reserved, Retained and Preserved. All Estate Claims are hereby
reserved, retained and preserved, and shall all be transferred to, and vested in, the
Reorganized Debtor pursuant to this Plan, and shall include without limitation all of the Estate
Claims described below. In reserving, retaining, and preserving Estate Claims against any
named Person or category of Persons, it is the intent of this Plan to so reserve, retain, and
preserve any and all Estate Claim against each such Person or category of Persons, including
all such Estate Claims pursuant to any applicable common law, based on any contract or
agreement or based upon any law, statute or regulation of any political entity, including the
United States and any state or political subdivision thereof, as well as all applicable remedies,
whether legal or equitable. Without limiting the generality of the foregoing, the reservation,
retention, and preservation of Estate Claims against any Person, and the term “Estate Claims,”
shall encompass all Estate Claims against any such Person, including without limitation, all such
Estate Claims for breach of contract, all rights to enforce any contract, any form of estoppel,
fraud, constructive fraud, abuse of process, malicious prosecution, defamation, libel, slander,
conversion, trespass, intentional infliction of emotional distress or other harm, negligence, gross
negligence, negligent misrepresentation, fraudulent misrepresentation, vicarious liability,
respondeat superior, breach of any duty owed under either applicable law or any contract,
breach of any fiduciary duty or duty of loyalty or due care, aiding and/or abetting breach of
fiduciary duty, aiding and/or abetting breach of duty of loyalty or due care, alter ego, veil
piercing, self-dealing, usurpation of corporate opportunity, ultra vires, turnover of Estate Assets,
unauthorized use of Estate Assets, including intellectual property rights or Assets owned by the
Debtors or Chapter 11 Trustee, quantum merit, tortious interference, duress, unconscionability,
undue influence, and unjust enrichment, as well as any cause of action for conspiracy to commit
any unlawful act, aiding and/or abetting any such unlawful act, or assisting, encouraging, and/or
participating in any such unlawful act, or claims arising from or relating to the filing of the
involuntary bankruptcy petitions against the Debtors.

        3.      Highland Claims. All Estate Claims against Highland are reserved, retained and
preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
such Estate Claims asserted by the Chapter 11 Trustee in Adversary Proceeding No. 18-03078-
sgj (the “Highland Adversary”) and Adversary Proceeding No. 18-03212-sgj (the “Trustee’s
Adversary”). The Estate Claims against Highland shall include all Estate Claims set forth in
paragraph 2 above, including without limitation, the following:

              (a)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
could be asserted based on the facts or transactions alleged in, the Highland Adversary;

              (b)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
could be asserted based on the facts or transactions alleged in, the Trustee’s Adversary;

               (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
transactions alleged in any other adversary proceedings or Claim Objections filed by the

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Chapter 11 Trustee or Estate;

              (d)    All Avoidance Actions against Highland, including any claims to avoid and
recover amounts transferred by the Debtors to Highland under the Shared Services Agreement
or Sub-Advisory Agreement;

                 (e)      All Claims for breach of the Shared Services Agreement or Sub-Advisory
Agreement;

                (f)      All Claims against Highland for amounts paid by the Debtors to Highland
under the Shared Services Agreement and Sub-Advisory Agreement, including any Claim that
Highland overcharged Acis LP for services under such agreements, charged excessive fees in
violation of Acis LP’s limited partnership agreement and/or Acis GP’s limited liability company
agreement, and/or that the Shared Services Agreement and Sub-Advisory Agreement or any
related or predecessor agreements are void or voidable based on ultra vires or any other
theories of avoidance and recovery, including turnover, conversion and Avoidance Actions
under the Bankruptcy Code;

                 (g)      All Claims for breach of the PMAs or the Indentures;

               (h)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
to the Debtors or Chapter 11 Trustee;

                (i)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
duty loyalty or due care, or any other unlawful act;

               (j)     All Clams for usurpation of a corporate opportunity belonging to either of
the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

             (k)   All claims for tortious interference, including in relation to Universal-
Investment-Luxembourg S.A. and BayVK R2 Lux S.A., SICAV-FIS;

                (l)    All Claims against Highland for the turnover of Estate Assets, including
Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
relating to the Debtors’ property or financial affairs;

               (m)      All Claims against Highland for the unauthorized use of Estate Assets
including, without limitation, any intellectual property rights or Assets owned by the Debtors or
Estate;

              (n)     All Claims, rights or remedies for Equitable Subordination or
Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
Estate;

                (o)   All Claims based on alter ego or rights to pierce the corporate veil of Acis
LP as to any Person, including as against Highland or any Affiliates thereof, James D. Dondero,
Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
control of Acis LP;

                 (p)      All Claims based on alter ego or rights to pierce the corporate veil of

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and Acis Capital Management GP, LLC                                                                 Page 2
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Highland as to any Person, including as against any Affiliates of Highland, James D. Dondero,
Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
control of Highland, and,

               (q)    All Claims for conspiracy to commit any unlawful act, aiding and/or
abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
unlawful act.

       4.      HCLOF Claims. All Estate Claims against HCLOF are reserved, retained and
preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
Trustee’s Adversary. The Estate Claims against HCLOF shall include all Estate Claims set forth
in paragraph 2 above, including without limitation, the following:

               (a)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
Adversary;

               (b)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
Adversary;

               (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
transactions alleged in any other adversary proceedings or Claim Objections filed by the
Chapter 11 Trustee or Estate;

                 (d)      All Avoidance Actions against HCLOF;

                 (e)      All Claims for breach of the PMAs or the Indentures;

               (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
to the Debtors or Chapter 11 Trustee;

                (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
duty loyalty or due care, or any other unlawful act;

               (h)     All Clams for usurpation of a corporate opportunity belonging to either of
the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                (i)    All Claims against HCLOF for the turnover of Estate Assets, including
Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
relating to the Debtors’ property or financial affairs;

               (j)      All Claims against HCLOF for the unauthorized use of Estate Assets
including, without limitation, any intellectual property rights or Assets owned by the Debtors or
Estate;

              (k)     All Claims, rights or remedies for Equitable Subordination or
Recharacterization of any Claim by HCLOF against the Debtors, Chapter 11 Trustee, or Estate;

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and Acis Capital Management GP, LLC                                                           Page 3
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               (l)     All Claims based on alter ego or rights to pierce the corporate veil of
HCLOF as to any Person, including as against any Affiliates of HCLOF or Highland, William
Scott, Heather Bestwick, or any other officers, directors, equity interest holders, or Persons
otherwise in control of HCLOF; and,

               (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
unlawful act.

        5.      Highland HCF Advisor, Ltd. Claims. All Estate Claims against Highland HCF
Advisor, Ltd. (“Highland HCF”) are reserved, retained and preserved for the benefit of the Estate
and Reorganized Debtor, including without limitation all such Estate Claims asserted by the
Chapter 11 Trustee in the Highland Adversary. The Estate Claims against Highland HCF shall
include all Estate Claims set forth in paragraph 2 above, including without limitation, the
following:

              (a)      All such Claims against Highland HCF asserted by the Chapter 11
Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
the Highland Adversary;

               (b)     All such Claims against Highland HCF asserted by the Chapter 11
Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
the Trustee’s Adversary;

               (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
transactions alleged in any other adversary proceedings or Claim Objections filed by the
Chapter 11 Trustee or Estate;

                 (d)      All Avoidance Actions against Highland HCF;

               (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
to the Debtors or Chapter 11 Trustee;

                (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
duty loyalty or due care, or any other unlawful act;

               (g)     All Clams for usurpation of a corporate opportunity belonging to either of
the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (h)     All Claims against Highland HCF for the turnover of Estate Assets,
including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
papers relating to the Debtors’ property or financial affairs;

               (i)     All Claims against Highland HCF for the unauthorized use of Estate
Assets including, without limitation, any intellectual property rights or Assets owned by the
Debtors or Estate;

              (j)     All Claims, rights or remedies for Equitable Subordination or
Recharacterization of any Claim by Highland HCF against the Debtors, Chapter 11 Trustee, or

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Estate;

               (k)    All Claims based on alter ego or rights to pierce the corporate veil of
Highland HCF as to any Person, including as against any Affiliates of Highland HCF or
Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
of Highland HCF; and,

               (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
unlawful act.

         6.      Highland CLO Management, Ltd. Claims. All Estate Claims against Highland
CLO Management, Ltd. (“Highland CLOM”) are reserved, retained and preserved for the benefit
of the Estate and Reorganized Debtor, including without limitation all such Estate Claims
asserted by the Chapter 11 Trustee in the Highland Adversary. The Estate Claims against
Highland CLOM shall include all Estate Claims set forth in paragraph 2 above, including without
limitation the following:

              (a)      All such Claims against Highland CLOM asserted by the Chapter 11
Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
the Highland Adversary;

               (b)     All such Claims against Highland CLOM asserted by the Chapter 11
Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
the Trustee’s Adversary;

               (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
transactions alleged in any other adversary proceedings or Claim Objections filed by the
Chapter 11 Trustee or Estate;

                 (d)      All Avoidance Actions against Highland CLOM;

               (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
to the Debtors or Chapter 11 Trustee;

                (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
duty loyalty or due care, or any other unlawful act;

               (g)     All Clams for usurpation of a corporate opportunity belonging to either of
the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (h)     All Claims against Highland CLOM for the turnover of Estate Assets,
including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
papers relating to the Debtors’ property or financial affairs;

               (i)     All Claims against Highland CLOM for the unauthorized use of Estate
Assets including, without limitation, any intellectual property rights or Assets owned by the
Debtors or Estate;


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              (j)     All Claims, rights or remedies for Equitable Subordination or
Recharacterization of any Claim by Highland CLOM against the Debtors, Chapter 11 Trustee, or
Estate;

               (k)    All Claims based on alter ego or rights to pierce the corporate veil of
Highland CLOM as to any Person, including as against any Affiliates of Highland CLOM or
Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
of Highland CLOM; and,

               (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
unlawful act.

        7.      CLO Holdco, Ltd. Claims. All Estate Claims against CLO Holdco, Ltd. (“CLO
Holdco”) are reserved, retained and preserved for the benefit of the Estate and Reorganized
Debtor, including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in
the Trustee’s Adversary. The Estate Claims against CLO Holdco shall include all Estate Claims
set forth in paragraph 2 above, including without limitation, the following:

                (a)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
or Estate in, or which could be asserted based on the facts or transactions alleged in, the
Highland Adversary;

                (b)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
or Estate in, or which could be asserted based on the facts or transactions alleged in, the
Trustee’s Adversary;

               (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
transactions alleged in any other adversary proceedings or Claim Objections filed by the
Chapter 11 Trustee or Estate;

                 (d)      All Avoidance Actions against CLO Holdco;

               (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
to the Debtors or Chapter 11 Trustee;

                (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
duty loyalty or due care, or any other unlawful act;

               (g)     All Clams for usurpation of a corporate opportunity belonging to either of
the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (h)     All Claims against CLO Holdco for the turnover of Estate Assets,
including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
papers relating to the Debtors’ property or financial affairs;

               (i)      All Claims against CLO Holdco for the unauthorized use of Estate Assets
including, without limitation, any intellectual property rights or Assets owned by the Debtors or
Estate;

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              (j)     All Claims, rights or remedies for Equitable Subordination or
Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
Estate;

                (k)     All Claims based on alter ego or rights to pierce the corporate veil of CLO
Holdco as to any Person, including as against any Affiliates of CLO Holdco or Highland, or any
other officers, directors, equity interest holders, or Persons otherwise in control of CLO Holdco;
and,

               (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
unlawful act.

        8.     Neutra, Ltd. Claims. All Estate Claims against Neutra, Ltd. (“Neutra”) are
reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
Trustee’s Adversary. The Estate Claims against Neutra shall include all Estate Claims set forth
in paragraph 2 above, including without limitation the following:

               (a)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
Adversary;

               (b)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
Adversary;

               (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
transactions alleged in any other adversary proceedings or Claim Objections filed by the
Chapter 11 Trustee or Estate;

                 (d)      All Avoidance Actions against Neutra;

              (e)    All Claims for breach of fiduciary or duty of loyalty or due care owed to the
Debtors or Chapter 11 Trustee;

                (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
duty loyalty or due care, or any other unlawful act;

               (g)     All Clams for usurpation of a corporate opportunity belonging to either of
the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                (h)    All Claims against Neutra for the turnover of Estate Assets, including
Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against Neutra for the unauthorized use of Estate Assets

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including, without limitation, any intellectual property rights or Assets owned by the Debtors or
Estate;

              (j)     All Claims, rights or remedies for Equitable Subordination or
Recharacterization of any Claim by Neutra against the Debtors, Chapter 11 Trustee, or Estate;

               (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
LP as to any Person, including as against Neutra, Highland, or any Affiliates thereof, James D.
Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
otherwise in control of Acis LP;

                 (l)    All Claims based on alter ego or rights to pierce the corporate veil of
Neutra as to any Person, including as against any Affiliates of Neutra or Highland, or any other
officers, directors, equity interest holders, or Persons otherwise in control of Neutra; and,

               (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
unlawful act.

        9.     Claims against Issuers, Co-Issuers and Indenture Trustee. All Estate Claims
against CLO-3, CLO-4, CLO-5, and CLO-6 (collectively, the “Issuers”), Acis CLO 2014-3 LLC,
Acis CLO 2014-4 LLC, Acis CLO 2014-5 LLC, and Acis CLO 2015-6 LLC (collectively, the "Co-
Issuers"), and the Indenture Trustee are reserved, retained and preserved for the benefit of the
Estate and Reorganized Debtor, including without limitation all such Estate Claims asserted by
the Chapter 11 Trustee in the Trustee’s Adversary. The Estate Claims against the Issuers, Co-
Issuers and/or Indenture Trustee shall include all Estate Claims set forth in paragraph 2 above,
including without limitation the following:

               (a)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
or transactions alleged in, the Highland Adversary;

               (b)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
or transactions alleged in, the Trustee’s Adversary;

               (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
transactions alleged in any other adversary proceedings or Claim Objections filed by the
Chapter 11 Trustee or Estate;

                 (d)      All Avoidance Actions against the Issuers, Co-Issuers and/or Indenture
Trustee;

              (e)    All Claims for breach of the Indentures, PMAs or any other agreements
between Acis LP and the Issuers, Co-Issuers, and/or Indenture Trustee;

               (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
to the Debtors or Chapter 11 Trustee;

                (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
duty loyalty or due care, or any other unlawful act;

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               (h)     All Clams for usurpation of a corporate opportunity belonging to either of
the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                (i)      All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
the turnover of Estate Assets, including Estate property that the Chapter 11 Trustee may use,
sell or lease under section 363 of the Bankruptcy Code including, without limitation, any
intellectual property rights or Assets owned by the Debtors or Estate, as well as the turnover of
any books, documents, records and papers relating to the Debtors’ property or financial affairs;

               (j)   All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
the unauthorized use of Estate Assets including, without limitation, any intellectual property
rights or Assets owned by the Debtors or Estate;

               (k)    All Claims, rights or remedies for Equitable Subordination or
Recharacterization of any Claim by the Issuers or Co-Issuers against the Debtors, Chapter 11
Trustee, or Estate; and,

               (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
unlawful act.

         10.     Highland Affiliate Claims. Against Any Affiliates of Highland, HCLOF, Highland
HCF, Highland CLOM, CLO Holdco, Neutra, and Their Respective Affiliates. All Estate Claims
against any Affiliates of Highland, HCLOF, Highland HCF, Highland CLOM, CLO Holdco,
Neutra, and Their Respective Affiliates (collectively, the “Affiliates” and each, an “Affiliate”) are
reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
Highland Adversary and the Trustee’s Adversary. The Estate Claims against anysuch Affiliates
of Highland shall include all Estate Claims set forth in paragraph 2 above, including without
limitation the following:

              (a)      All such Claims against any Highland Affiliate asserted by the Chapter 11
Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
the Highland Adversary;

               (b)     All such Claims against any Highland Affiliate asserted by the Chapter 11
Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
the Trustee’s Adversary;

               (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
transactions alleged in any other adversary proceedings or Claim Objections filed by the
Chapter 11 Trustee or Estate;

                 (d)      All Avoidance Actions against any Highland Affiliate;

               (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
to the Debtors or Chapter 11 Trustee;

                (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
duty loyalty or due care, or any other unlawful act;


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               (g)     All Clams for usurpation of a corporate opportunity belonging to either of
the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (h)     All Claims against any Highland Affiliate for the turnover of Estate Assets,
including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
papers relating to the Debtors’ property or financial affairs;

               (i)     All Claims against any Highland Affiliate for the unauthorized use of
Estate Assets including, without limitation, any intellectual property rights or Assets owned by
the Debtors or Estate;

               (j)    All Claims, rights or remedies for Equitable Subordination or
Recharacterization of any Claim by any Highland Affiliate against the Debtors, Chapter 11
Trustee, or Estate;

                (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
LP as to any Person, including as against Highland, HCLOF, Highland HCF, Highland CLOM,
CLO Holdco, Neutra, or anythe Affiliates thereof, James D. Dondero, Mark K. Okada, or any
other officers, directors, equity interest holders, or Persons otherwise in control of Acis LP;

                (l)     All Claims based on alter ego or rights to pierce the corporate veil of any
Highland Affiliate as to any Person, including as against any otherHighland, HCLOF, Highland
HCF, Highland CLOM, CLO Holdco, Neutra, the Affiliates of Highland , James D. Dondero,
Mark K. Okada, or any officers, directors, equity interest holders, or Persons otherwise in control
of any Highland Affiliates; and,

               (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
unlawful act.

        11.     Dondero Claims. All Estate Claims as defined in paragraph 2 above against
James D. Dondero, individually, are hereby reserved, retained and preserved for the benefit of
the Estate and Reorganized Debtor, including without limitation all such Estate Claims against
James D. Dondero for fraud, constructive fraud, breach of fiduciary duty, breach of duty of
loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
assisting, encouraging, and/or participating in any unlawful act, as well as any Claim to pierce
the corporate veil of any entity to hold James D. Dondero individually liable.

      12.      Okada Claims. All Estate Claims as defined in paragraph 2 above against Mark
K. Okada, individually, are hereby reserved, retained and preserved for the benefit of the Estate
and Reorganized Debtor, including without limitation all such Estate Claims against Mark K.
Okada for fraud, constructive fraud, breach of fiduciary duty, breach of duty of loyalty or due


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care, aiding and abetting breach of fiduciary duty, self-dealing, ultra vires, conversion,
usurpation of corporate opportunity, including in relation to Acis CLO 2017-7, Ltd and any other
Acis CLOs, tortious interference, including in relation to Universal-Investment-Luxembourg S.A.
and BayVK R2 Lux S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all
Avoidance Actions, breach of contract, breach of the Shared Services Agreement, breach of the
Sub-Advisory Agreement, breach of the Debtors’ limited partnership agreement or limited
liability company agreement, conspiracy to commit any unlawful act, aiding and abetting any
unlawful act, and assisting, encouraging, and participating in any unlawful act, as well as any
Claim to pierce the corporate veil of any entity to hold Mark K. Okada individually liable.

         13.    Preference Claims. All Avoidance Actions pursuant to section 547 of the
Bankruptcy Code against any Person are hereby reserved, retained and preserved for the
benefit of the Estate and Reorganized Debtor for any payment made to any Person by either of
the Debtors within ninety (90) days of the Petition Date (which was January 30, 2018), or made
by either of the Debtors to any insider within one (1) year of the Petition Date. A non-exhaustive
list of Persons who are believed to have received payments from either of the Debtors during
the 90-day preference period, and the one-year preference period for Insiders, is attached to
this Exhibit “A” as Schedule “1”. The Plan reserves, retains and preserves for the benefit of
the Estate and Reorganized Debtor all potential Claims arising out of or relating to the transfers
reflected in Schedule “1”, including all Avoidance Actions pursuant to section 547 of the
Bankruptcy Code. All rights and remedies are also reserved. retained and preserved with
respect to the transfers reflected in Schedule “1” pursuant to section 550 of the Bankruptcy
Code.

                Schedule “1” reflects transfers made by the Debtors during the 90 days prior to
the Petition Date and transfers made by the Debtors to any insiders within one (1) year of the
Petition Date. While the Plan reserves, retains and preserves all Avoidance Actions relating to
the transfers reflected in Schedule “1”, the Chapter 11 Trustee recognizes that certain of these
transfers may not constitute a preferential transfer pursuant to section 547(b) of the Bankruptcy
Code as a transfer made in the ordinary course of business transactions or based upon new
value subsequently given by the transferee. Consequently, the listing of a payment on
Schedule “1” does not necessarily mean that a transferee will ever be sued to avoid and
recover the payment, the transfer, or the value thereof, but only that the Plan reserves, retains
and preserves all rights (including Avoidance Actions) as to that payment.

        14.     Claims Against Officers, Managers and Members. All Estate Claims as defined
in paragraph 2 above are hereby reserved, retained and preserved for the benefit of the Estate
and Reorganized Debtor against all present and past officers, employees, members and
managers of the Debtors, including all such Estate Causes of Action based on breach of
fiduciary duty, aiding and abetting breach of fiduciary duty, breach of duty of loyalty or due care,
aiding and abetting breach of duty of loyalty or due care, self-dealing, usurpation of corporate
opportunity, gross negligence or conspiracy. Without limiting the generality of the foregoing, this
shall include all D&O Claims as against any present or former officer, director, employee,
member, manager, or partner.

        15.    Claims Against Former Attorneys and Law Firms. All Estate Claims as defined in
paragraph 2, above, including Claims for breach of any fiduciary duty or duty of loyalty or due
care, conspiracy to commit any unlawful act, aiding and/or abetting any such unlawful act, or
assisting, encouraging, and/or participating in any such unlawful act, including knowingly aiding,
abetting, or assisting with a fraudulent transfer to avoid paying a judgment, negligent or
fraudulent misrepresentation, vicarious liability, and respondeat superior, as well as all Claims

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for legal or professional malpractice, are hereby reserved, retained and preserved for the benefit
of the Estate and Reorganized Debtor against all law firms and attorneys who and which
rendered legal services to the Debtors on a prepetition basis including, but not limited to, the
following:

                 (a)      Cole Schotz, P.C.

                 (b)      Michael D. Warner

                 (c)      Jacob Frumkin

                 (d)      Warren A. Usatine

                 (e)      McKool Smith

                 (f)      Gary Cruciani

                 (g)      Michael P. Fritz

                 (h)      Carson D. Young

                 (i)      Nicholas Matthews

                 (i)(j)   Lackey Hershman, LLP

                 (j)(k)   Stinson Leonard Street LLP

                 (l)      Jamie R. Welton

                 (k)(m) Paul B. Lackey, Esq.

                 (l)(n)   Michael Aigen, Esq.

                 (o)      Roger L. Mandel

                 (m)(p) Abrams & Bayliss, LLP

                 (n)(q) Kevin G. Abrams

                 (o)(r)   A. Thompson Bayliss

                 (p)(s) Jones Day

                 (q)(t)   Hilda C. Galvan

                 (r)(u)   Michael Weinberg

                 (s)(v) Reid Collins & Tsai, LLP

                 (t)(w) Lisa Tsai

                 (u)(x) Stanton, LLP

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and Acis Capital Management GP, LLC                                                        Page 12
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                 (v)(y) James M. Stanton

                 (w)(z) Hunton Andrews Kurth

                 (x)(aa) Marc Katz

                 (y)(bb) Greg Waller

             (z)(cc) any other law firm or attorney who may be so named at a later date by the
Reorganized Debtor.

         16.    Retention of Claims Against Specific Persons or Categories of Persons. In
addition to the foregoing, all Estate Claims as defined in paragraph 2 above are hereby
reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor against
the following Persons:

         16.    Claims Against Officers, Directors, Employees, Members, and Managers, of
Highland, HCLOF, Highland HCF, Highland CLOM, CLO Holdco, Neutra, and Their Respective
Affiliates. In addition to the foregoing, all Estate Claims as defined in paragraph 2 above are
hereby reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor
against all present and past officers, directors, employees, members and managers of Highland,
HCLOF, Highland HCF, Highland CLOM, and their respective Affiliates, including all such Estate
Causes of Action based on fraud, constructive fraud, breach of fiduciary duty, breach of duty of
loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
assisting, encouraging, and/or participating in any unlawful act. Such present and past officers,
directors, employees, members and managers of Highland, HCLOF, Highland HCF, Highland
CLOM, and their respective Affiliates include, but are not limited to, the following Persons:

                 (a)      William Scott;

                 (b)      Heather Bestwick;

                 (c)      Scott Ellington

                 (d)      Isaac Leventon

                 (e)      Jean Paul Sevilla

                 (f)      Hunter Covitz

                 (g)      The Dugaboy Investment Trust

                 (h)      Nancy Dondero, Trustee of the Dugaboy Trust

                 (i)      Grant Scott

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             (j)    Any other Person who may be so named at a later date by the
Reorganized Debtor.

                 (c)                                                                                     Formatted: Indent: Left: 1", No bullets or numbering


        17.     Counterclaims. All Estate Claims as defined in paragraph 2 above are reserved,
retained and preserved for the benefit of the Estate and Reorganized Debtor both as a basis for
an affirmative recovery against the Person against whom such Claims are asserted and as a
counterclaim or offset against any Person who asserts a Claim against the Estate or
Reorganized Debtor.

        18.     Piercing the Corporate Veil. With respect to all Estate Claims against any
Person, all rights to pierce or ignore the corporate veil are hereby reserved, retained and
preserved for the benefit of the Estate and the Reorganized Debtor. Without limiting the
generality of the foregoing, this shall include: (a) any right to pierce the corporate veil, including
reverse piercing, on any theory or basis, including alter ego or any theory of sham to perpetrate
a fraud, and (b) any Claim or basis to pierce the corporate veil of any entity with respect to
establishing personal liability against James D. Dondero or Mark K. Okada.

       19.      Avoidance Actions. All Avoidance Actions are hereby reserved, retained and
preserved as to all Persons. The reservation, retention and preservation of such Avoidance
Actions shall include the reservation, retention and preservation for the benefit of the Estate and
Reorganized Debtor of all rights and remedies pursuant to section 550 of the Bankruptcy Code.

         20.    Estate Defenses. All Estate Defenses are hereby reserved, retained and
preserved in favor of the Estate and Reorganized Debtor as against any Person asserting any
Claim against the Estate. This includes asserting all Estate Claims as an offset to, or
counterclaim or right of recoupment against, any Person asserting a Claim against the Estate.
All defenses and affirmative defenses pursuant to applicable law are hereby reserved, retained
and preserved for the benefit of the Estate and the Reorganized Debtor, including without
limitation, accord and satisfaction, assumption of risk, contributory negligence, duress, estoppel,
failure of consideration, fraud, illegality, laches, license, payment, release, res judicata,
collateral estoppel, statute of frauds, statute of limitations or repose, discovery rule, adverse
domination doctrine or similar doctrines, set off, recoupment, waiver, and all other defenses to
Claims under the Bankruptcy Code, including under sections 502(b)(4) and 502(d).

        21.     Equitable Subordination. All rights or remedies for Equitable Subordination are
hereby reserved, retained and preserved in favor of the Estate and Reorganized Debtor against
any Person asserting any Claim against the Estate, including all such rights or remedies
pursuant to section 510(c) of the Bankruptcy Code. Without limiting the generality of the
foregoing, this shall include all rights and remedies to Equitable Subordination as to any Claim
asserted by Highland, any Affiliates of Highland, or any officers, directors, employees or equity
interest owners of the Debtors, Highland, or any Affiliates thereof.

        22.     Recharacterization. All rights or remedies to recharacterize any Claim as an
equity interest in either of the Debtors are hereby reserved, retained and preserved in favor of
the Estate and Reorganized Debtor against any Person asserting any Claim against the Estate.
Without limiting the generality of the foregoing, this shall include all rights and remedies to
recharacterize any Claim asserted by Highland, any Affiliates of Highland, or any officers,
directors, employees or equity interest owners of the Debtors, Highland, or any Affiliates thereof.



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                        Exhibit “3”
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                         EXHIBIT “4”
   [Supplement to Second Modification to the Third Amended
  Joint Plan for Acis Capital Management, L.P. and Acis Capital
               Management GP, LLC – Dkt. No. 769]
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   Rakhee V. Patel – State Bar No. 00797213               Jeff P. Prostok – State Bar No. 16352500
   Phillip Lamberson – State Bar No. 00794134             J. Robert Forshey – State Bar No. 07264200
   Joe Wielebinski – State Bar No. 21432400               Suzanne K. Rosen – State Bar No. 00798518
   Annmarie Chiarello – State Bar No. 24097496            Matthew G. Maben – State Bar No. 24037008
                                                          FORSHEY & PROSTOK LLP
   WINSTEAD PC
                                                          777 Main St., Suite 1290
   500 Winstead Building                                  Ft. Worth, TX 76102
   2728 N. Harwood Street                                 Telephone: (817) 877-8855
   Dallas, Texas 75201                                    Facsimile: (817) 877-4151
   Telephone: (214) 745-5400                              jprostok@forsheyprostok.com
   Facsimile: (214) 745-5390                              bforshey@forsheyprostok.com
   rpatel@winstead.com                                    srosen@forsheyprostok.com
   plamberson@winstead.com                                mmaben@forsheyprostok.com
   jwielebinski@winstead.com
                                                          COUNSEL FOR ROBIN PHELAN,
   achiarello@winstead.com                                CHAPTER 11 TRUSTEE

   SPECIAL COUNSEL FOR
   ROBIN PHELAN, CHAPTER 11 TRUSTEE



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                           §
   IN RE:                                                  §    CHAPTER 11 CASES
                                                           §
   ACIS CAPITAL MANAGEMENT, L.P.,                          §    CASE NO. 18-30264-sgj11
   ACIS CAPITAL MANAGEMENT GP, LLC,                        §    (Jointly Administered)
                                                           §
                                   Debtors.                §

    SUPPLEMENT TO SECOND MODIFICATION TO THE THIRD AMENDED JOINT
             PLAN FOR ACIS CAPITAL MANAGEMENT, LP AND
                   ACIS CAPITAL MANAGEMENT GP, LLC

          Robin Phelan (“Trustee”), the Chapter 11 Trustee for Acis Capital Management, LP and

  Acis Capital Management GP, LLC (the “Debtors”), files this Supplement to the Second

  Modification (the “Second Modification”) to the Third Amended Joint Chapter 11 Plan for Acis

  Capital Management, LP and Acis Capital Management GP, LLC [Docket No. 660], as modified

  by the First Modification to the Third Amended Joint Chapter 11 Plan for Acis Capital

  Management, LP and Acis Capital Management GP, LLC [Docket No. 693] (together, the “Plan”).


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         1.      On November 16, 2018, the Trustee filed the Second Modification. The Second

  Modification modified the Plan to replace the Exhibit “A,” reflecting Estate Claims, with a revised

  version of Exhibit A. The Schedule “1” to Exhibit A, which reflects the Estate’s Preference

  Claims, was not changed from the version attached to the Plan but was inadvertently omitted from

  the Second Modification. For completeness and to avoid any confusion regarding the Preference

  Claims being reserved, retained and preserved for the benefit of the Estate and Reorganized

  Debtor, the Second Modification is hereby supplemented with the Schedule “1” to Exhibit “A” to

  the Plan.

         2.      A copy of the Schedule “1” is attached hereto as Exhibit 1.

         3.      A copy of the complete Exhibit “A” to the Plan, including Schedule “1,” is attached

  hereto as Exhibit “2.”

         4.      A redline is not necessary because the attached Schedule “1” is unchanged from the

  version attached to the Plan and included in the Trustee’s solicitation materials.

  Dated: December 10, 2018.             Respectfully submitted,

                                        ACIS CAPITAL MANAGEMENT, L.P.

                                        By: /s/ Robin Phelan
                                            Robin Phelan
                                            Chapter 11 Trustee

                                        ACIS CAPITAL MANAGMENET GP, LLC

                                        By: /s/ Robin Phelan
                                            Robin Phelan
                                            Chapter 11 Trustee




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   APPROVED:                                                            APPROVED:

   /s/ Jeff P. Prostok                                                  /s/ Rahkee V. Patel
   Jeff P. Prostok – State Bar No. 16352500                             Rakhee V. Patel – State Bar No. 00797213
   J. Robert Forshey – State Bar No. 07264200                           Phillip Lamberson – State Bar No. 00794134
   Suzanne K. Rosen – State Bar No. 00798518                            Joe Wielebinski – State Bar No. 21432400
   Matthew G. Maben – State Bar No. 24037008                            Annmarie Chiarello –State Bar No. 24097496
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   mmaben@forsheyprostok.com                                            jwielebinski@winstead.com
                                                                        achiarello@winstead.com
   COUNSEL FOR ROBIN PHELAN,
   CHAPTER 11 TRUSTEE                                                   SPECIAL COUNSEL FOR ROBIN
                                                                        PHELAN, CHAPTER 11 TRUSTEE



                                                 CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document and the attached exhibits
  were served electronically via the Court’s Electronic Court Filing (ECF) notification system on
  December 10, 2018.

                                                                            /s/ Jeff P. Prostok
                                                                            Jeff P. Prostok




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                   EXHIBIT “1”
                 Schedule “1” to Exhibit “A” to
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                                                    Schedule 1 to Exhibit "A" to
                  Third Amended Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC
                                                                      DATE OF                                      REASON FOR PAYMENT
              NAME                           ADDRESS                  PAYMENT          PAYMENT AMOUNT                 ON SCHEDULES
                                                 Payments within 90 Days of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/2/2017                         $234,013.63   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/3/2017                         $941,958.57   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                12/8/2017                          $89,655.14   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/15/2017                          $2,068.13   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/30/2017                         $24,266.71   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/12/2017                          $1,718.79   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/29/2017                         $25,000.00   Services
                                                                                                                                          Case 18-30264-sgj11 Doc 829 Filed 01/31/19




                                  1735 K Street, NW
FINRA                             Washington, DC 20006            11/22/2017                             $70.00   Suppliers or Vendors
                                  PO Box 309, Ugland House
                                  Grand Cayman, KY1-1104,
Highland CLO Management, Ltd.     Cayman Islands                  12/19/2017                      $2,830,459.22   Services
                                            Payments to Insiders within One Year of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                          $976,688.47   Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                        $1,096,033.37   Services
                                  300 Crescent Court, Ste. 700
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Highland Capital Management, LP   Dallas, TX 75208                2/2/2017                            $3,574.80   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/14/2017                              $67.44   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/17/2017                        $315,574.30    Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/18/2017                        $438,497.51    Services
                                                                                                                                          Page 203 of 229
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                                                    Schedule 1 to Exhibit "A" to
                  Third Amended Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC
                                                                   DATE OF                                 REASON FOR PAYMENT
             NAME                           ADDRESS                PAYMENT         PAYMENT AMOUNT             ON SCHEDULES
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/18/2017                   $375,855.01 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/19/2017                   $330,249.69 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/1/2017                     $974,426.41 Services
                                  300 Crescent Court, Ste. 700                                            Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                  $2,809,518.47 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                   $581,036.15 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               7/18/2017                   $373,167.08 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/1/2017                    $971,603.02 Contractual Payment
                                  300 Crescent Court, Ste. 700
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Highland Capital Management, LP   Dallas, TX 75208               8/7/2017                   $1,339,422.12 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/16/2017                         $53.41 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                  $372,872.82 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                  $728,702.26 Services
                                  300 Crescent Court, Ste. 700                                           Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               10/24/2017                  $501,979.18 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                   $46,648.82 Expense Reimbursement
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                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                   $67,966.85 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               11/1/2017                   $967,223.91 Contractual Payment
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                   EXHIBIT “2”
            [Exhibit “A” to Third Amended Plan
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                                        EXHIBIT “A”
                                             to
      Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC

          1.      Defined Terms. This Exhibit “A” constitutes an integral part of the Plan of which it
  is a part. Defined terms in the Plan are to be given the same meaning in this Exhibit “A”. The
  rules of construction set forth in Article I.B. of the Plan shall likewise apply to this Exhibit “A”.

          2.      Estate Claims Reserved, Retained and Preserved. All Estate Claims are hereby
  reserved, retained and preserved, and shall all be transferred to, and vested in, the
  Reorganized Debtor pursuant to this Plan, and shall include without limitation all of the Estate
  Claims described below. In reserving, retaining, and preserving Estate Claims against any
  named Person or category of Persons, it is the intent of this Plan to so reserve, retain, and
  preserve any and all Estate Claim against each such Person or category of Persons, including
  all such Estate Claims pursuant to any applicable common law, based on any contract or
  agreement or based upon any law, statute or regulation of any political entity, including the
  United States and any state or political subdivision thereof, as well as all applicable remedies,
  whether legal or equitable. Without limiting the generality of the foregoing, the reservation,
  retention, and preservation of Estate Claims against any Person, and the term “Estate Claims,”
  shall encompass all Estate Claims against any such Person, including without limitation, all such
  Estate Claims for breach of contract, all rights to enforce any contract, any form of estoppel,
  fraud, constructive fraud, abuse of process, malicious prosecution, defamation, libel, slander,
  conversion, trespass, intentional infliction of emotional distress or other harm, negligence, gross
  negligence, negligent misrepresentation, fraudulent misrepresentation, vicarious liability,
  respondeat superior, breach of any duty owed under either applicable law or any contract,
  breach of any fiduciary duty or duty of loyalty or due care, aiding and/or abetting breach of
  fiduciary duty, aiding and/or abetting breach of duty of loyalty or due care, alter ego, veil
  piercing, self-dealing, usurpation of corporate opportunity, ultra vires, turnover of Estate Assets,
  unauthorized use of Estate Assets, including intellectual property rights or Assets owned by the
  Debtors or Chapter 11 Trustee, quantum merit, tortious interference, duress, unconscionability,
  undue influence, and unjust enrichment, as well as any cause of action for conspiracy to commit
  any unlawful act, aiding and/or abetting any such unlawful act, or assisting, encouraging, and/or
  participating in any such unlawful act, or claims arising from or relating to the filing of the
  involuntary bankruptcy petitions against the Debtors.

          3.      Highland Claims. All Estate Claims against Highland are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in Adversary Proceeding No. 18-03078-
  sgj (the “Highland Adversary”) and Adversary Proceeding No. 18-03212-sgj (the “Trustee’s
  Adversary”). The Estate Claims against Highland shall include all Estate Claims set forth in
  paragraph 2 above, including without limitation, the following:

                (a)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Highland Adversary;

                (b)    All such Claims asserted by the Chapter 11 Trustee or Estate in, or which
  could be asserted based on the facts or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the

  Exhibit “A” to Third Amended Joint Plan for Acis Capital Management, LP
  and Acis Capital Management GP, LLC                                                           Page 1
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  Chapter 11 Trustee or Estate;

                (d)    All Avoidance Actions against Highland, including any claims to avoid and
  recover amounts transferred by the Debtors to Highland under the Shared Services Agreement
  or Sub-Advisory Agreement;

                   (e)      All Claims for breach of the Shared Services Agreement or Sub-Advisory
  Agreement;

                  (f)      All Claims against Highland for amounts paid by the Debtors to Highland
  under the Shared Services Agreement and Sub-Advisory Agreement, including any Claim that
  Highland overcharged Acis LP for services under such agreements, charged excessive fees in
  violation of Acis LP’s limited partnership agreement and/or Acis GP’s limited liability company
  agreement, and/or that the Shared Services Agreement and Sub-Advisory Agreement or any
  related or predecessor agreements are void or voidable based on ultra vires or any other
  theories of avoidance and recovery, including turnover, conversion and Avoidance Actions
  under the Bankruptcy Code;

                   (g)      All Claims for breach of the PMAs or the Indentures;

                 (h)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (i)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (j)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

               (k)   All claims for tortious interference, including in relation to Universal-
  Investment-Luxembourg S.A. and BayVK R2 Lux S.A., SICAV-FIS;

                  (l)    All Claims against Highland for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (m)      All Claims against Highland for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (n)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (o)   All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland or any Affiliates thereof, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Acis LP;

                   (p)      All Claims based on alter ego or rights to pierce the corporate veil of

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  and Acis Capital Management GP, LLC                                                                 Page 2
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  Highland as to any Person, including as against any Affiliates of Highland, James D. Dondero,
  Mark K. Okada, or any other officers, directors, equity interest holders, or Persons otherwise in
  control of Highland, and,

                 (q)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

         4.      HCLOF Claims. All Estate Claims against HCLOF are reserved, retained and
  preserved for the benefit of the Estate and Reorganized Debtor, including without limitation all
  such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
  Trustee’s Adversary. The Estate Claims against HCLOF shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation, the following:

                 (a)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against HCLOF asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against HCLOF;

                   (e)      All Claims for breach of the PMAs or the Indentures;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)    All Claims against HCLOF for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (j)      All Claims against HCLOF for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (k)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by HCLOF against the Debtors, Chapter 11 Trustee, or Estate;

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  and Acis Capital Management GP, LLC                                                           Page 3
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                 (l)     All Claims based on alter ego or rights to pierce the corporate veil of
  HCLOF as to any Person, including as against any Affiliates of HCLOF or Highland, William
  Scott, Heather Bestwick, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of HCLOF; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          5.      Highland HCF Advisor, Ltd. Claims. All Estate Claims against Highland HCF
  Advisor, Ltd. (“Highland HCF”) are reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims asserted by the
  Chapter 11 Trustee in the Highland Adversary. The Estate Claims against Highland HCF shall
  include all Estate Claims set forth in paragraph 2 above, including without limitation, the
  following:

                (a)      All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland HCF asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Highland HCF;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland HCF for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland HCF for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland HCF against the Debtors, Chapter 11 Trustee, or

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  and Acis Capital Management GP, LLC                                                             Page 4
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  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland HCF as to any Person, including as against any Affiliates of Highland HCF or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland HCF; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           6.      Highland CLO Management, Ltd. Claims. All Estate Claims against Highland
  CLO Management, Ltd. (“Highland CLOM”) are reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor, including without limitation all such Estate Claims
  asserted by the Chapter 11 Trustee in the Highland Adversary. The Estate Claims against
  Highland CLOM shall include all Estate Claims set forth in paragraph 2 above, including without
  limitation the following:

                (a)      All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Highland Adversary;

                 (b)     All such Claims against Highland CLOM asserted by the Chapter 11
  Trustee or Estate in, or which could be asserted based on the facts or transactions alleged in,
  the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Highland CLOM;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against Highland CLOM for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)    All Claims against Highland CLOM for the unauthorized use of Estate
  Assets including, without limitation, any intellectual property rights or Assets owned by the
  Debtors or Estate;


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  and Acis Capital Management GP, LLC                                                           Page 5
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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland CLOM against the Debtors, Chapter 11 Trustee, or
  Estate;

                 (k)    All Claims based on alter ego or rights to pierce the corporate veil of
  Highland CLOM as to any Person, including as against any Affiliates of Highland CLOM or
  Highland, or any other officers, directors, equity interest holders, or Persons otherwise in control
  of Highland CLOM; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          7.      CLO Holdco, Ltd. Claims. All Estate Claims against CLO Holdco, Ltd. (“CLO
  Holdco”) are reserved, retained and preserved for the benefit of the Estate and Reorganized
  Debtor, including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in
  the Trustee’s Adversary. The Estate Claims against CLO Holdco shall include all Estate Claims
  set forth in paragraph 2 above, including without limitation, the following:

                  (a)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Highland Adversary;

                  (b)    All such Claims against CLO Holdco asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against CLO Holdco;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                 (h)     All Claims against CLO Holdco for the turnover of Estate Assets,
  including Estate property that the Chapter 11 Trustee may use, sell or lease under section 363
  of the Bankruptcy Code including, without limitation, any intellectual property rights or Assets
  owned by the Debtors or Estate, as well as the turnover of any books, documents, records and
  papers relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against CLO Holdco for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

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                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Highland against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (k)     All Claims based on alter ego or rights to pierce the corporate veil of CLO
  Holdco as to any Person, including as against any Affiliates of CLO Holdco or Highland, or any
  other officers, directors, equity interest holders, or Persons otherwise in control of CLO Holdco;
  and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          8.     Neutra, Ltd. Claims. All Estate Claims against Neutra, Ltd. (“Neutra”) are
  reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor,
  including without limitation all such Estate Claims asserted by the Chapter 11 Trustee in the
  Trustee’s Adversary. The Estate Claims against Neutra shall include all Estate Claims set forth
  in paragraph 2 above, including without limitation the following:

                 (a)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Highland
  Adversary;

                 (b)     All such Claims against Neutra asserted by the Chapter 11 Trustee or
  Estate in, or which could be asserted based on the facts or transactions alleged in, the Trustee’s
  Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against Neutra;

                (e)    All Claims for breach of fiduciary or duty of loyalty or due care owed to the
  Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                 (g)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (h)    All Claims against Neutra for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                   (i)      All Claims against Neutra for the unauthorized use of Estate Assets

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  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by Neutra against the Debtors, Chapter 11 Trustee, or Estate;

                 (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Neutra, Highland, or any Affiliates thereof, James D.
  Dondero, Mark K. Okada, or any other officers, directors, equity interest holders, or Persons
  otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of
  Neutra as to any Person, including as against any Affiliates of Neutra or Highland, or any other
  officers, directors, equity interest holders, or Persons otherwise in control of Neutra; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          9.     Claims against Issuers, Co-Issuers and Indenture Trustee. All Estate Claims
  against CLO-3, CLO-4, CLO-5, and CLO-6 (collectively, the “Issuers”), Acis CLO 2014-3 LLC,
  Acis CLO 2014-4 LLC, Acis CLO 2014-5 LLC, and Acis CLO 2015-6 LLC (collectively, the "Co-
  Issuers"), and the Indenture Trustee are reserved, retained and preserved for the benefit of the
  Estate and Reorganized Debtor, including without limitation all such Estate Claims asserted by
  the Chapter 11 Trustee in the Trustee’s Adversary. The Estate Claims against the Issuers, Co-
  Issuers and/or Indenture Trustee shall include all Estate Claims set forth in paragraph 2 above,
  including without limitation the following:

                 (a)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Highland Adversary;

                 (b)     All such Claims against the Issuers, Co-Issuers, and/or Indenture Trustee
  asserted by the Chapter 11 Trustee or Estate in, or which could be asserted based on the facts
  or transactions alleged in, the Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against the Issuers, Co-Issuers and/or Indenture
  Trustee;

                (e)   All Claims for breach of the Indentures, PMAs or any other agreements
  between Acis LP and the Issuers, Co-Issuers, and/or Indenture Trustee;

                 (f)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (g)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

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  and Acis Capital Management GP, LLC                                                           Page 8
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                 (h)    All Clams for usurpation of a corporate opportunity belonging to either of
  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (i)      All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the turnover of Estate Assets, including Estate property that the Chapter 11 Trustee may use,
  sell or lease under section 363 of the Bankruptcy Code including, without limitation, any
  intellectual property rights or Assets owned by the Debtors or Estate, as well as the turnover of
  any books, documents, records and papers relating to the Debtors’ property or financial affairs;

                 (j)   All Claims against the Issuers, Co-Issuers and/or Indenture Trustee for
  the unauthorized use of Estate Assets including, without limitation, any intellectual property
  rights or Assets owned by the Debtors or Estate;

                 (k)    All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by the Issuers or Co-Issuers against the Debtors, Chapter 11
  Trustee, or Estate; and,

                 (l)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

           10.     Claims Against Any Affiliates of Highland, HCLOF, Highland HCF, Highland
  CLOM, CLO Holdco, Neutra, and Their Respective Affiliates. All Estate Claims against any
  Affiliates of Highland, HCLOF, Highland HCF, Highland CLOM, CLO Holdco, Neutra, and Their
  Respective Affiliates (collectively, the “Affiliates” and each, an “Affiliate”) are reserved, retained
  and preserved for the benefit of the Estate and Reorganized Debtor, including without limitation
  all such Estate Claims asserted by the Chapter 11 Trustee in the Highland Adversary and the
  Trustee’s Adversary. The Estate Claims against such Affiliates shall include all Estate Claims
  set forth in paragraph 2 above, including without limitation the following:

                  (a)    All such Claims against any Affiliate asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Highland Adversary;

                  (b)    All such Claims against any Affiliate asserted by the Chapter 11 Trustee
  or Estate in, or which could be asserted based on the facts or transactions alleged in, the
  Trustee’s Adversary;

                 (c)     All such Claims and Defenses asserted by the Chapter 11 Trustee or
  Estate, or which could be asserted by the Chapter 11 Trustee or Estate, based on the facts or
  transactions alleged in any other adversary proceedings or Claim Objections filed by the
  Chapter 11 Trustee or Estate;

                   (d)      All Avoidance Actions against any Affiliate;

                 (e)   All Claims for breach of fiduciary duty or duty of loyalty or due care owed
  to the Debtors or Chapter 11 Trustee;

                  (f)    All Claims for aiding and/or abetting breach of fiduciary duty, breach of
  duty loyalty or due care, or any other unlawful act;

                   (g)      All Clams for usurpation of a corporate opportunity belonging to either of

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  the Debtors, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs;

                  (h)    All Claims against any Affiliate for the turnover of Estate Assets, including
  Estate property that the Chapter 11 Trustee may use, sell or lease under section 363 of the
  Bankruptcy Code including, without limitation, any intellectual property rights or Assets owned
  by the Debtors or Estate, as well as the turnover of any books, documents, records and papers
  relating to the Debtors’ property or financial affairs;

                 (i)      All Claims against any Affiliate for the unauthorized use of Estate Assets
  including, without limitation, any intellectual property rights or Assets owned by the Debtors or
  Estate;

                (j)     All Claims, rights or remedies for Equitable Subordination or
  Recharacterization of any Claim by any Affiliate against the Debtors, Chapter 11 Trustee, or
  Estate;

                  (k)     All Claims based on alter ego or rights to pierce the corporate veil of Acis
  LP as to any Person, including as against Highland, HCLOF, Highland HCF, Highland CLOM,
  CLO Holdco, Neutra, the Affiliates, James D. Dondero, Mark K. Okada, or any other officers,
  directors, equity interest holders, or Persons otherwise in control of Acis LP;

                   (l)    All Claims based on alter ego or rights to pierce the corporate veil of any
  Affiliate as to any Person, including as against Highland, HCLOF, Highland HCF, Highland
  CLOM, CLO Holdco, Neutra, the Affiliates, James D. Dondero, Mark K. Okada, or any officers,
  directors, equity interest holders, or Persons otherwise in control of any Affiliates; and,

                 (m)    All Claims for conspiracy to commit any unlawful act, aiding and/or
  abetting any such unlawful act, or assisting, encouraging, and/or participating in any such
  unlawful act.

          11.     Dondero Claims. All Estate Claims as defined in paragraph 2 above against
  James D. Dondero, individually, are hereby reserved, retained and preserved for the benefit of
  the Estate and Reorganized Debtor, including without limitation all such Estate Claims against
  James D. Dondero for fraud, constructive fraud, breach of fiduciary duty, breach of duty of
  loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
  duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
  opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
  interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
  S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
  breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
  Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
  agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
  assisting, encouraging, and/or participating in any unlawful act, as well as any Claim to pierce
  the corporate veil of any entity to hold James D. Dondero individually liable.

          12.    Okada Claims. All Estate Claims as defined in paragraph 2 above against Mark
  K. Okada, individually, are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor, including without limitation all such Estate Claims against Mark K.
  Okada for fraud, constructive fraud, breach of fiduciary duty, breach of duty of loyalty or due
  care, aiding and abetting breach of fiduciary duty, self-dealing, ultra vires, conversion,
  usurpation of corporate opportunity, including in relation to Acis CLO 2017-7, Ltd and any other


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  Acis CLOs, tortious interference, including in relation to Universal-Investment-Luxembourg S.A.
  and BayVK R2 Lux S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all
  Avoidance Actions, breach of contract, breach of the Shared Services Agreement, breach of the
  Sub-Advisory Agreement, breach of the Debtors’ limited partnership agreement or limited
  liability company agreement, conspiracy to commit any unlawful act, aiding and abetting any
  unlawful act, and assisting, encouraging, and participating in any unlawful act, as well as any
  Claim to pierce the corporate veil of any entity to hold Mark K. Okada individually liable.

           13.    Preference Claims. All Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code against any Person are hereby reserved, retained and preserved for the
  benefit of the Estate and Reorganized Debtor for any payment made to any Person by either of
  the Debtors within ninety (90) days of the Petition Date (which was January 30, 2018), or made
  by either of the Debtors to any insider within one (1) year of the Petition Date. A non-exhaustive
  list of Persons who are believed to have received payments from either of the Debtors during
  the 90-day preference period, and the one-year preference period for Insiders, is attached to
  this Exhibit “A” as Schedule “1”. The Plan reserves, retains and preserves for the benefit of
  the Estate and Reorganized Debtor all potential Claims arising out of or relating to the transfers
  reflected in Schedule “1”, including all Avoidance Actions pursuant to section 547 of the
  Bankruptcy Code. All rights and remedies are also reserved. retained and preserved with
  respect to the transfers reflected in Schedule “1” pursuant to section 550 of the Bankruptcy
  Code.

                  Schedule “1” reflects transfers made by the Debtors during the 90 days prior to
  the Petition Date and transfers made by the Debtors to any insiders within one (1) year of the
  Petition Date. While the Plan reserves, retains and preserves all Avoidance Actions relating to
  the transfers reflected in Schedule “1”, the Chapter 11 Trustee recognizes that certain of these
  transfers may not constitute a preferential transfer pursuant to section 547(b) of the Bankruptcy
  Code as a transfer made in the ordinary course of business transactions or based upon new
  value subsequently given by the transferee. Consequently, the listing of a payment on
  Schedule “1” does not necessarily mean that a transferee will ever be sued to avoid and
  recover the payment, the transfer, or the value thereof, but only that the Plan reserves, retains
  and preserves all rights (including Avoidance Actions) as to that payment.

          14.     Claims Against Officers, Managers and Members. All Estate Claims as defined
  in paragraph 2 above are hereby reserved, retained and preserved for the benefit of the Estate
  and Reorganized Debtor against all present and past officers, employees, members and
  managers of the Debtors, including all such Estate Causes of Action based on breach of
  fiduciary duty, aiding and abetting breach of fiduciary duty, breach of duty of loyalty or due care,
  aiding and abetting breach of duty of loyalty or due care, self-dealing, usurpation of corporate
  opportunity, gross negligence or conspiracy. Without limiting the generality of the foregoing, this
  shall include all D&O Claims as against any present or former officer, director, employee,
  member, manager, or partner.

          15.     Claims Against Former Attorneys and Law Firms. All Estate Claims as defined in
  paragraph 2, above, including Claims for breach of any fiduciary duty or duty of loyalty or due
  care, conspiracy to commit any unlawful act, aiding and/or abetting any such unlawful act, or
  assisting, encouraging, and/or participating in any such unlawful act, including knowingly aiding,
  abetting, or assisting with a fraudulent transfer to avoid paying a judgment, negligent or
  fraudulent misrepresentation, vicarious liability, and respondeat superior, as well as all Claims
  for legal or professional malpractice, are hereby reserved, retained and preserved for the benefit
  of the Estate and Reorganized Debtor against all law firms and attorneys who and which

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  rendered legal services to the Debtors on a prepetition basis including, but not limited to, the
  following:

                   (a)      Cole Schotz, P.C.

                   (b)      Michael D. Warner

                   (c)      Jacob Frumkin

                   (d)      Warren A. Usatine

                   (e)      McKool Smith

                   (f)      Gary Cruciani

                   (g)      Michael P. Fritz

                   (h)      Carson D. Young

                   (i)      Nicholas Matthews

                   (j)      Lackey Hershman, LLP

                   (k)      Stinson Leonard Street LLP

                   (l)      Jamie R. Welton

                   (m)      Paul B. Lackey

                   (n)      Michael Aigen

                   (o)      Roger L. Mandel

                   (p)      Abrams & Bayliss, LLP

                   (q)      Kevin G. Abrams

                   (r)      A. Thompson Bayliss

                   (s)      Jones Day

                   (t)      Hilda C. Galvan

                   (u)      Michael Weinberg

                   (v)      Reid Collins & Tsai, LLP

                   (w)      Lisa Tsai

                   (x)      Stanton, LLP

                   (y)      James M. Stanton

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                   (z)      Hunton Andrews Kurth

                   (aa)     Marc Katz

                   (bb)     Greg Waller

               (cc)   any other law firm or attorney who may be so named at a later date by the
  Reorganized Debtor.

           16.    Claims Against Officers, Directors, Employees, Members, and Managers, of
  Highland, HCLOF, Highland HCF, Highland CLOM, CLO Holdco, Neutra, and Their Respective
  Affiliates. In addition to the foregoing, all Estate Claims as defined in paragraph 2 above are
  hereby reserved, retained and preserved for the benefit of the Estate and Reorganized Debtor
  against all present and past officers, directors, employees, members and managers of Highland,
  HCLOF, Highland HCF, Highland CLOM, and their respective Affiliates, including all such Estate
  Causes of Action based on fraud, constructive fraud, breach of fiduciary duty, breach of duty of
  loyalty or due care, aiding and abetting breach of fiduciary duty, aiding and abetting breach of
  duty of loyalty or due care, self-dealing, ultra vires, conversion, usurpation of corporate
  opportunity, including in relation to Acis CLO 2017-7, Ltd and any other Acis CLOs, tortious
  interference, including in relation to Universal-Investment-Luxembourg S.A. and BayVK R2 Lux
  S.A., SICAV-FIS, conflict of interest, negligence, gross negligence, all Avoidance Actions,
  breach of contract, breach of the Shared Services Agreement, breach of the Sub-Advisory
  Agreement, breach of the Debtors’ limited partnership agreement or limited liability company
  agreement, conspiracy to commit any unlawful act, aiding and abetting any unlawful act, and
  assisting, encouraging, and/or participating in any unlawful act. Such present and past officers,
  directors, employees, members and managers of Highland, HCLOF, Highland HCF, Highland
  CLOM, and their respective Affiliates include, but are not limited to, the following Persons:

                   (a)      William Scott;

                   (b)      Heather Bestwick;

                   (c)      Scott Ellington

                   (d)      Isaac Leventon

                   (e)      Jean Paul Sevilla

                   (f)      Hunter Covitz

                   (g)      The Dugaboy Investment Trust

                   (h)      Nancy Dondero, Trustee of the Dugaboy Trust

                   (i)      Grant Scott

               (j)    Any other Person who may be so named at a later date by the
  Reorganized Debtor.




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          17.     Counterclaims. All Estate Claims as defined in paragraph 2 above are reserved,
  retained and preserved for the benefit of the Estate and Reorganized Debtor both as a basis for
  an affirmative recovery against the Person against whom such Claims are asserted and as a
  counterclaim or offset against any Person who asserts a Claim against the Estate or
  Reorganized Debtor.

          18.     Piercing the Corporate Veil. With respect to all Estate Claims against any
  Person, all rights to pierce or ignore the corporate veil are hereby reserved, retained and
  preserved for the benefit of the Estate and the Reorganized Debtor. Without limiting the
  generality of the foregoing, this shall include: (a) any right to pierce the corporate veil, including
  reverse piercing, on any theory or basis, including alter ego or any theory of sham to perpetrate
  a fraud, and (b) any Claim or basis to pierce the corporate veil of any entity with respect to
  establishing personal liability against James D. Dondero or Mark K. Okada.

         19.      Avoidance Actions. All Avoidance Actions are hereby reserved, retained and
  preserved as to all Persons. The reservation, retention and preservation of such Avoidance
  Actions shall include the reservation, retention and preservation for the benefit of the Estate and
  Reorganized Debtor of all rights and remedies pursuant to section 550 of the Bankruptcy Code.

           20.    Estate Defenses. All Estate Defenses are hereby reserved, retained and
  preserved in favor of the Estate and Reorganized Debtor as against any Person asserting any
  Claim against the Estate. This includes asserting all Estate Claims as an offset to, or
  counterclaim or right of recoupment against, any Person asserting a Claim against the Estate.
  All defenses and affirmative defenses pursuant to applicable law are hereby reserved, retained
  and preserved for the benefit of the Estate and the Reorganized Debtor, including without
  limitation, accord and satisfaction, assumption of risk, contributory negligence, duress, estoppel,
  failure of consideration, fraud, illegality, laches, license, payment, release, res judicata,
  collateral estoppel, statute of frauds, statute of limitations or repose, discovery rule, adverse
  domination doctrine or similar doctrines, set off, recoupment, waiver, and all other defenses to
  Claims under the Bankruptcy Code, including under sections 502(b)(4) and 502(d).

          21.     Equitable Subordination. All rights or remedies for Equitable Subordination are
  hereby reserved, retained and preserved in favor of the Estate and Reorganized Debtor against
  any Person asserting any Claim against the Estate, including all such rights or remedies
  pursuant to section 510(c) of the Bankruptcy Code. Without limiting the generality of the
  foregoing, this shall include all rights and remedies to Equitable Subordination as to any Claim
  asserted by Highland, any Affiliates of Highland, or any officers, directors, employees or equity
  interest owners of the Debtors, Highland, or any Affiliates thereof.

          22.     Recharacterization. All rights or remedies to recharacterize any Claim as an
  equity interest in either of the Debtors are hereby reserved, retained and preserved in favor of
  the Estate and Reorganized Debtor against any Person asserting any Claim against the Estate.
  Without limiting the generality of the foregoing, this shall include all rights and remedies to
  recharacterize any Claim asserted by Highland, any Affiliates of Highland, or any officers,
  directors, employees or equity interest owners of the Debtors, Highland, or any Affiliates thereof.




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                                                                      DATE OF                                      REASON FOR PAYMENT
              NAME                           ADDRESS                  PAYMENT          PAYMENT AMOUNT                 ON SCHEDULES
                                                 Payments within 90 Days of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/2/2017                         $234,013.63   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                11/3/2017                         $941,958.57   Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                12/8/2017                          $89,655.14   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/15/2017                          $2,068.13   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            11/30/2017                         $24,266.71   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/12/2017                          $1,718.79   Services
                                  31 Woodacres Road
David Simek                       Brookville, NY 11545            12/29/2017                         $25,000.00   Services
                                                                                                                                          Case 18-30264-sgj11 Doc 829 Filed 01/31/19




                                  1735 K Street, NW
FINRA                             Washington, DC 20006            11/22/2017                             $70.00   Suppliers or Vendors
                                  PO Box 309, Ugland House
                                  Grand Cayman, KY1-1104,
Highland CLO Management, Ltd.     Cayman Islands                  12/19/2017                      $2,830,459.22   Services
                                            Payments to Insiders within One Year of Petition Date
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                          $976,688.47   Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/1/2017                        $1,096,033.37   Services
                                  300 Crescent Court, Ste. 700
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Highland Capital Management, LP   Dallas, TX 75208                2/2/2017                            $3,574.80   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                2/14/2017                              $67.44   Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/17/2017                        $315,574.30    Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208                4/18/2017                        $438,497.51    Services
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                  Third Amended Joint Plan for Acis Capital Management, LP and Acis Capital Management GP, LLC
                                                                   DATE OF                                  REASON FOR PAYMENT
             NAME                           ADDRESS                PAYMENT         PAYMENT AMOUNT              ON SCHEDULES
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/18/2017                    $375,855.01 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               4/19/2017                    $330,249.69 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/1/2017                     $974,426.41 Services
                                  300 Crescent Court, Ste. 700                                            Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                  $2,809,518.47 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               5/31/2017                    $581,036.15 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               7/18/2017                    $373,167.08 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/1/2017                     $971,603.02 Contractual Payment
                                  300 Crescent Court, Ste. 700
                                                                                                                                      Case 18-30264-sgj11 Doc 829 Filed 01/31/19




Highland Capital Management, LP   Dallas, TX 75208               8/7/2017                   $1,339,422.12 Services
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               8/16/2017                          $53.41 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                   $372,872.82 Contractual Payment
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/18/2017                   $728,702.26 Services
                                  300 Crescent Court, Ste. 700                                            Unsecured loan repayments
Highland Capital Management, LP   Dallas, TX 75208               10/24/2017                   $501,979.18 including interest
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                    $46,648.82 Expense Reimbursement
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                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               10/25/2017                    $67,966.85 Expense Reimbursement
                                  300 Crescent Court, Ste. 700
Highland Capital Management, LP   Dallas, TX 75208               11/1/2017                    $967,223.91 Contractual Payment
                                                                                                                                      Page 221 of 229
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                         EXHIBIT “5”
          [Executory Contracts and Unexpired Leases to be
                      Assumed by the Trustee]
                                                      EXHIBIT “5”
                                         Executory Contracts and Unexpired Leases
                                               to Be Assumed by the Trustee

Party                                                Contract Description            Contract Date      Cure Amount
Acis CLO 2013-1 Ltd.                          Collateral Administration Agreement    March 18, 2013          $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
U.S. Bank National Association                Collateral Administration Agreement    March 18, 2013         $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2013-1
Acis CLO 2013-1 Ltd.                            Portfolio Management Agreement       March 18, 2013         $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
                                                                                                                      Case 18-30264-sgj11 Doc 829 Filed 01/31/19




Acis CLO 2013-2 Ltd.                          Collateral Administration Agreement    October 3, 2013        $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
Grand Cayman, Cayman Islands KY1-1108
The Bank of New York Mellon Trust Co., N.A.   Collateral Administration Agreement    October 3, 2013        $0
601 Travis Street, 16th Floor
Houston, Texas 77002
Attn: Global Corporate Trust –
Acis CLO 2013-2
Acis CLO 2013-2 Ltd.                            Portfolio Management Agreement       October 3, 2013        $0
c/o Estera Trust (f/k/a Appleby Trust)
Clifton House 75 Fort St., P.O. Box 1350
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Grand Cayman, Cayman Islands KY1-1108
Acis CLO 2014-3 Ltd.                          Collateral Administration Agreement   February 25, 2014       $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
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                                                        EXHIBIT “5”
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                  Contract Description            Contract Date      Cure Amount
U.S. Bank National Association                  Collateral Administration Agreement   February 25, 2014        $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-3
Acis CLO 2014-3 Ltd.                              Portfolio Management Agreement      February 25, 2014       $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-4 Ltd.                            Collateral Administration Agreement      June 5, 2014         $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1 -1102
                                                                                                                        Case 18-30264-sgj11 Doc 829 Filed 01/31/19




U.S. Bank National Association                  Collateral Administration Agreement      June 5, 2014         $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-4
Acis CLO 2014-4 Ltd.                              Portfolio Management Agreement         June 5, 2014         $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2014-5 Ltd.                            Collateral Administration Agreement   November 18, 2014       $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
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Grand Cayman, Cayman Islands KY1-1102
U.S. Bank National Association                  Collateral Administration Agreement   November 18, 2014       $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2014-5
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                                                        EXHIBIT “5”
                                           Executory Contracts and Unexpired Leases
                                                 to Be Assumed by the Trustee

Party                                                   Contract Description           Contract Date      Cure Amount
Acis CLO 2014-5 Ltd.                              Portfolio Management Agreement      November 18, 2014        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO 2015-6 Ltd.                            Collateral Administration Agreement     April 16, 2015        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
U.S. Bank National Association                  Collateral Administration Agreement     April 16, 2015        $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2015-6
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Acis CLO 2015-6 Ltd.                              Portfolio Management Agreement        April 16, 2015        $0
c/o MaplesFS Limited
P.O. Box 1093, Boundary Hall, Cricket Sq
Grand Cayman, Cayman Islands KY1-1102
Acis CLO Value Fund II (Cayman), LP.             Investment Management Agreement         May 1, 2016          $0
P.O. Box 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II GP, LLC                   Investment Management Agreement         May 1, 2016          $0
P.O. Box. 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II, LP.                      Investment Management Agreement         May 1, 2016          $0
300 Crescent Court
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Suite 700
Dallas, TX 75201
Acis CLO Value GP, LLC                          Limited Liability Company Agreement     July 19, 2010         $0
1209 Orange Street
Wilmington, DE 19801
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                                                     EXHIBIT “5”
                                        Executory Contracts and Unexpired Leases
                                              to Be Assumed by the Trustee

Party                                               Contract Description             Contract Date      Cure Amount
Acis CLO Value Master Fund II, LP.            Investment Management Agreement         May 1, 2016            $0
P.O. Box 309, Ugland House
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Fund II (Cayman), L.P.       Third Amended and Restated Exempted       May 1, 2016           $0
P.O. Box 309, Ugland House                      Limited Partnership Agreement
Grand Cayman, Cayman Islands KY1-1104
Acis CLO Value Master Fund II, L.P.         Third Amended and Restated Exempted       May 1, 2016           $0
P.O. Box 309, Ugland House                      Limited Partnership Agreement
Grand Cayman, Cayman Islands KY1-1104
Acis Loan Funding, Ltd.                        FATCA and Non-FATCA Services           June 23, 2017         $0
300 Crescent Court                                      Agreement
Suite 700
Dallas, TX 75201
                                                                                                                      Case 18-30264-sgj11 Doc 829 Filed 01/31/19




BayVK R2 Lux S.A., SICAV FIS                          Power of Attorney             February 20, 2015       $0
15 rue de Flaxweiler
L-6776 Grevenmacher
BayVK R2 Lux S.A., SICAV-FIS                 Agreement for the Outsourcing of the   February 27, 2015       $0
15 rue de Flaxweiler                         Asset Management of BayVK R2 Lux
L-6776 Grevenmacher                                   S.A., SICAV-FIS

BayVK R2 Lux S.A., SICAV-FIS                       Service Level Agreement          February 27, 2015       $0
15 rue de Flaxweiler
L-6776 Grevenmacher
BNP Paribas Securities Services                       Power of Attorney             February 20, 2015       $0
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Luxembourg Branch                                          86578
60 Avenue John F. Kennedy
1855 Luxembourg
Hewett's Island CLO 1-R, Ltd.                     Confidentiality Agreement           April 11, 2011        $0
clo Maples Finance Limited
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
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                                                       EXHIBIT “5”
                                          Executory Contracts and Unexpired Leases
                                                to Be Assumed by the Trustee

Party                                                 Contract Description              Contract Date     Cure Amount
Hewett's Island CLO 1-R, Ltd.                         Governing Documents                    --                $0
clo Maples Finance Limited                           (Requested from HCM)
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Hewett's Island CLO 1-R, Ltd.                        Management Agreement               July 18, 2011         $0
clo Maples Finance Limited
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
Hewett's Island CLO 1-R, Ltd.                  Collateral Administration Agreement    November 20, 2007       $0
clo Maples Finance Limited                           (Requested from HCM)
P.O. Box 1093, Queensgate House
Grand Cayman, Cayman Islands KY1-1102
State Street (Guerney Limited)                   FATCA and Non-FATCA Services           June 23, 2017         $0
                                                                                                                        Case 18-30264-sgj11 Doc 829 Filed 01/31/19




First Floor, Dorey Court, Admiral Park,                   Agreement
St. Peter Port, Guernsey
U.S. Bank National Association                      Confidentiality Agreement           March 5, 2014         $0
190 S. LaSalle Street, 8th Floor
Chicago, IL 60603
Attention: Global Corporate Trust –
Acis CLO 2015-6
Universal-lnvestment-Luxembourg S.A.           Agreement for the Outsourcing of the   February 27, 2015       $0
15 rue de Flaxweiler                           Asset Management of BayVK R2 Lux
L-6776 Grevenmacher                                     S.A., SICAV-FIS

Universal-Investment-Luxembourg S.A.                    Power of Attorney             February 20, 2015       $0
                                                                                                                        Entered 01/31/19 17:34:06




15 rue de Flaxweiler
L-6776 Grevenmacher
Universal-Investment-Luxembourg S.A.                 Service Level Agreement          February 27, 2015       $0
15 rue de Flaxweiler
L-6776 Grevenmacher
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                                                         EXHIBIT “5”
                                            Executory Contracts and Unexpired Leases
                                                  to Be Assumed by the Trustee

Party                                                      Contract Description                Contract Date          Cure Amount
Acis Loan Funding, Ltd.                              Portfolio Management Agreement           December 22, 2016            $0
First Floor, Dorey Court
St. Peter Port, Guernsey GYI 6HJ
Channel Islands
Acis Capital Management, LP                        Amended and Restated Agreement of            January 21, 2011            $0
c/o PHELANLAW                                            Limited Partnership
4214 Woodfin Drive
Dallas, Texas 75220

Acis Capital Management GP, LLC                  Amended and Restated Limited Liability         January 21, 2011            $0
c/o PHELANLAW                                           Company Agreement
4214 Woodfin Drive
Dallas, Texas 75220
                                                                                                                                         Case 18-30264-sgj11 Doc 829 Filed 01/31/19




        For the avoidance of doubt, to the extent not otherwise included above, the Trustee intends to assume any additional executory
 contracts that relate to the funds set forth below as may be necessary or beneficial to the Reorganized Debtor under the Plan:
        1.     Acis CLO 2013-1, Ltd.
        2.     Acis CLO 2013-2, Ltd.
        3.     Acis CLO 2014-3, Ltd.
        4.     Acis CLO 2014-4, Ltd.
        5.     Acis CLO 2014-5, Ltd.
        6.     Acis CLO 2015-6, Ltd.
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        7.     Acis CLO Value Fund II, L.P.
        8.     Acis CLO Value Fund II (Cayman), L.P.
        9.     Acis CLO Master Fund II, L.P.
        10.    BayVK R2 Lux S.A., SICAV FIS
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                                                EXHIBIT “5”
                                   Executory Contracts and Unexpired Leases
                                         to Be Assumed by the Trustee

11.   Hewitt’s Island CLO 1-R, Ltd.
12.   Acis Loan Funding, Ltd.

      The Trustee reserves the right to amend or supplement this Exhibit 5.
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